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                            UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
                                CIVIL APPEAL PRE-ARGUMENT STATEMENT (FORM C)

          1. SEE NOTICE ON REVERSE                          2. PLEASE TYPE OR PRINT                       3. STAPLE ALL ADDITIONAL PAGES

      Case Caption:                                                        District Court or Agency:                  Judge:
     Frontier Airlines, Inc. v. AMCK Aviation                             Southern District of NY                    Louis Stanton
     Holdings Ireland Limited et al
                                                                           Date the Order or Judgment Appealed        District Court Docket No.:
                                                                           from was Entered on the Docket:
                                                                                                                     1:20-cv-09713-LLS
                                                                          07/02/2024; 08/20/2024
                                                                           Date the Notice of Appeal was Filed:       Is this a Cross Appeal?

                                                                          08/26/2024                                 □
                                                                                                                     9 Yes          □
                                                                                                                                    ✔9 No


      Attorney(s) for     Counsel’s Name:                Address:                 Telephone No.:                   Fax No.:                  E-mail:
      Appellant(s):
                          Jeff Butler
     □
     9 Plaintiff
                          Address: Two Manhattan West, 375 9th Avenue, New York, NY 10001
     D
     ✔9 Defendant         Telephone No.: 212-878-8000
                          Email: jeff.butler@cliffordchance.com
      Attorney(s) for     Counsel’s Name:                Address:                 Telephone No.:                   Fax No.:                  E-mail:
      Appellee(s):
                         David Hosenpud
     D
     ✔
     9 Plaintiff         Address: 601 SW Second Avenue, Ste 2100, Portland, OR 97204
                         Telephone No.: 503-778-2141
     □
     9 Defendant
                         Fax No.: 503-778-2200
                         Email: hosenpudd@lanepowell.com
      Has Transcript      Approx. Number of          Number of           Has this matter been before this Circuit previously?   □9 Yes          □
                                                                                                                                                ✔
                                                                                                                                                9 No
      Been Prepared?      Transcript                 Exhibits
                          Pages:                     Appended to         If Yes, provide the following:
     Yes                                             Transcript:
                         819                                             Case Name:
                                                   0
                                                                         2d Cir. Docket No.:                Reporter Citation: (i.e., F.3d or Fed. App.)


       ADDENDUM “A”: COUNSEL MUST ATTACH TO THIS FORM: (1) A BRIEF, BUT NOT PERFUNCTORY, DESCRIPTION OF THE
        NATURE OF THE ACTION; (2) THE RESULT BELOW; (3) A COPY OF THE NOTICE OF APPEAL AND A CURRENT COPY OF
       THE LOWER COURT DOCKET SHEET; AND (4) A COPY OF ALL RELEVANT OPINIONS/ORDERS FORMING THE BASIS FOR
               THIS APPEAL, INCLUDING TRANSCRIPTS OF ORDERS ISSUED FROM THE BENCH OR IN CHAMBERS.

       ADDENDUM “B”: COUNSEL MUST ATTACH TO THIS FORM A LIST OF THE ISSUES PROPOSED TO BE RAISED ON APPEAL,
               AS WELL AS THE APPLICABLE APPELLATE STANDARD OF REVIEW FOR EACH PROPOSED ISSUE.

                                                                   PART A: JURISDICTION

                        1 . Federal Jurisdiction                                               2 . Appellate Jurisdiction

       □
       9 U.S. a party                  □
                                       ✔
                                       9 Diversity                     □
                                                                       ✔
                                                                       9 Final Decision                     □
                                                                                                            9 Order Certified by District Judge (i.e.,
                                                                                                              Fed . R. Civ. P. 54(b))
       □
       9 Federal question              9 Other (specify):
                                       □                               □
                                                                       9 Interlocutory Decision
         (U.S. not a party)                                              Appealable As of Right             □
                                                                                                            9 Other (specify):



                              IMPORTANT. COMPLETE AND SIGN REVERSE SIDE OF THIS FORM.

    FORM C (Rev. October 2016)
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                                         PART B: DISTRICT COURT DISPOSITION (Check as many as apply)


     1. Stage of Proceedings                        2. Type of Judgment/Order Appealed                                                 3. -Relief

                                 □                                     - 9 Dismissal/other jurisdiction
     §
     9 Pre-trial
     9 During trial
                                 9 Default judgment
                                 □
                                 9 Dismissal/FRCP 12(b)(1)             -
                                                                       ---
                                                                      9 Dismissal/merit
                                                                                                                9 Damages:
                                                                                                                □
                                                                                                                ✔                                     □9 Injunctions:
     9
     ✔ After trial
                                 □
                                 □
                                    lack of subject matter juris.
                                  9 Dismissal/FRCP 12(b)(6)
                                    failure to state a claim
                                                                    ✔9 Judgment / Decision of the Court
                                                                      9 Summary judgment

                                                                         ---
                                                                      9 Declaratory judgment
                                 9 Dismissal/28 U.S.C. § 1915(e)(2) 9 Jury verdict
                                                                                                                 §✔
                                                                                                                       Sought: $ -
                                                                                                                       Granted: $ -See below
                                                                                                                       Denied: $ -
                                                                                                                                                      §  9 Preliminary
                                                                                                                                                         9 Permanent
                                                                                                                                                         9 Denied




                                                                           -                                    $49,499,884.93 in damages/
                                    frivolous complaint              9 Judgment NOV
                                 □
                                 9 Dismissal/28 U.S.C. § 1915(e)(2) 9 Directed verdict
                                    other dismissal                  9 Other (specify):
                                                                   ..._                                         prejudgment interest, and $
                                                                                                                $2,581,727.50 in attorneys' fees.

                                                        PART C: NATURE OF SUIT (Check as many as apply)

     1. Federal Statutes                                                                  2. Torts                3. Contracts                 4. Prisoner Petitions
                                                                                             -
                                                                                                                                            -
     B                     ---                                                                                                              ---
                                                    ~
       9 Antitrust          9 Communications         9 Freedom of Information Act        □
                                                                                         9 Admiralty/            □9 Admiralty/                9     Civil Rights
       9 Bankruptcy         9 Consumer Protection    9 Immigration                         Maritime                  Maritime                 9     Habeas Corpus

                           --
     ~
       9 Banks/Banking      9 Copyright 9 Patent     9 Labor                             □
                                                                                         9 Assault /               9 Arbitration              9
                                                                                                                 E3                                 Mandamus


                                                                                                                                           --
       9 Civil Rights       9 Trademark              9 OSHA                                Defamation             ✔9 Commercial               9     Parole
                                                                                         □
       9 Commerce
       9 Energy
       9 Commodities
       9 Other (specify):
                            9 Election
                          .._
                            9 Soc. Security
                          .._

                           -9 Environmental
                                                     9 Securities
                                                     9 Tax
                                                                                         9 FELA
                                                                                         □
                                                                                         9 Products Liability
                                                                                         9 Other (Specify):
                                                                                         □
                                                                                                                 § 9 Employment
                                                                                                                   9 Insurance
                                                                                                                   9 Negotiable
                                                                                                                   Instruments
                                                                                                                                              9
                                                                                                                                              9
                                                                                                                                            ..._
                                                                                                                                                    Vacate Sentence
                                                                                                                                                    Other


                                                                                                                 □9 Other Specify
     5. Other                                                  6. General                                         7. Will appeal raise constitutional issue(s)?
        9 Hague Int’l Child Custody Conv.                         9 Arbitration                                     □9 Yes             □9
                                                                                                                                        ✔ No




      r 9 Forfeiture/Penalty
        9 Real Property
        9 Treaty (specify):
        9 Other (specify):
                                                               r ✔
                                                                  9 Attorney Disqualification
                                                                  9 Class Action
                                                                  9 Counsel Fees
                                                                  9 Shareholder Derivative
                                                                  9 Transfer                                        □
                                                                                                                      Will appeal raise a matter of first
                                                                                                                      impression?

                                                                                                                    9 Yes               □
                                                                                                                                        ✔ No
                                                                                                                                        9



     1. Is any matter relative to this appeal still pending below? □
                                                                   9 Yes, specify:                                                             □
                                                                                                                                               ✔9 No


     2. To your knowledge, is there any case presently pending or about to be brought before this Court or another court or administrative agency
        which:
            (A) Arises from substantially the same case or controversy as this appeal?                    □ 9 Yes               □✔9 No

              (B)     Involves an issue that is substantially similar or related to an issue in this appeal?       □
                                                                                                                   9 Yes                        9 No
                                                                                                                                                □
                                                                                                                                                ✔


     If yes, state whether 9 “A,” or 9 “B,” or 9 both are applicable, and provide in the spaces below the following information on the other action(s):

     Case Name:                                              Docket No.                  Citation:                               Court or Agency:
                                                         I                           I                                       I
     Name of Appellant:


     Date: 9/3/2024                                           Signature of Counsel of Record: s/Jeff E. Butler



                                                                     NOTICE TO COUNSEL
    Once you have filed your Notice of Appeal with the District Court or the Tax Court, you have only 14 days in which to complete the following
    important steps:
     1. Complete this Civil Appeal Pre-Argument Statement (Form C); serve it upon all parties, and file it with the Clerk of the Second Circuit in accordance
     with LR 25.1.
     2. File the Court of Appeals Transcript Information/Civil Appeal Form (Form D) with the Clerk of the Second Circuit in accordance with LR 25.1.
     3. Pay the$505 docketing fee to the United States District Court or the $500 docketing fee to the United States Tax Court unless you are authorized to
     prosecute the appeal without payment.

              PLEASE NOTE: IF YOU DO NOT COMPLY WITH THESE REQUIREMENTS WITHIN 14 DAYS, YOUR APPEAL WILL BE
              DISMISSED. SEE LOCAL RULE 12.1.

     FORM C (Rev. December 2016)
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                                                 Addendum A

             (1)    Nature of the Action

                    This case concerns a claim by Plaintiff-Appellee Frontier Airlines, Inc. for

             breach of contract against Defendants-Appellants, a group of affiliated aircraft

             leasing companies (“AMCK”). As part of a long-standing business relationship,

             AMCK leased fourteen aircraft to Frontier. In late 2019, the parties also agreed on

             a new deal where AMCK would purchase six aircraft from Airbus which Frontier

             was obligated to fund, and then would lease those aircraft to Frontier (the

             “Framework Agreement”). This is a common type of “sale-leaseback” arrangement

             in aircraft financing.

                    Frontier claims that AMCK agreed on an April 7, 2020 phone call to a waiver

             of rental payments on the fourteen existing aircraft leases. Frontier alleges that

             AMCK did so in exchange for ongoing negotiations to defer the remaining aircraft

             deliveries scheduled under the Framework Agreement. AMCK disputes that a

             waiver took place. On May 8, 2020, AMCK terminated the Framework Agreement,

             due to the non-payment of rent under those fourteen leases.

                    In the district court, Frontier sought damages for the differences in terms

             between the Framework Agreement and the replacement contracts to purchase those

             remaining aircraft, as well as attorneys’ fees and costs.

             (2)    Result Below




                                                      -1-
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                     By Opinion and Order dated July 6, 2023, the district court (Stanton, J.)

             granted in part and denied in part Defendants’ Motion for Summary Judgment. In

             relevant part, the district court held that the language of the Framework Agreement

             stating that a party may only waive its rights under the Agreement “by an express

             waiver or variation in writing” unambiguously means that waivers are not required

             to be in writing. The district court further found that there were questions of fact

             about whether the parties’ oral and written communications in April and May 2020

             constituted an agreement to suspend rental payments, and if so, for what period of

             time.

                     Following a bench trial, by Opinion and Order dated June 14, 2024, the district

             court (Stanton, J.) found that Defendants agreed to a waiver of rental payments on

             the April 7th phone call. The district court found that as a result, Defendants were

             required to provide Plaintiff with notice of withdrawal of the waiver and an

             opportunity of cure, and that Defendants did not do so. As a result, the district court

             found that Defendants are liable for breach of the Framework Agreement.

                     On June 17, 2024, judgment was entered for Plaintiff in the amount of

             $66,669,532.60.

                     On July 1, 2024, an amended judgment was entered for Plaintiff in the amount

             of $49,499,884.93. This amended judgment fixed an error which had resulted in

             double-counting pre-judgment interest.



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                    On August 14, 2024, the district court denied Defendants' motion for

             judgment as a matter of law.

                    On August 19, 2024, the district court granted Plaintiff's motion for attorneys'

             fees and costs.

                    On August 20, 2024, a supplemental judgment was entered awarding Plaintiff

             attorneys’ fees and costs in the amount of $2,581,727.50.

              (3)   Notice of Appeal and Docket Sheet

                    Annexed hereto

             (4)    Opinions/Orders Forming Basis of Appeal

                    Annexed hereto




                                                      -3-
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                    Case 1:20-cv-09713-LLS Document 123 Filed 07/06/23 Page 1 of 38

    ORIGINAL                                                              :.:.=========:.:-===:::;·i
                                                                        DC SDNY                   '!
                                                                        CUMENT
           UNITED STATES DISTRICT COURT
                                                                      ELECTRONICALLY FILED
           SOUTHERN DISTRICT OF NEW YORK
                                                                      DOC #: _ _ ____,e--:---
           FRONTIER AIRLINES, INC.,                                   D ATE FILED:_ 9/t/z.,;J

                                         Plaintiff,

                             - against -
                                                                20 Civ. 9713 (LLS)
                                                                 OPINION & ORDER
           AMCK AVIATION HOLDINGS IRELAND LIMITED,
           ACCIPITER INVESTMENT 4 LIMITED,
           VERMILLION AVIATION (TWO) LIMITED,
           WELLS FARGO TRUST COMPANY, N.A., solely
           in its capacity as OWNER TRUSTEE, and
           UMB BANK, N.A., solely in its capacity
           as OWNER TRUSTEE,

                                         Defendants.



                 This case is a stark example of the stresses suffered by

           even well-established business relationships when they are

           forced to adjust to an unprecedented crisis that suspends

           industry operations, closes global supply chains, and freezes

           activities which were the sources of its members' earnings.

                 Defendant AMCK Aviation Holdings Ireland Limited ("AMCK")

           is an aircraft leasing company that, through various

           subsidiaries and owner trustee entities, owns and leases to

           plaintiff Frontier Airlines, Inc.         ("Frontier") , a commercial

           passenger airline, multiple aircraft through sale-leaseback

           financing arrangements.       In late 2019, Frontier entered into its

           latest agreement (the "Framework Agreement") with AMCK, whereby

           AMCK or an affiliated entity was to purchase six new Airbus



                                                 1
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           aircraft (model A320-251N) and lease them back to Frontier at a

           predetermined rate. Because the COVID-19 pandemic, which swept

           the globe in early 2020, made the economic terms of the deal

           less advantageous for AMCK, Frontier argues that AMCK contrived

           an Event of Default in order to create grounds to terminate the

           Agreement. Frontier brought this action asserting claims for

           breach of contract, along with a quasi-contract claim and a

           fraud claim. Defendants now move for summary judgment to dismiss

           the claims.

                 For the reasons that follow, defendants' Motion for Summary

           Judgment dismissing the claims is granted except for the claim

           for breach of contract of the Framework Agreement .

                                            Background

                 I.    Parties

                 Frontier is a Colorado-headquartered airline that operates

           commercial passenger aircraft. Dkt. No . 106 ("Frontier ' s

           Response to Defendants ' Rule 56.1 Statement")          ~       1. AMCK is an

           aircraft leasing company organized under the laws of Ireland

           with its principal place of business there . Id.            ~    4. Accipiter

           Investments Aircraft 4 Limited ("Accipiter") and Vermillion

           Aviation (Two) Limited ("Vermillion") are affiliates of AMCK,

           which operate as the Owner Participants and Guarantors in sale-

           leaseback arrangements entered into by AMCK . Because of

           regulatory requirements in the United States that restrict


                                                 2
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           foreign leasing of domestic aircraft, UMB Bank, N.A.            ("UMB") and

           Wells Fargo Trust Company, N.A., are the Lessors and Owner

           Trustees under the Agreements.

                 II .   The Parties ' Sale and Leaseback Arrangement

                 Frontier leases 100% of its fleet though sale-leaseback

           agreements with various aircraft lessors, a common method used

           by airlines to finance new aircraft acquisitions. Id.            ~   4. At

           the end of 2019, Frontier leased fourteen aircraft from AMCK and

           its affiliates. Although each aircraft is governed by a separate

           Lease Agreement, the Agreements are materially similar,

           obligating UMB and Wells Fargo, as Lessors and Owner Trustees

           acting for the benefit of the Owner Participant, Accipiter, to

           lease the crafts to Frontier for $320,000-$360,000 per month per

           craft and granting Frontier the right to possess and operate the

           crafts. Id.       ~~   5-8.

                 On September 10, 2019, Frontier and AMCK's affiliate

           Accipiter Holdings, DAH signed a letter of intent to enter into

           a sale and leaseback arrangement for six additional aircraft .

           The sale and leaseback arrangement is bound together by multiple

           contractual agreements and, as relevant here, works in the

           following way. First, Frontier has a Purchase Agreement with

           Airbus, an aircraft manufacturer, to purchase and take delivery

           of aircraft according to a set schedule, with six crafts due in

           2020. Id.    ~~    4, 10. Second, rather than outright purchase those


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           six aircraft, Frontier, on March 16, 2020, entered into a sale

           and leaseback agreement (the "Framework Agreement") with AMCK,

           the aircraft lessor, which obligates AMCK, or an affiliate, to

           buy the aircraft and simultaneously lease them back to Frontier.

           Id. 11 4, 9. AMCK is obligated to directly pay Airbus the

           purchase price, but, until it does so, Frontier remains fully

           responsible to purchase the aircraft under the Purchase

           Agreement. Id. 1 4. The purchase price and subsequent lease

           price of the aircraft are negotiated solely between Frontier and

           AMCK. Id. Third, shortly before or on the date of delivery,

           Frontier and AMCK are to enter into a Lease Agreement for each

           individual aircraft. They did so for the first of the aircraft

           set to be delivered, MSN 10038, but never completed their

           obligations for the remaining ones.

                 Under the Framework Agreement, AMCK, through Trust Company/

           Lessor UMB, is required to purchase and lease back the six

           aircraft according to the following schedule: three in March

           2020, one in May 2020, one in June 2020, and one in August 2020.

           0kt. No 116 Ex. 7 ("Framework Agreement"). Under the Framework

           Agreement, AMCK is the "Lessor Guarantor" and the "Owner

           Participant," as are Vermillion and Accipiter due to their

           status as AMCK's "Affiliate." Id. Ex. 7         §   1.1.) AMCK is

           obligated to cause the Lessor (UMB) to purchase the aircraft

           from Airbus on the delivery date and execute a Lease Agreement


                                                  4
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           with Frontier. Id . §§ 2 . 1 . 1 , 3 . 3 . 1 . UMB ' s performance is

           guaranteed by Vermillion . Id. §§ 2.1 . 1 , 3 . 3 . 1.

                 Accordingly , on March 16, the same date the parties entered

           into the Framework Agreement , AMCK, through its affiliate

           Vermillion, purchased the first of the aircraft, MSN 10038, and

           executed an aircraft-specific Lease Agreement , Trust Agreement ,

           and Guaranty . 0kt . No. 116 Ex. 10 - 12 .      Per the agreements,

           Vermillion is the Owner Participant and has conveyed all rights,

           title, interests, and rights in MSN 10038 to UMB, the Lessor and

           Owner Trustee. 0kt. No. 116 Ex. 11 at 1 §§ 1-2. Vermillion is

           also the Lessor Guarantor and has agreed to guarantee all of

           UMB's performance obligations . Id. Ex . 12 at 1 § 1.            Per the

            Framework and resulting lease documents , defendants paid Airbus

            for MSN 10038 and Frontier began paying them the monthly rent.

                 The rights and obligations of the parties that arise from

           the Framework Agreement and lease documents are intertwined. A

            right can be waived under the Framework Agreement only "by an

            express waiver or variation in writing .           . and no act or course

            of conduct or negotiation on the part of such party or on its

           behalf shall in any way preclude it from exercising any such

            right or constitute a suspension or any variation of any such

            right . " 0kt. No. 94 Ex. 4 § 8 . 4 . 1 ("Framework Agreement") . The

            Framework Agreement further states that "[t]he provisions of

            this Agreement shall not be varied otherwise than by an


                                                  5
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           instrument in writing executed by or on behalf of AMCK Aviation

           and Frontier." Id . § 8.4.2 .

                 Under the Framework Agreement, a default can occur if

           "Frontier fails to pay any amount due under any of the

           Transaction Documents in the currency and in the manner

           stipulated within five (5) Business Days of written notice of

           such failure from AMCK Aviation." Dkt. No. 116 Ex. 7 § 6.1 . 1.

           Transaction Documents are the Framework Agreement and each

           "Operative Document" as defined in each Lease Agreement. Id. Ex.

           7 § 1.1. Under the Lease Agreement for MSN 10038, an Event of

            Default occurs when

                 Lessee fails to pay (i) any Basic Rent or Security
                 when due .     ., or (ii) any other sum due it under
                 this Agreement or any other Operative Document .
                 in the currency and in the manner stipulated within
                 five (5) Business Days of written notice of such
                 failure from Lessor."
            Id. Ex. 10 § 16 . l(a). Operative Documents include the 14

           original Lease Agreements. Id. § 1 . 1. It is through this

            interrelation that AMCK declared Frontier to be in default and

            subsequently exercised its rights to terminate the Framework

           Agreement.

                  III . Parties ' Negotiations over Deferrals
                  In response to the COVID-19 pandemic, on March 16, 2020,

            shortly after entering into the Framework Agreement and Lease

            for MSN 10038, Frontier, as many other airlines did to their

            lessors, sent a letter to AMCK requesting for all aircraft:



                                                  6
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                 1. All lease rent payments due between the date of this
                     letter and June 30 , 2020 will be deferred; and
                 2 . Return of one month ' s rent security deposit .
                 The above concessions would be documented in a mutually

           agreed deferral and concession agreement . Dkt. No. 94 Ex . 8 .

                 Over approximately the next two months, Frontier and AMCK

           negotiated the terms of the potential rent deferral. Frontier

           ultimately argues that AMCK agreed to a month - to-month deferral

           while the negotiations were ongoing , whereas AMCK denies ever

            reaching such a consensus. A timeline of the parties' key

            communications is briefly summarized .

                  On March 18, 2020, AMCK responded with the following

            counteroffer:

                 1. Payments on the 1 x A320ceo and 2 x A320neo . .
                 to be current .
                 2. On the remainder of the aircraft (12 in total) 50%
                 rent deferral for 3 months , commencing from 1 April.
                 3. No deferral on the remaining 5 x A320neo we are
                 scheduled to purchase from Frontier per the recently
                 executed Framework Agreement in the coming months
                 4. Frontier to pay the deferred amount in equal
                 installments over 4 months from the month following
                 the lastmonth of rent deferral with 8% interest per
                 annum from each of the payment dates.
            Dkt. No. 116 Ex. 18.

                  On March 22, 2020, Frontier asked AMCK to reconsider its

            position and, because no agreement was in place, paid the March

            rents due on all aircraft , including two rents that were due

            March 24 th . Dkt. No . 116 Ex . 23 .

                  Frontier alleges thereafter that AMCK was solely interested

            in getting out of the Framework Agreement because its bank


                                                    7
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           financing had failed, and it would have to fund the next

           aircraft delivery itself. Accordingly, on March 26, 2020 AMCK

           now requested that Frontier make an advanced payment of twelve

           months of rent for the upcoming aircraft delivery and defer

           delivery of the remaining four aircraft by three to six months

            in exchange for a four-month deferral of rent on the fourteen

           original leases at 8% interest.              Id. Ex. 29. On March 31, 2020,

           AMCK also cautioned that it would not proceed "with closing on

           the 5 remaining sale & leaseback aircraft if they are going to

           go straight into storage for an uncertain period of time." Id.

           Ex. 29.

                 On April 2, Frontier promptly reached out to Airbus to

            start negotiations with them.

                 On April 3, AMCK altered its position slightly, offering to

            defer rents at a repayment rate of 6% if delivery was deferred

            for six months.     Id. Ex. 32. Frontier never agreed to any of

            these proposals and negotiations, with both AMCK and Airbus,

            remained ongoing.

                  On April 6, 2020, rent was due on two aircraft under the

            Original Leases. Dkt. No. 106       ~   20. Frontier and AMCK had a

           phone call that day to discuss deferring the payments and AMCK

            agreed to defer all upcoming rent payments due under the

            Original Leases for 10 business days. Id. AMCK memorialized the

            call in an email that day, which read:


                                                    8
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                Mindful of the time it might take you to reach
                agreement with Airbus or to make some other
                arrangements and therefore of the ability for us to
                reach a deferral agreement, we can confirm that we
                won't take any actions or call any defaults linked to
                non payment of rents on any aircraft where the rent is
                due from today to 21 April (ie, for the next 10
                working days).
           Dkt. No. 116 Ex. 32.
                On April 7, 2020, Frontier and AMCK again spoke by phone .

           This time, the parties dispute what was said. Frontier claims

           that on the call AMCK agreed to a month-to-month deferral until

           all negotiations were complete and declined to commit to

           performing its obligations under the Framework Agreement if

            Frontier was unable to convince Airbus to defer delivery. Dkt.

           No. 106   ~   52. AMCK argues that no rent deferral agreement was

            reached. At best, it contests that the parties only discussed

            deferring rent until the end of April, not indefinitely, and

            never discussed when the rent would be repaid . Dkt. No. 95 Ex.

            6.

                  On April 9, 2020, AMCK sent a draft forbearance letter to

            Frontier stating that it would agree "temporarily to forbear

            from exercising its rights and remedies" for the rent owed in

            April. Dkt. No. 94 Ex. 16, § 2.1. The deferred rent would have

            to be repaid at 6% interest by July 24, 2020 . Id. § 2.12.

            The Forbearance was conditioned upon Frontier signing an

            acknowledgement of the Letter, which never occurred.




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                 On April 11 and 13, 2020, Frontier informed AMCK that the

           longest deferral it could secure with Airbus was for two months.

           Dkt. No. 116 Ex. 35. Nonetheless, AMCK remained committed to a

           six-month delivery deferral. Id.

                 Over the next two weeks, negotiations continued, and on

           April 30, 2020, AMCK sent its final offer

                (i) that Frontier would "immediately pay outstanding
                April rents on which we agreed an informal deferral
                pending agreement with Airbus on delivery delays," and
                to "pay May, June and July rents and, all beyond, on
                time;"
                 (ii) convince Airbus to move the next aircraft
                delivery from June to July 2020, such that the next
                three aircraft would deliver in July 2020; and
                 (iii) move the delivery dates of the final two
                aircraft from September 2020 and October 2020 to
                February 2021.
           Dkt. No. 116 Ex. 44.
                Frontier declined to accept the terms, believing they were

           an overreach, and conveyed that it was willing to become and

           remain current on rent and perform under the initial terms of

           the Framework Agreement if the parties could not agree to

           concessions. 0kt. No. 106       ~   65. It sent back its final terms of:

                (i) deferring delivery of the next aircraft until July
                2020;
                (ii) prepaying rent for six months on the three
                aircraft delivering in July 2020,; and
                (iii) repaying the deferred rent from April and May
                2020 over the next six months, starting in July;
                (iv) deferring delivery for two aircraft until 2021.
           0kt. No. 116 Ex. 47,48. AMCK never responded to this offer.

            Dkt. No. 106   ~   67.




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                   On May 8, 2020, AMCK sent Frontier a Notice of Termination

           letter, purporting to terminate its obligation to purchase and

           lease the remaining aircraft based on the unpaid rent on the

           Original Leases and the cross-default provisions in the

           operative documents. 0kt. No. 106 1 71. Frontier contested the

           termination and after unsuccessful attempts to have AMCK

           withdraw the termination, paid all outstanding rents on May 13,

           2020, curing any alleged default. Id. 11 75-76.

                   During this negotiation period throughout April and May

           2020, AMCK ceased sending its customary chase alerts that had

           historically informed Frontier when rent was past due and needed

           to be paid immediately. Id. 1 54. Additionally, AMCK did not

           send any rent invoices, except for MSN 10038, which Frontier

           paid.     Id. 1 55. After Frontier became current on rent, AMCK

           reinstated its previous practices.

                   Following AMCK's termination, Frontier was faced with the

            imminent delivery of five aircraft without lessor financing and

           was at risk of having to fully fund their delivery or default on

           its agreement with Airbus. To avoid either scenario, Frontier

           entered into sale-leaseback arrangements with COB Aviation Lease

            Finance DAC for three of the remaining aircraft and Jackson

           Square Aviation for the other two. Id. 1 83. The terms of these

            agreements were materially worse for Frontier than the Framework

           Agreement was, costing Frontier approximately $53 million in


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           damages ($46.3 million when discounted to present value). Id. 1

           84. AMCK also offered to enter into new agreements for the

           aircraft but AMCK's terms were significantly worse than the

           Framework Agreement and those offered by the alternative

           lessors. Id. 1 82.

                    Frontier brought this suit alleging that AMCK utilized

           Frontier's outstanding rent payments as a pretext to terminate

           its commitments with Frontier when the commitments were no

           longer financially advantageous. Dkt. No. 1. Specifically,

           Frontier asserts claims for breach of contract of the Framework

           Agreement and the Lease Agreements, promissory estoppel, and

           fraud against AMCK, Accipiter, Vermillion, UMB, and Wells Fargo.

            Id. Upon a denial of their motion to dismiss, defendant AMCK

           asserted a crossclaim for Indemnification. 0kt. No. 47.

           Defendants now move for summary judgment dismissing all the

           claims. Dkt. No. 93.

                                             Analysis
               I.     Legal Standards

                    Summary judgment is appropriate where "there is no genuine

           dispute as to any material fact and the movant is entitled to

            judgment as a matter of law.u Fed. R. Civ. P. 56(a). Courts do

           not "weigh the evidence,u but rather "view the facts in the

            light most favorable to the nonmoving party and resolve all

            factual ambiguities in its favor .            to determine whether



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           there is a genuine issue for trial . " Cioffi v . Averill Park

           Cent . Sch. Dist . Bd . of Educ., 444 F.3d 158, 162 (2d Cir. 2006).

           "A genuine issue of fact for trial exists when there is

           sufficient evidence on which a jury could reasonably find for

           the plaintiff." Id.

              II.     Contract and Quasi-Contract Claims

                    Frontier alleges the AMCK breached the Framework Agreement

           and the Lease Agreements for fifteen aircraft. New York law

           requires a plaintiff claiming breach of contract to show "(1)

           the existence of an agreement,        (2) adequate performance of the

           contract by the plaintiff ,      ( 3) breach of contract by the

           defendant, and (4) damages . " Eternity Global Master Fund Ltd. v.

           Morgan Guar. Trust Co . of N.Y. , 375 F . 3d 168, 177 (2d Cir .

           2004) .    The parties do not dispute that the Framework Agreement

           and Lease Agreements were valid contracts. Instead , they contest

           whether Frontier failed to uphold its duties under them and,

           consequently , whether AMCK's termination of the Framework

           Agreement was valid or amounts to a breach .

                    1) March 2020 Framework Agreement

              A . Anticipatory Repudiation Breach of Contract Against AMCK
                  (Claim 1)
                  Frontier claims AMCK breached the Framework Agreement by an

           express anticipatory repudiation and by failing to provide

            reasonable assurances that it will perform under the Agreement .

           The Court disagrees , finding there is insufficient evidence for


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           a reasonable factfinder to find AMCK anticipatorily repudiated

           the Framework Agreement.

                       i.    Express Antici patory Repudiation

                   "Anticipatory repudiation occurs when, before the time for

           performance has arisen, a party to a contract declares his

            intention not to fulfill a contractual duty." Lucente v. Int'l

            Bus. Mach. Corp., 310 F.3d 243, 258 (2d Cir. 2002). A party is

            considered to have repudiated if it "attempt[s] to advance an

            unwarranted interpretation of the contract" or vows to "perform

            only if certain 'extracontractual' conditions are satisfied." In

            re Best Payphones, Inc., 432 B.R. 46, 54 (S.D.N.Y. 2010), aff'd,

            450 F. App'x 8 (2d Cir. 2011); see also Palazzetti Imp . /Exp.,

            Inc. v. Morson, No. 98 Civ. 722, 2001 WL 1568317, at *9

            (S.D.N.Y. Dec. 6, 2001). "[A] repudiation can be determined to

            have occurred only when it is shown that 'the announcement of an

            intention not to perform was positive and unequivocal.'" DiFolco

            v. MSNBC Cable L.L.C., 622 F.3d 104, 112 (2d Cir. 2010)            (quoting

            Tenavision, Inc. v. Neuman, 379 N.E.2d 1166, 1168 (N.Y. 1978).

                  Generally, whether a particular communication constitutes a

            repudiation is a question of fact that requires the

            interpretation of evidence at trial. Id. However, "[a)n

            exception applies where the repudiation is in writing, in which

            case the court may resolve the issue of repudiation as a matter

            of law." Id. Although, if the writing has ambiguous terms, then


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           the determination of whether it constitutes a repudiation is to

           be made by the finder of fact.        Id.

                 Frontier argues AMCK repudiated the Framework Agreement

           when it conditioned its performance thereunder upon Frontier

           caving to its extracontractual demands. In support of its

           argument, Frontier points to a string of emails and text

           messages the parties exchanged over the course of a month.

           However, none of those written communications contain

           unequivocal statements that AMCK planned to not perform the

            Framework Agreement.

                 The first instance of alleged repudiation occurred on March

            26, 2020 when AMCK said in an email:

                  [W]e are prepared to make the following offer of short
                 term assistance to Frontier in response to your
                 request, but with certain conditions attached. We will
                 agree to the Frontier request for 3 months' rent
                 deferral, commencing April 2020, in respect of 14 of
                 our 15 delivered aircraft (i.e. excluding the A320neo
                 delivered on 16 March 2020), with such deferred rent
                 to be paid over the subsequent 4 months, subject to
                 the following conditions being met:
                 1. With respect to the SLB aircraft that is scheduled
                    to be delivered in April 2020 (MSN 9549), we will
                    require 12 months' rent to be pre-paid upon
                    closing/leasing commencement, i.e. there will be a
                    "holdback" from the agreed $51M PP of approximately
                    $3M;
                 2. With respect to the remaining 4 SLB aircraft that
                    are scheduled to be delivered in May through July
                    2020, the delivery schedule will be delayed, between
                    Frontier and Airbus, by 3-6 months; and
                 3. Any failure by Frontier to pay the deferred rent on
                    time will constitute an EOD under the framework
                    agreement and permit AMCK to terminate the delivery
                    obligation for the remaining SLB aircraft; and


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                4. Deferral interest at 8% will apply to the deferred
                   amounts.
                Please let me know if you would like to discuss today?
           0kt. No. 116 Ex. 29.

                    Nowhere in that email does AMCK make a positive and

           unequivocal statement of its intent to not perform under the

            Framework Agreement. Rather the email unambiguously shows that

           AMCK is proposing as part of a negotiation that began because

            Frontier requested a rent deferral. Within that context, AMCK's

           terms are nothing more than a counteroffer; they are not

            extracontractual conditions that AMCK is making its performance

            under the Framework Agreement contingent upon.

                    The remaining written communications relied upon by

            Frontier also happened within the context of negotiations for a

            rent deferral. On March 31, 2020, AMAK emailed, in pertinent

            part:

                 We are not comfortable proceeding with closing on the
                 5 remaining sale & leaseback aircraft if they are
                 going to go straight into storage for an uncertain
                 period of time. We really believe it's in both
                 parties' interest to defer delivery of these aircraft
                 by 3-6 months. We can issue the rent deferral draft to
                 you but it needs to be understood by all that above is
                 our shareholder position.
            0kt. No. 116 Ex. 29. AMCK thereafter conveyed via an April 3,

            2020 email that it would grant the three-month rent deferral

            "strictly on the basis that we suspend the SLB for six months."

            0kt. No. 116 Ex. 32. Then, in an April 30, 2020 email, AMCK

            proposed extending the leases on twelve other aircraft by four



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           years and removing the early Termination provision from the

           Framework Agreement and , "for the avoidance of doubt , " made

           clear the proposal was "for discussion purposes only." Dkt . No.

            116 Ex . 45

                 To cast these communications as a repudiation, as Frontier

           urges the Court to do, would require the Court to read them in

            isolation and out of the context of the ongoing negotiation to

           permit Frontier to defer rent . While it is true that the

            remaining emails and text messages show that AMCK wanted to

            adjust the terms of the Framework Agreement to minimize their

            losses, that demand was only linked to AMCK agreeing to defer

            Frontier's rent. The communications are a quid pro quo that is

            standard in all negotiations, and they do not approach the level

            of an unequivocal repudiation.

                  Even if Frontier had not begun the negotiation by asking

            for a rent deferral, these communications could not be

            considered repudiations. In that scenario, these communications

            are best characterized as offers by AMCK to amend the parties'

            outstanding obligations. AMCK's statement that it is "not

            comfortable proceeding" unless Frontier alters its duties to

            perform is not an unequivocal forecast that AMCK will not

            perform.

                  The closest that AMCK gets to conditioning its performance

            under the Framework Agreement on Frontier agreeing to


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            extracontractual demands is in an April 25, 2020 text message,

           which states:

                 [AMCK] need[s] some quid pro quo to fund $250M of
                 capex on terms that now appear to be wildly off
                 market, and we are seeing many parties walk from 2019
                 priced commitments due to the unprecedented crisis we
                 are in. Our thinking here is that a QPQ [quid pro quo]
                 which would be of value to us is a 4yr lease extension
                 of the earlier block of Neo deliveries from Accipiter
                 to take those leases to 12 yr[.] Let's chat later
                 today if you're available?
            Dkt. No. 116 Ex. 31. But even here, this is not an unequivocal

            statement of intent to not perform. It reads as an attempt to

            negotiate an amendment.

                    There can be no dispute; the unambiguous written

            communications show no repudiation of the Framework Agreement by

            AMCK.

                         ii .   Failure to Give Adequate Assurance

                    Frontier claims AMCK repudiated the Framework Agreement

            when it declined to provide adequate assurances in response to

            Frontier's inquiries into whether it was going to perform.

            Frontier argues that its communications with AMCK over March and

            April 2020 gave it reasonable grounds to fear AMCK would not

            purchase the remaining five aircraft as required by the

            Framework Agreement.

                    "When reasonable grounds for insecurity arise with respect

            to the performance of either party the other may in writing

            demand adequate assurance of due performance.u N.Y. U.C.C . Law§



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           2-609(1). If a party receives a justified demand but does not

           provide, within a reasonable time not exceeding thirty days,

           adequate assurance of its performance, the unresponsive party is

            said to have repudiated the contract. Id.          § 2-609(4).

                  Frontier argues that AMCK's nonresponses were a reasonable

            basis on which Frontier could fear nonperformance under the

            Framework Agreement. Between merchants, like the parties are

            here, the reasonableness of the grounds for insecurity is

            "determined according to commercial standards." N.Y. U.C.C. Law

            § 2-609(2). Reasonable grounds for insecurity arise out of the

            objective conduct of the contracting parties and not from their

            subjective speculations. Remuda Jet Five LLC v. EMBRAER--

            Empressa Brasileira de Aeronautica, S.A., No. 10 CIV. 8369, 2012

            WL 1142296, at *12 (S.D.N.Y. Mar. 27, 2012). While it is

            generally a question of fact whether the grounds were

            reasonable, there are circumstances "where this issue may be

            resolved as a matter of law." BAII Banking Corp. v. UPG, Inc.,

            985 F.2d 685, 702     (2d Cir. 1993).

                  Here, the events that proceeded Frontier's alleged demands

            show that the parties were engaged in a negotiation to amend the

            Framework Agreement, which was initiated unilaterally by

            Frontier and become quid pro quo bargaining only at the

            insistence of AMCK. Frontier itself confirmed that understanding

            in an April 6, 2020 email-


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                [Frontier's] reading of [AMCK's] email assumes that
                [AMCK] will only agree [sic] the rent deferral if
                [Frontier] defer[s] aircraft deliveries with Airbus?
                As a result, [Frontier] can only deduce that [AMCK]
                will finance the aircraft deliveries and honour your
                commitment to Frontier if we do not put a rent
                deferral in place.
           0kt. No. 116 Ex. 32.
                Frontier puts forward no evidence to show that the dynamics

           of the negotiations ever flipped such that AMCK was seeking a

           unilateral concession from Frontier. On April 1, 2020, Frontier

           asked AMCK via text message: "If we're unable to delay the

           deliveries and your is [sic] pulling out of the 5 remaining

           A320s we need to know ASAP[.]" 0kt. No. 116 Ex. 31. AMCK

            responded to Frontier's request with a phone call and their text

           messages thereafter show that the parties continued to discuss

            the arrangement within the context of the original negotiations.

            The evidence shows that AMCK was consistently willing to provide

            adequate consideration in exchange for an amendment to delay

           delivery under the Framework Agreement. AMCK confirmed as much

            on April 13, 2020, conveying it wanted "to tie the deliveries to

            having no outstanding deferrals so it would only work if we

            recast the deferral agreement." 0kt. No. 116 Ex. 35.            The

            parties' email exchange on April 27, 2020 further confirms that

           AMCK's insistence to delay its performance of the Framework

           Agreement resulted from its proposed grant of rent deferrals to

            Frontier. DKt. No. 116 Ex. 43. Based upon this evidence, no

            reasonable fact finder could find that Frontier had reasonable


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           grounds to believe AMCK would unilaterally not perform the

           Framework Agreement.

                  Frontier's argument that AMCK anticipatorily repudiated

           when it failed to give adequate assurances also fails because

            Frontier ' s requests for assurance were procedurally

            insufficient . Frontier's demand on April 7, 2020 , to which AMCK

            responded that it could not say at this stage what it would do

            if the delivery deferrals were not granted, fails as a matter of

            law because it was made in a phone call and not in writing . See

            N.Y. U. C . C . Law§ 2 - 609(1) .

                  Accordingly , the Court finds as a matter of law that there

           were no reasonable grounds to demand assurances and, therefore,

           AMCK's alleged failure to give assurances is not a repudiation

            of the Framework Agreement.

                  AMCK did not unequivocally vow to perform the Framework

           Agreement only if Frontier conceded to extracontractual terms .

            Frontier did not have reasonable grounds to fear nonperformance .

            No reasonable fact finder could find that the Framework

           Agreement was repudiated. The claim is thus dismissed.

               B . Breach of Contract Against AMCK (Claim 2)

                  AMCK argues that its termination of the Framework Agreement

            was justified by Frontier ' s non-payment of April and May 2020

            rents, which constituted a cross-default under the MSN 10038

            Lease and triggered an Event of Default under the Framework


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           Agreement. Frontier claims AMCK was not entitled to terminate

           the Framework Agreement and its unilateral action to do so was a

           total breach. Frontier's argument is that AMCK waived its right

           to declare a default arising from the deferred rent, and thus

           had no grounds on which to terminate the Agreement.

                 "A party may, by words or conduct, waive a provision in a

           contract," including the time or performance or time of payment.

           Oleg Cassini, Inc. v. Couture Coordinates, Inc., 297 F. Supp.

           821, 831-32 (S.D.N.Y. 1969); see Beth Israel Med. Ctr. v.

           Horizon Blue Cross & Blue Shield of New Jersey, Inc., 448 F.3d

           573, 585 (2d Cir. 2006)       ("A breach of contract may be waived by

           the non-breaching party."). A waiver is "the voluntary

           abandonment or relinquishment of a known [contract] right."

           Randolph Equities, LLC v. Carbon Cap., Inc., 648 F. Supp. 2d

           507, 516 (S.D.N.Y. 2009)       (quoting Jefpaul Garage Corp. v.

           Presbyterian Hosp., 462 N.E.2d 1176, 1177 (1984)). The party

           asserting waiver has the burden of proving the non-breaching

           party expressed a clear manifestation of its intent to

           relinquish its right. Id. Because it is a question of intent,

           whether a party waived is generally a matter of fact.            Id.

                 The Framework Agreement mandates that a party may only

           waive its rights under the Agreement "by an express waiver or

           variation in writing.        . and no act or course of conduct or

           negotiation on the part of such party or on its behalf shall in


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           any way preclude it from exercising any such right or constitute

           a suspension or any variation of any such right." 1 Dkt. No. 94

           Ex. 4 § 8.4.1    ("Framework Agreement").       The parties dispute

           whether the written requirement applies only to variations or if

           it is also applies to waivers. Giving life to the plain meaning

           of the unambiguous text, the Court finds that the written

           requirement is limited to variations. Generally, in New York,


           1  Frontier argues that AMCK's course of dealing during the
           negotiation period is evidence of AMCK's consent to the rent
           deferral. Frontier primarily relies on the fact that AMCK ceased
           sending chase alerts to Frontier to notify it that rent was past
           due, as AMCK had allegedly done so habitually for all other
           rents that became due proceeding and following the period of
           negotiation. Dkt. No. 113 ~~ 38, 41, 54-56, 78-79. While a
           party, in general, "may waive its contractual rights through its
           subsequent course of conduct," Randolph Equities, 648 F. Supp.
           2d at 517, the Framework Agreement expressly forbids a waiver by
           course of conduct. Frontier's argument thus fails as a matter of
           law. See Ronis v. Carmine's Broadway Feast, Inc., No. 10 CIV.
           3355 TPG, 2011 WL 4444307, at *3 (S.D.N.Y. Sept. 26, 2011)
            ("[B]y including a "no-waiver" provision in their contract,
           parties may limit the effect of a waiver of contractual rights
           through a course of conduct inconsistent with the contract's
           terms.").
                 Frontier's argument that AMCK breached the Framework
           Agreement by continuing to negotiate with it after it allegedly
           defaulted fares no better. The Framework Agreement says that a
           negotiation will not waive a party's right, and Frontier
           provides no authority to override the unambiguous terms of the
           contract. Instead, Frontier relies on Oleg Cassini, Inc. v.
           Couture Coordinates, Inc., 297 F. Supp. 821 (S.D.N.Y. 1969) for
           the proposition that if, during a period of negotiations, a party
           waives a contractual provision calling for timelypayments, then the
           waving party cannot use the fact that there are outstanding
           payments as a basis to terminate the contract unless the party
           provides notice and an opportunity to cure. However, Oleg
           Cassini has no relevance to this case as the contract before the
           Court, unlike the contract in Oleg Cassini, excludes relying on
           negotiations as a basis for finding a party waived its rights.


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           there is no requirement that the express waiver be in writing.

           The express waiver can be "established by affirmative conduct or

           by failure to act so as to evince an intent not to claim a

           purported advantage." Fundamental Portfolio Advisors, Inc. v.

           Tocqueville Asset Mgmt., L.P., 7 N.Y.3d 96, 104, 850 N.E.2d 653

            (2006)

                 There are clear questions of fact whether the parties' oral

           and written communications amount to an agreement to suspend

           payments through May 15, 2020, or while the parties were

           negotiating, or on a month-to-month basis. To begin with, the

           parties dispute the central communication Frontier relies upon

           in support of its argument for a waiver-a phone call on April 7,

           2020 between Frontier's CFO and AMCK's CEO. Frontier argues that

           during the call AMCK agreed to the deferral on a month-to-month

           basis. However, AMCK acknowledges that while the parties

           discussed the deferral on that call, they did not agree on all

           material terms (i.e. the repayment period for deferred rent) and

           thus could not have reached a binding agreement.            The parties'

           internal written communications do not definitively show that an

           agreement was reached on that phone call, as both sides' reports

           of the conversation differ. Further, the external written

           communications between the parties also fail to provide a clear

           answer whether an agreement was reached to extend the deferrals

           until May 15, 2020. Those emails and text messages often


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           reference previous phone calls or respond to a written inquiry

           with a request for a phone call. The record of the parties'

           communications is thus inconclusive, precluding a finding of

           summary judgment dismissing the claim. That is a question that

           can only be resolved by the finder of fact after an evaluation

           of the witnesses' credibility on direct and cross-examination

           and after weighing the totality of the parties' communications.

                 Accordingly, AMCK's motion for summary judgment dismissing

           the breach of contract claim is denied.

              C . Breach of Implied Covenant of Good Faith and Fair Dealing
                  Against AMCK (Claim 4)
                  AMCK argues that Frontier's breach of the implied covenant

           claim is based on the same allegations and seeks the same

           damages as its claims for breach of contract of the Framework

           Agreement and therefore should be dismissed.

                 Generally, New York law "does not recognize a separate

           cause of action for breach of the implied covenant of good faith

           and fair dealing when a breach of contract claim, based upon the

           same facts, is also pled . " Harris v. Provident Life & Acc. Ins.

           Co . , 310 F.3d 73, 81 (2d Cir. 2002). Such a claim may therefore

           survive dismissal if it is "based on allegations different than

           those underlying the accompanying breach of contract claim." EUA

           Cogenex Corp. v. N. Rockland Cent. Sch. Dist., 124 F. Supp. 2d

           861, 873 (S . D.N.Y. 2000). A separate cause of action for breach

           of the duty of good faith and fair dealing may be brought "where


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           one party's conduct, though not breaching the terms of the

           contract in a technical sense, nonetheless deprived the other

           party of the benefit of its bargain." Sauer v. Xerox Corp., 95

           F. Supp. 2d 125, 132 (W.D.N.Y. 2000), aff'd, 5 F. App'x 52             (2d

           Cir. 2001); see Butvin v. DoubleClick, Inc., No. 99 CIV 4727

           JFK, 2001 WL 228121, at *8       (S.D.N.Y. Mar. 7, 2001), aff'd, 22 F.

           App'x 57   (2d Cir. 2001)    (recognizing a separate cause of action

           for breach of the implied duty of good faith may survive "in

           cases involving efforts by one party to a contract to subvert

           the contract itself"). Nonetheless, "where the relief sought by

           the plaintiff in claiming a breach of the implied covenant of

           good faith is 'intrinsically tied to the damages allegedly

           resulting from the breach of contract,' there is no separate and

           distinct wrong that would give rise to an independent claim."

           Toto, Inc. v. Sony Music Ent., No. 12 CIV. 1434 LAK AJP, 2012 WL

           6136365, at *14     (S.D.N.Y. Dec. 11, 2012), report and

           recommendation adopted, No. 12 CIV. 1434 RJS, 2013 WL 163826

            (S.D.N.Y. Jan. 15, 2013).

                 Frontier's claim for breach of the implied covenant of good

           faith and fair dealing rests on the same facts that comprise the

           basis of its breach of contract claim. Frontier argues that AMCK

           breached the covenant when it threatened to not perform the

           Framework Agreement unless Frontier agreed to extracontractual

           quid pro quo. This argument carries no weight as the Court has


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           already found that the evidence shows that AMCK never threatened

           to not perform the Framework Agreement. Rather, AMCK offered a

           conditional grant of rent deferrals . AMCK was not depriving

           Frontier of the benefit of the Framework Agreement and Frontier

           could have obtained the full benefit if it had promptly paid the

           rent . What AMCK would have done in response is speculative and

           theorizing that it would have not performed is insufficient to

           grant the relief Frontier seeks .

                 Alternatively, Frontier asserts that AMCK breached the

           covenant by using the parties' negotiations over rent deferrals

           as a pretext to subvert the Framework Agreement. Even if

           Frontier put forward evidence to show that the breach of good

           faith claims rests on separate facts from the breach of contract

           claim, the relief Frontier seeks under both (damages in the

           amount of no less than $53,000,000) is indistinguishable.

                 Because a purely duplicative claim cannot survive ,

           Frontier's claim for breach of the implied duty of good faith

           and fair dealing is dismissed.

               D . Breach of Framework Agreement Against Remaining Defendants

                 Frontier brings the claims arising out of the Framework

           Agreement (Claims 1, 2, and 4) against Accipiter, Vermillion,

           UMB, and Wells Fargo. 2 AMCK argues that dismissal of those claims


           2 UMB and Wells Fargo are dismissed because, as Frontier says ,
           they are only nominal defendants and dismissal is warranted


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           against these defendants is warranted because they are not

           signatories to the Framework Agreement and Frontier has not pled

           any facts to show they are corporate entities related to AMCK or

           to pierce their corporate veil. Frontier contests that

           characterization and counters that it sued Accipiter,

           Vermillion, UMB, and Wells Fargo in their roles as guarantors,

           which have rights arising from the contracts at issue.

                 But Accipiter and Vermillion only guaranteed the due and

           punctual performance of the Lessors'         (UMB and Wells Fargo)

           obligations under each of the Lease Agreements, not the

           Framework Agreement. Frontier tries to cure the issue by arguing

           that the Framework Agreement and Lease Agreements should be

           considered to form a single transaction and must be read

           together.

                 Under New York law, contemporaneous writings are to be read

           together, even if they are not between the same parties, when

           they form part of a single transaction, relate to the same

           subject matter, and are intended to effectuate the same purpose.

           This Is Me, Inc. v. Taylor, 157 F.3d 139, 143 (2d Cir. 1998);

           Nau v. Vulcan Rail & Constr. Co., 286 N.Y. 188, 197, 36 N.E.2d




           when, as here, "a defendant's presence is not necessary to
           afford all the requested relief." Benson v. RMJ Sec. Corp., 683
           F. Supp. 359, 378 (S.D.N.Y. 1988).




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           106, 110 (1941)       (finding those agreements at issue "were

           executed at substantially the same time, related to the same

           subject-matter, were contemporaneous writings and must be read

           together as one . "). It is for the jury to determine whether

           contemporaneous writings were intended to impose on separate

           parties the same binding obligations , even though the

           obligations were defined in different documents . TVT Recs. v.

           Island Def Jam Music Grp ., 412 F.3d 82, 89 (2d Cir . 2005) .

                      The Framework Agreement was executed on March 16, 2020

           between Frontier and AMCK . The purpose of the Framework

           Agreement was to secure financing and leasing of six aircraft,

           including MSC 10038 . Specifically, "AMCK Aviation has agreed to

           cause the relevant Lessor to purchase each Aircraft from the

           Manufacturer pursuant to the Purchase Agreement Assignment for

           the purpose of leasing such Aircraft to Frontier pursuant to the

           relevant Lease Agreement . " Dkt . No. 94 Ex. 4.         ~    2 . 5; see also

           id .   ~    2 . 1. The Agreement defines Lessor to mean the Trust

           Company , solely in its capacity as owner trustee , and identifies

           UMB Bank , N.A. as the Trust Company. Id .       ~   1 . 1.

                      On the same date , Frontier entered into two additional

           agreements : an Aircraft Lease Agreement with UMB Bank, N.A . as

           Lessor to lease MSN 10038, Dkt . No. 94 Ex. 6, a Guaranty

           Agreement for MSN 10038 with Vermillion to guarantee the due and

           punctual payment and performance of all of the obligations of


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           Lessor under the Aircraft Lease Agreement, 0kt. No. 94 Ex. 7.

           Additionally, Vermillion and UMB Bank entered into a Trust

           Agreement for MSN 10038 to convey title to MSN 10038 to UMB.

                 As the agreements are contemporaneous and related to the

           same transaction, the financing and leasing of MSN 10038, there

           is sufficient evidence to put before the jury whether the

           parties intended the Framework Agreement to be binding on

           Vermillion. Therefore, the claims relating to breach of the

           Framework Agreement are not dismissed as to Vermillion.

                 The same can be said for Accipiter. Although Accipiter did

           not enter into a Lease Agreement for any aircraft governed by

           the Framework Agreement, Accipiter Holdings DAC, a parent

           company to Accipiter, 0kt. No. 22 ("Rule 7.1 Corporate

           Disclosure Statement"), signed a letter of intent to finance six

           aircraft. 0kt. No. 114 Ex. 1. The letter's key terms were then

           incorporated into the Framework Agreement. It is thus a question

           of fact whether the parties intended the writings to be

           construed as one agreement.

                 Therefore, the claims that are proceeding against AMCK will

           also proceed against Accipiter and Vermillion.

              E. Promissory Estoppel (Claim 6)

                 "In New York, promissory estoppel has three elements: a

           clear and unambiguous promise; a reasonable and foreseeable

           reliance by the party to whom the promise is made, and an injury


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           sustained by the party asserting the estoppel by reason of the

           reliance." Cyberchron Corp. v. Calldata Sys. Dev., Inc., 47 F.3d

           39, 44   (2d Cir. 1995).

                 Frontier alleges that AMCK promised to defer rents on a

           month-to-month basis. Regardless of the accuracy of that

           allegation, Frontier's promissory estoppel claim is based on the

           same course of events that gave rise to its breach of contract

           claim and thus is precluded because a separate claim may not

           give rise to liability "unless a legal duty independent of the

           contract .      . has been violated." Nungesser v. Columbia Univ.,

           169 F. Supp. 3d 353, 374      (S.D.N.Y. 2016); see also Grossman v.

           N.Y. Life Ins. Co., 935 N.Y.S.2d 643, 645 (2d Dep't 2011)

           (holding that "the existence of valid and enforceable written

           contracts precludes recovery under .           . promissory estoppel"

           when the contract and promissory estoppel claims "arise out of

           the same subject matter").

                 Frontier argues to the contrary that a promissory estoppel

           claim can be maintained where, as it is here, it is unclear

           whether a valid contract governs the dispute. In support of its

           argument, Frontier relies on MBIA Ins. Corp. v. Patriarch

           Partners VIII, LLC, 842 F. Supp. 2d 682         (S.D.N.Y. 2012) which

           held that "[b]ecause there is a dispute concerning [defendant's]

           obligation to use commercially reasonable efforts to seek the

           ratings, it would be inappropriate to grant [defendant's] motion


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           for summary judgment on [plaintiff's] claim for promissory

           estoppel." Id. at 712. However, that case is inapposite here. It

           is an accepted principle that "[p]laintiffs who allege the

           existence of a valid contract may nonetheless plead the

           alternative theor[y] of promissory estoppel .             . when the

           defendant does not concede the enforceability of such contract."

           Personal Watercraft Prod. SARL v. Robinson, 2017 WL 4329790, at

           *11 (S.D.N.Y. Sept. 1, 2017). But the enforceability of the

           Framework Agreement is not at issue here. It is undisputed that

           the Framework Agreement is a valid and enforceable contract. The

           issue presented is whether AMCK waived its right to assert

           nonpayment of April and May rents constituted a default. AMCK's

           motion to dismiss the promissory estoppel claim is therefore

           granted.

                 2) Aircraft Lease Agreements

                 Frontier asserts two claims for breach of contract against

           AMCK, Vermillion, and Accipiter for breach of the 15 Aircraft

           Lease Agreements. Because the evidence cannot sustain either

           claim, both are dismissed as a matter of law.

              A . Breach of Contract (Claim Three)

                 AMCK, through various subsidiaries and owner trustees, owns

           and leases back fifteen aircraft, including MSN 10038, to

           Frontier. Each arrangement is governed by a separate Aircraft

           Lease Agreement. The Lease Agreement for MSN 10038 states that


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           an Event of Default occurs when Frontier "fails to pay (i) any

           Basic Rent or Security when due            ., or (ii) any other sum due

           from it under this Agreement or any other Operative Document

           . in the currency and in the manner stipulated within five             (5)

           Business Days of written notice of such failure from Lessor."

           Dkt. No. 116 Ex. 10 ("MSN 10038 Lease Agreement") § 16.l(a).

           Operative Documents include the Lease Agreements of the 14 other

           aircraft. Id. § 1.1. Under the Framework Agreement, an Event of

           Default occurs when "Frontier fails to pay any amount due under

           any of the Transaction Documents," which includes each Operative

           Document as defined In the MSN 10038 Lease Agreement.             Dkt. No.

           116 Ex. 7 ("Framework Agreement") §§ 1.1, 6.1.1.

                 Frontier, therefore, argues that the fifteen AMCK-

           affiliated lessors wrongfully breached their respective Lease

           Agreements when they declared Frontier's suspension of rents

           under the 14 Lease Agreements (excluding the MSN 10038 Leases)

           amounted to an Event of Default that triggered the cross-default

           provision under the Agreement for MSN 10038 and the Framework

           Agreement. In other words, Frontier argues that defendants

           breached the Fifteen Leases Agreements when they wrongfully

           declared Frontier to be in default of them and used that as a

           basis to abandon the remaining obligations under the Framework

           Agreement.




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                 Even assuming Frontier's characterization of the events to

           be true, there is no evidence that defendants breached the Lease

           Agreements . A breach of contract "is the unexcused failuren to

           "carry[ ) out the contract by doing what it requires or

           permits . n Nasdaq,   Inc. v. Exch . Traded Managers Grp. , LLC, 431

           F. Supp . 3d 176, 240 (S . D.N.Y. 2019) . Defendants' alleged

           refusal to finance and lease the five aircraft as specified in

           the Framework Agreement could constitute a failure to perform

           under the Framework Agreement, but not under the Lease

           Agreements. Frontier points to no provision in the Lease

           Agreements that require defendants to perform under the

           Framework Agreement. The obligations made under the Lease

           Agreements and Framework Agreements cannot be conflated and a

           breach of one cannot be said to be a breach of the other unless

           such integration is explicitly agreed to by the parties in the

           contracts.

                 The only action that defendants took under the Lease

           Agreement is to declare Frontier to be in default. But a

           declaration that the opposing party defaulted is alone

           insufficient to warrant a breach by the non-defaulting party,

           especially when the non-defaulting party did not use the alleged

           default as grounds to anticipatorily breach the agreement .

                 Because there is no underlying failure to perform, there is

           no evidence that Accipiter or Vermillion breached their


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           guarantees, which apply only when the lessor fails to make due

           and punctual payments or perform all its obligations under the

           Lease Agreement. Dkt. No. 91 Exs. 3, 7 § 1. Because there is no

           evidence that defendants failed to perform under the Lease

           Agreements, the claim for beach of them is dismissed as a matter

           of law.

              B. Breach of the Covenant of Quiet Enjoyment (Claim Five)

                     The covenant of quiet enjoyment is the "promise by the

           lessor that it will not interfere with the rights granted" under

           a lease. Trans Pac . Leasing Corp. v. Aero Micronesia, Inc., 26

           F. Supp. 2d 698, 706 (S.D.N.Y. 1998). "To establish a breach of

           the covenant of quiet enjoyment, a tenant must show either an

           actual or constructive eviction." Grammer v. Turits, 706

           N.Y.S.2d 453, 455-56 (N . Y. App. Div. 2000). "A constructive

           eviction occurs where the landlord's wrongful acts substantially

           and materially deprive the tenant of the beneficial use and

           enjoyment of the leased premises." Id.

                     In the Complaint, Frontier alleges that by wrongfully

           claiming an Event of Default under the Lease Agreements and

           asserting default remedies, including the termination of the

           Framework Agreement, defendants improperly interfered with

           Frontier's use of its entire aircraft fleet, including the

           existing fifteen AMCK leased aircraft . But there is no evidence

           that Frontier has been prevented from using or enjoying the


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           fifteen aircraft. Frontier clings to the theory that the lessors

           might in the future exercise their termination rights under the

           Lease Agreements, including by repossessing the aircraft. That

           threat carries no weight. It is unfounded as defendants

           acknowledge they no longer have the right to terminate the Lease

           Agreements because Frontier has paid all rent on the aircraft.

                    In its Opposition to Defendants' Motion for Summary

           Judgment, Frontier argues for the first time that it was

           constructively evicted from the five remaining Framework

           Agreement aircraft. However, as there were no leases for those

           aircraft, there was no covenant of quiet enjoyment to break. The

           claim is therefore dismissed.

              III. Fraud

                 Frontier alleges that AMCK, to cover up its anticipatory

           breach, devised a scheme whereby it falsely represented that it

           would consider retracting its repudiations and grant rent

           deferrals if Frontier would defer the delivery dates in order to

           induce Frontier into not timely paying rent. AMCK argues that

           dismissal of the fraud claim is warranted because it is

           duplicative of the breach of contract claim.

                 "Under New York law, the five elements of fraud are '(1) a

           material misrepresentation or omission of fact           (2) made by [a]

           defendant with knowledge of its falsity (3) and intent to

           defraud;    (4) reasonable reliance on the part of the plaintiff;


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           and (5) resulting damage to the plaintiff.'" Loreley Fin.

            (Jersey) No. 3 Ltd. v. Wells Fargo Sec., LLC, 13 F.4th 247, 259

            (2d Cir. 2021). Because alleged fraudulent representations are

           in essence restatements of a plaintiff's claim for breach of

           contract, "a cause of action for fraud will not arise when the

           only fraud charged relates to a breach of contract." Value Time,

           Inc. v. Windsor Toys, Inc., 700 F. Supp. 6, 7 (S.D.N.Y. 1988)

            (quoting Trusthouse Forte (Garden City) Mgt., Inc. v. Garden

           City Hotel, Inc., 483 N.Y.S.2d 216, 218 (1st Dept. 1984). Thus,

           for a fraud claim to be maintained alongside a breach of

           contract claim, the plaintiff must either "'(i) demonstrate a

           legal duty separate from the duty to perform under the contract;

           or (ii) demonstrate a fraudulent misrepresentation collateral or

           extraneous to the contract; or (iii) seek special damages that

           are caused by the misrepresentation and unrecoverable as

           contract damages.'" IMG Fragrance Brands, LLC v. Houbigant,

           Inc., 679 F. Supp. 2d 395, 409 (S.D.N.Y. 2009)           (quoting

           Bridgestone/Firestone, Inc. v. Recovery Credit Servs., Inc., 98

           F.3d 13, 20 (2d Cir. 1996)).

                 Frontier argues that its fraud claim is not duplicative of

           its breach of contract claim and can be sustained because AMCK

           made a misrepresentation that was collateral to the contract.

           But being collateral to the contract is alone insufficient for a

           finding of fraud. The statement must also "serve[] as an


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           inducement for the contract." Rouse v. Elliot Stevens, Ltd.,

           2016 WL 8674688, at *5 (S.D.N.Y. June 24, 2016).

                 Frontier alleges that AMCK made a false representation that

           it would retract its repudiation of the Framework Agreement if

           Frontier could achieve extracontractual delivery deferrals with

           Airbus, and in the meantime, Frontier did not need to pay rent.

           In other words, Frontier is claiming that it was induced to

           allegedly breach the Framework Agreement. That is not an

           inducement extraneous from the contract.

                 Therefore, the claim for fraud is dismissed as duplicative

           of the breach of contract claim.

                                            CONCLUSION

                 Defendants' motion for summary judgment is denied as to the

           second claim for breach of the Framework Agreement against AMCK,

           Accipiter, and Vermillion, but is granted as to all other

           claims.

                 So Ordered.

            Dated:   New York, New York
                     July Jo_, 2023


                                                                Leow:. L.St~
                                                           LOUIS L. STANTON
                                                               U.S.D.J.




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           1     UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK
           2     ------------------------------x

           3     FRONTIER AIRLINES, INC.,

           4                         Plaintiff,

           5                    v.                                    20 Civ. 9713 (LLS)

           6     AMCK AVIATION HOLDINGS IRELAND
                 LIMITED, ACCIPITER INVESTMENT
           7     4 LIMITED, VERMILLION AVIATION
                 (TWO) LIMITED,
           8
                                     Defendants.
           9
                 ------------------------------x
          10                                                         Bench Trial

          11                                                          New York, N.Y.
                                                                      April 10, 2024
          12                                                          11:00 a.m.

          13     Before:

          14                                HON. LOUIS L. STANTON,

          15                                                          District Judge

          16                                        APPEARANCES

          17     LANE POWELL PC
                      Attorneys for Plaintiff
          18     BY: DAVID G. HOSENPUD
                      AARON SCHAER
          19
                 CLIFFORD CHANCE US LLP
          20          Attorneys for Defendants
                 BY: JEFF E. BUTLER
          21          JOHN P. ALEXANDER
                      RISHIKA JIKARIA
          22          GINA CROSBY

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                 O4A3FRO3

           1                 MR. HOSENPUD:       Your Honor, our next witness will be

           2     Dr. Kevin Neels, and I want to just alert the Court that by

           3     agreement between the parties, to accommodate the defendant's

           4     expert, we agreed that defendant's expert would follow the

           5     testimony of Dr. Neels, our expert, in this period of time,

           6     today and tomorrow.         Just for efficiencies due to defendant's

           7     expert being unavailable the following week.

           8                 THE COURT:      That's fine.

           9                 MR. HOSENPUD:       Thank you, sir.

          10                 MR. BUTLER:      Your Honor, I'd just like to raise to

          11     address another housekeeping issue with respect to Dr. Neels,

          12     the damages expert for the plaintiff.

          13                 We raised this in our trial brief.              We have a Daubert

          14     objection, a rule, Federal Rule of Evidence 702 objection to

          15     the admission of his opinions.

          16                 Of course, this being a bench trial, there are a lot

          17     of ways in which this could be addressed, but I did want to

          18     rise before Dr. Neels takes the stand to move to exclude

          19     Dr. Neels, based on the principles of Rule 702 and Daubert.

          20     I'm happy to make some argument on that point, we could reserve

          21     it for later, whatever the Court would prefer.

          22                 THE COURT:      Well, I've read your submissions on that

          23     as part of your briefs, and I don't see any chance of a Daubert

          24     motion succeeding.         There are various arguments that could be

          25     made pro and con to Dr. Neels' product, but I think it's a real


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           1     enough issue that it should be hammered out in court.                    And we

           2     can start that process.

           3                 MR. BUTLER:      Thank you, your Honor.

           4                 THE COURT:      But the Daubert motion is denied.

           5                 MR. BUTLER:      Thank you, your Honor.

           6                 THE COURT:      Thanks.

           7       JOHN KEVIN NEELS,

           8            called as a witness by the Plaintiff,

           9            having been duly sworn, testified as follows:

          10     DIRECT EXAMINATION

          11     BY MR. HOSENPUD:

          12     Q.    Good afternoon, Dr. Neels.

          13     A.    Good afternoon.

          14     Q.    Dr. Neels, did my office retain you to analyze Frontier

          15     Airlines' damages in this case?

          16     A.    It did.

          17     Q.    Could you briefly outline for the Court your employment

          18     history, qualifications, and higher education.                 Starting first

          19     with your employment history.

          20     A.    I was, right out of graduate school, I was employed in the

          21     transportation practice of the firm now known as KPMG.

          22     Subsequently I worked in the transportation practice at the

          23     Urban Institute, a policy research firm, and at the RAND

          24     Corporation, another policy research firm.                Subsequent to that

          25     I worked in a number of economic consulting firms.                     I was the


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             UNITED STATES DISTRICT COURT
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             SOUTHERN DISTRICT OF NEW YORK
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             FRONTIER AIRLINES, INC .,
                                                      - - - -x                   - ~~ ~.:-IL-E-D:_
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                                                                                                         / ~ !2y   -i
                                         Plaintiff,                         20 Civ. 9713 (LLS)

                         - against -                                           OPINION & ORDER

             AMCK AVIATION HOLDINGS IRELAND
             LIMITED, ACCIPITER INVESTMENT 4
             LIMITED , VERMILLION AVIATION
             (TWO) LIMITED, WELLS FARGO TRUST
             COMPANY, N.A., solely in its
             capacity As OWNER TRUSTEE, and
             UMB BANK, N.A., solely in its
             capacity as OWNER TRUSTEE,

                                         Defendants.
             - - - - - - - - - - - - - - - - - - -x
                                                  Introduction

                    This is a breach of contract action between plaintiff

             Frontier Airlines, Inc .          ("Frontier") , a commercial passenger

             airline, and defendant AMCK Aviation Holdings Ireland Limited

              ("AMCK " ), an aircraft leasing company. AMCK buys and leases

             aircraft through various affiliates, subsidiaries, and owner

             trustee entities, including Accipiter Investments 4 Limited

              ("Accipiter") and Vermillion Aviation (Two) Limited

              ("Vermillion"), the other defendants in this case. In late 2019,

             AMCK and Frontier entered into the Framework Agreement, which

              required AMCK to purchase six new Airbus aircraft and lease them

             back to Frontier.

                    After the COVID-19 pandemic severely limited air travel in

             March of 2020, the parties began negotiating changes to the
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            Framework Agreement, including deferral of monthly aircraft

            rents. In May of 2020, after the parties failed to reach a

            formal agreement, AMCK held Frontier in default and terminated

            the Framework Agreement. Frontier brought this action alleging

            breach of the Framework Agreement, among other claims that were

            dismissed on summary judgment.

                     After a bench trial, and for the reasons that follow, the

            Court finds that AMCK breached the Framework Agreement, and

            Accipiter and Vermillion are proper defendants.

                                         Factual Findings

                     All background facts are incorporated from the Summary

            Judgment Opinion & Order (Dkt. No. 123), and familiarity is

            assumed. The findings of fact necessary to resolve the remaining

            issues are made as follows.

               I .     Parties

                     Frontier is a Colorado-headquartered passenger airline that

            operates commercial passenger aircraft leased from various

            aircraft lessors. Agreed Findings of Fact! 1 ("AFF")             (Dkt. No.

            135). During the relevant timeframe, Jimmy Dempsey was

            Frontier's Executive Vice President and Chief Financial Officer,

            and he is currently Frontier's President. Id. ! 2. Spencer

            Thwaytes was Frontier's former Vice President and Treasurer,

            reporting to Mr. Dempsey. Id. Robert Fanning was Frontier's

            Director of Fleet, responsible for overseeing the making of rent

                                                   2
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           payments and reporting to Mr. Dempsey. Id. He is currently

           Frontier's Vice President for Fleet. Id.

                   During the relevant timeframe, defendant AMCK was an

           aircraft leasing company organized under the laws of Ireland and

           with its principal place of business in Ireland. Id. <[ 3. Paul

           Sheridan was AMCK's Chief Executive Officer, and Jane

           O'Callaghan was the Chief Commercial Officer. Id.            <[   4. Gerald Ma

           was an Executive Committee Member at CK Asset Holdings, which

           was AMCK's largest shareholder, and a member of the AMCK Board

           of Directors. Id. Francis Lee was a Chief Manager of Corporate

           Business Development at CK Asset Holdings, reporting to Mr. Ma,

           and served as an alternative member of the AMCK Board of

            Directors. Id.

               II .      Framework Agreement

                       Sale and leaseback ("SLB") arrangements are a common method

            used by airlines to finance new aircraft acquisitions. Id.              <[   5.

            Frontier relies on SLBs for 100% of its fleet. Id. An SLB

            arrangement is comprised of multiple parts: First, an airline

            (such as Frontier) has an existing purchase agreement with an

            airline manufacturer (such as Airbus), which obligates the

            airline to take delivery of aircraft pursuant to a delivery

            schedule. The airline makes pre-delivery payments ("PDP") to the

            manufacturer as the construction of each aircraft progresses.

            Id.   <[    6.

                                                  3
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                  Second, around six months prior to an aircraft delivery,

           the airline enters an SLB arrangement with an aircraft lessor

            (such as AMCK or an affiliate), in which the lessor agrees to

            (i) buy the aircraft from the manufacturer when the aircraft

           delivers and (ii) simultaneously lease the aircraft to the

           airline in return for monthly rent payments. Id. The purchase

           price and rent payments of the aircraft are negotiated solely

           between the airline and the lessor. Id.

                  Third, shortly before or on the date of delivery, the

            lessor pays the purchase price to the manufacturer and takes

           title to the aircraft, the airline accepts delivery of the

           aircraft from the lessor under the lease, and the airline begins

           making monthly rent payments to the lessor. Id. Depending on the

           purchase price, the airline may receive a refund from the

           manufacturer for PDP overpayments. Id. Until the lessor pays the

           manufacturer, the airline remains responsible for purchasing the

            aircraft and will not receive any PDP overpayment refunds. Id.

            ~   7. If the lessor fails to pay, the airline must use its own

            funds, enter an SLB arrangement with another lessor, or risk

            defaulting on its purchase agreement with the manufacturer. Id.

                   Frontier is a party to the Airbus Purchase Agreement (with

            amendments, "Airbus Agreement") with Airbus, whereby Frontier is

            obligated to purchase more than 150 aircraft, and make PDPs,

            according to a decade-long schedule. Id.         ~   8. By the end of

                                                  4
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           September 2019, AMCK, through subsidiaries and owner trustees,

           owned and leased 14 aircraft to Frontier that were delivered

           under the Airbus Agreement pursuant to 14 individual lease

           agreements ("Original Leases"). Id.         <JI   9; Joint Exhibit 2 ("JX")

            (MSN 8402 Lease); JX-7        (MSN 9177 Lease).

                    On September 10, 2019, Frontier and AMCK's affiliate,

           Accipiter Holdings, DAC, the parent company of Accipiter, signed

           a letter of intent to enter into a sale and leaseback

           arrangement for six additional aircraft under the Airbus

           Agreement. AFF <JI 12; JX-5. On March 16, 2020, Frontier and AMCK

           executed the Framework Agreement, which incorporated the key

            terms from the September 2019 letter of intent. AFF            <JI   13; JX-24.

           The Framework Agreement obligated AMCK to purchase six aircraft

            and lease them back to Frontier through Owner Trustee/Lessor UMB

            Bank, N.A., according to the following schedule:            (i) three

            aircraft in March 2020;        (ii) one in May 2020;     (iii) one in June

            2020; and (iv) one in August 2020. AFF <JI 7; JX-24, Schedule 1.

                    Also on March 16, 2020, AMCK purchased the first of these

            six aircraft, MSN 10038. AFF <JI 7. AMCK, by and through its

            affiliates, executed corresponding lease documents with

            Frontier. Id.    <JI   14. In particular, Vermillion executed a trust

            agreement with UMB, relating to the ownership of MSN 10038. Id.;

            JX-25    (MSN 10038 Trust Agreement). UMB, not in its individual

            capacity but solely as owner trustee, executed a corresponding

                                                   5
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           lease with Frontier. AFF ~ 14; JX-29 (MSN 10038 Lease).

           Vermillion provided a guaranty in favor of Frontier. AFF ~ 14;

           JX-26 (MSN 10038 Guaranty). Under the Framework Agreement and

           resulting lease documents, AMCK paid Airbus $51 million for MSN

           10038, and Frontier agreed to pay AMCK $269,525.94 in monthly

           rent. AFF    ~   15. Frontier received delivery of MSN 10038 from

           Airbus on this same day. Id.        ~   16.   Under the Framework

           Agreement, the five remaining aircraft would be purchased at the

            same price and leased at a similar monthly rent. Id.           ~   17.

                  The contracts at issue -         including the Framework Agreement,

            as well as the Lease Agreements, Trust Agreements, Guarantees,

            and all other "Operative Documentsu (as defined in the Framework

           Agreement) relating to the 15 aircraft under lease between

            Frontier and AMCK - are deeply intertwined and make numerous

            cross-references to each other. JX-1-4; JX-7; JX-24, §§ 1.1,

            2 . 1.1, 3.3 . l; JX-25, §§ 1, 2, 8 . 01-.02, 9.0l(b); JX-26 at 1,

            § l; JX-29 at 1, 15.

               III . Rent Deferral Agreement

                  Also on March 16, 2020, Frontier sent a letter to AMCK

            requesting a temporary deferral of monthly rent payments under

            the Original Leases and the MSN 10038 Lease due to the COVID-19

            pandemic. JX-28. Frontier requested a voluntary (i) one-time,

            three-month aircraft rent deferral on the 15 aircraft under

            lease; and (ii) return of one-month's security deposit for each

                                                     6
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           aircraft. Id. Frontier explained it would fully repay those

           amounts, with interest, over a nine-month period starting on

           July 1, 2020. Id. Frontier also represented that it had a

           "strong balance sheet with $685 million of free cash" in order

           to assure AMCK that it could make its payments, with interest,

           when the proposed deferral expired. Id.

                 Deferral requests of this nature were common given the

           sudden impact of the COVID-19 pandemic on air travel. Frontier

           sent concession request letters to all of its lessors, and AMCK

           received concession request letters from 32 of its 34 airline

           partners, prompting AMCK to create an inter-company deferral

           team. JX-12; JX-15; JX-36.

                 As part of the negotiations, AMCK requested that Frontier

           achieve delivery delays with Airbus for the upcoming aircraft.

            JX-61. This was a substantial request for Frontier. The Airbus

            contract was its "single largest contract," and Frontier had

            $250 million of PDPs on deposit with Airbus. Trial Transcript

            522:23-25 ("Tr."). Airbus also had little incentive to grant

            deferrals, as the aircraft were nearly complete, and Airbus had

            no space at its Mobile, Alabama assembly facility to store them.

            JX-60; Tr. 50:14-23. When Frontier initially asked for a

            delivery deferral, Airbus's "immediate reaction ha[d) been to

            threaten Frontier with default" of the greater Airbus Agreement.

            JX-61; Tr. 76:7-13. If Airbus declared a default, Frontier would

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           lose all of its PDP payments for upcoming aircraft, and it

           "could cripple the airline to where it may potentially put [it]

           out of business" and need to seek Chapter 11 bankruptcy

           protection. JX-190 at 85-90; JX-17 at 2-3; JX-65; Tr. 524:4-7.

           Delivery delays would benefit AMCK by lessening and delaying its

           payment obligations. JX-40; JX-44; JX-55.

              IV .     Waiver

                     To reach a formal agreement on rent deferral with AMCK,

           Frontier needed additional time to negotiate with Airbus. On

           April 6, Sheridan sent an email to Dempsey granting a waiver of

           timely rent payment for ten business days, from April 6, 2020,

           to April 21, 2020. JX-60. Sheridan stated that AMCK "won't take

           any actions or call any defaults linked to non payment of rents

           on any aircraft where the rent is due." Id. Sheridan specified

            that he was "[m]indful of the time it might take [Frontier] to

            reach agreement with Airbus or to make some other arrangements

            and therefore of the ability for us to reach a deferral

            agreement." Id.

                     Dempsey and Sheridan spoke again on April 7, 2020, this

            time by phone. Tr. 529:8-9. Dempsey explained the complex

            negotiation process with Airbus and the fact that the Mobile,

            Alabama factory would be closed until at least April 28, 2020,

            meaning that the next aircraft delivery would not be until May

            at the earliest. Tr. 529:18-25; Tr. 530:1-6. These factors

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           necessitated a deferral beyond the initial ten-day period, which

           was set to end on April 21, 2020. Tr. 530:7-13. Dempsey formally

           asked Sheridan to move the deferral to a month-to-month basis to

           give Frontier time to get an agreement in place with Airbus and,

            in turn, reach a formal rent deferral with AMCK. Tr. 530:13-17.

            Dempsey said that Sheridan understood the need for time and

            agreed to a month-to-month deferral, with no outstanding rent at

            the point of the next aircraft delivery. Tr. 532:9-19;

            Tr. 534:18-21.

                  Immediately after, Dempsey confirmed this with his team,

            texting Fanning and Thwaytes, "Just spoke to Paul Sheridan. He

            has agreed to do the deferral on a month to month basis.n JX-73.

            Thereafter, Sheridan and other Frontier associates continued to

            negotiate with Airbus about delivery delays, inform AMCK of

            their progress, and make offers to become current on rent.

                  On April 8, 2020, Sheridan emailed Gerald Ma, Francis Lee,

            and other representatives of AMCK's shareholder about the April

            7 phone call, explaining that Frontier "asked for us to do the

            deferral on a month by month basis (they are also conscious that

            they don't want to be in default with us). Since the next

            delivery isn't going to be in April now that the Mobile plant is

            shut I think we can agree to this and give them a bit more time

            to work with Airbus.n JX-76.



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                   AMCK associates referenced this informal rent deferral

           agreement multiple times thereafter. For example, on April 30,

           Mr . Sheridan cited "an informal deferral pending agreement with

           Airbus on delivery delays . n JX - 121. AMCK also knew Frontier did

           not want to be in default, and Frontier repeatedly offered to

           become current on all rent. AMCK associates did not once ask

           Frontier to pay or express that they might be in default.

                   After those discussions about a waiver, the parties

           continued to engage in substantial negotiations over a formal

           rent deferral agreement from March through May of 2020. They

           exchanged numerous proposals, and both parties understood that

           any deferral of rent pursuant to this request would be

           documented in a written agreement. JX-28; JX-53; JX-73; JX-79.

           However , they never reached a formal written agreement on rent

           deferral . Tr. 625 : 6-8 .

              V.     Termination

                   On May 8, 2020, AMCK sent Frontier a Notice of Termination

           due to non-payment of rent in April 2020. JX-146. This was based

           on the interconnection of AMCK and Frontier's various contracts:

            Frontier's alleged failure to pay rent on the Original Leases

            created a breach of the MSN 10038 Lease and a cross-default

           under the Framework Agreement. Id.; JX-2; JX-7; JX-24; JX-29. On

           May 13, 2020 , three business days and five calendar days later,



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           Frontier paid all outstanding rent. JX-14; JX-148; JX-150-51.

           AMCK nonetheless terminated the Framework Agreement and did not

           consummate the SLB arrangements for the remaining five aircraft.

           JX-14; JX-148; JX-150-51.

                 As a result of this termination, Frontier began looking for

           alternate leasing companies to finance the five remaining

           aircraft. Given the changed market conditions, their proposed

           terms were substantially worse for Frontier than those in the

           Framework Agreement. PX-6; JX-156-59; Tr. 107:10-15. In fact,

           AMCK itself reached out to Frontier on June 18, 2020 and offered

           to enter SLBs for the three July 2020 aircraft. PX-6. The terms

           were much less favorable for Frontier than those in the

            Framework Agreement, and AMCK's proposal was "conditioned on the

           release and waiver of any potential legal claims by Frontier

           arising from the termination of the Framework Agreement." Id.;

           Tr. 108:17-110:14.

                  Frontier ultimately found other lessors to enter SLB

           arrangements for all five remaining aircraft. It contracted with

           China Development Bank (CDB) for the three July aircraft and

            Jackson Square Aviation (JSA) for the remaining two aircraft.

            JX-156; JX-158-59; PX-10; JX-162; JX-164; JX-166-69. While the

            terms were better than those offered by AMCK on June 18, 2020,

            they were still much worse for Frontier than the terms of the



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           Framework Agreement. JX-156; JX-158-59; PX-10; JX-162; JX-164;

           JX-166-69.


                                       Procedural History

                    Frontier brought this suit to recover losses from AMCK's

           termination of the Framework Agreement. This Court dismissed all

           of Frontier's claims on summary judgment, except for its claim

           against AMCK, Accipiter, and Vermillion for breach of the

           Framework Agreement. A bench trial took place from April 8 to

           16, 2024, to resolve whether AMCK breached that contract, with a

           specific focus on whether it waived its right to timely payment

           during an April 7, 2020 phone call or in other communications.


                                         Legal Standards

              I .     Waiver

                    A right can be waived under the Framework Agreement only

            "by an express waiver or variation in writing ... and no act or

           course of conduct or negotiation on the part of such party or on

            its behalf shall in any way preclude it from exercising any such

            right or constitute a suspension or any variation of any such

            right ." JX-24, § 8.4.1. The Framework Agreement further states

            that the " provisions of this Agreement shall not be varied

            otherwise than by an instrument in writing executed by or on

           behalf of AMCK Aviation and Frontier." Id. § 8.4.2.

                    "A party may, by words or conduct, waive a provision in a


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           contract," including the time of performance or time of payment.

           Oleg Cassini , Inc. v . Couture Coordinates, Inc ., 297 F. Supp.

           821, 831-32 (S.D.N.Y. 1969); see Beth Israel Med. Ctr. v.

           Horizon Blue Cross & Blue Shield of N. J ., Inc ., 448 F.3d 573,

           585 (2d Cir. 2006)         ("A breach of contract may be waived by the

           non-breaching party."). A waiver is "the voluntary abandonment

           or relinquishment of a known [contract] right." Randolph

           Equities , LLC v . Carbon Cap. , Inc., 648 F. Supp. 2d 507, 516

            ( S. D. N. Y. 200 9)   (alteration in the original)   ( quoting Jefpaul

           Garage Corp . v . Presbyterian Hosp ., 462 N.E.2d 1176, 1177

            (1984)). The party asserting waiver has the burden of proving

           the non-breaching party expressed a clear manifestation of its

            intent to relinquish its right. Id. Because it is a question of

            intent, whether a party waived is generally a matter of fact.

            Id . "[A]ny alleged subjective and unstated intent" is

            irrelevant. Natale v. Ernst, 63 A.D.3d 1406, 1409 (2009). An

            express waiver can be "established by affirmative conduct or by

            failure to act so as to evince an intent not to claim a

           purported advantage ." Fundamental Portfolio Advisors , Inc. v.

            Tocqueville Asset Mgmt. , L.P ., 7 N.Y.3d 96, 104 (2006). On

            Summary Judgment, this Court held that an express waiver need

            not be in writing. Dkt. No. 123 at 23.

                  When a waiver is supported by consideration or reasonable

            and justified reliance, it "form[s] a new contract or a binding

                                                  13
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           modification of the original contract and may not be retracted

           without mutual consent." 13 Williston on Contracts§ 39:20 (4th

           ed.). "Where an executory contract fixes the time within which

           it is to be performed and performance within that time is waived

           by the parties to the agreement, neither ~arty can thereafter

           rescind the contract on account of such delay without notice to

           the other." Sherwood v. Gordon Bros., 116 N.Y.S.2d 306, 308

            (City Ct. 1952). "The notice must be clear, distinct and

           unequivocal; fix a reasonable time within which to act; and

           inform the other party that failure to perform by that date will

           be considered a default." Hidden Brook Air, Inc. v . Thabet

           Aviation Int'l Inc., 241 F. Supp. 2d 246, 270 (S.D.N.Y. 2002);

           see also N.Y. U.C.C. Law§ 2-A-208(4)            (McKinney 2023)   ("A party

           who has made a waiver affecting an executory portion of a lease

           contract may retract the waiver by reasonable notification

           received by the other party that strict performance will be

           required of any term waived, unless the retraction would be

           unjust in view of a material change of position in reliance on

           the waiver."); U.C.C. § 2-209(5)           (2022)   (same); 13 Williston on

           Contracts § 39: 20 ( 4th ed.)     (" [HJ aving once waived strict

           compliance with the terms of a contract, a party can assert its

            right to strict compliance in the future only by notifying the

           other party of its intent to do so and by allowing a reasonable

            time for the other party to comply.").

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                   "The requirement of reasonable notice to the party whose

           nonperformance has been excused by waiver, as well as a

           reasonable opportunity to comply, are generally not obviated by

           an antiwaiver clause in the parties' contract." 13 Williston on

           Contracts§ 39:20 (4th ed.).

              II .    Proper Defendan ts

                   "It is hornbook law that a non-signatory to a contract

           cannot be named as a defendant in a breach of contract action

           unless it has thereafter assumed or been assigned the contract."

           Ferring B.V. v . Allergan, Inc., 4 F. Supp. 3d 612, 625 (S.D.N.Y.

           2014)     (internal quotation marks omitted). However, under New

           York law, contemporaneous writings are to be read together, even

           if they are not between the same parties, when they form part of

            a single transaction, relate to the same subject matter, and are

            intended to effectuate the same purpose. This Is Me, Inc . v.

           Taylor, 157 F.3d 139, 143 (2d Cir. 1998); Nau v. Vulcan Rail &

           Constr. Co., 286 N.Y. 188, 197 (1941)         (finding those agreements

            at issue "were executed at substantially the same time, related

            to the same subject-matter, were contemporaneous writings and

           must be read together as one"). It is for the factfinder to

            determine whether contemporaneous writings were intended to

            impose on separate parties the same binding obligations, even

            though the obligations were defined in different documents.



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           TVT Recs . v . Island Def Jam Music Grp . , 412 F.3d 82, 89 (2d Cir.

           2005) .


                                            Discussion

              I.     AMCK Waived Its Right to Timely Payment .

                   There is no debate that the parties did not reach a formal

           deferral agreement. Both sides agree that it is common industry

           practice to document formal rent deferral agreements in writing,

           and the Framework Agreement requires as much. JX-24, § 8 . 4.2;

            JX-28; Tr . 624:23-625:1. A formal deferral agreement also would

           have required "a manifestation of mutual assent sufficiently

           definite to assure that the parties are truly in agreement with

            respect to all material terms,n including how long the rent

            deferral would last, what the payment period would be, and what

            the interest rate would be. Stonehill Cap . Mgmt., LLC v. Bank of

            the W., 28 N. Y.3d 439, 448-49 (2016)        (internal quotation marks

            omitted). All parties acknowledge that they did not solidify

            these material terms orally or in writing. However, they

            disagree over whether there was a waiver of timely payment in

            place while the parties were negotiating the specific contours

            of the deferral agreement.

                   There is no dispute that AMCK instituted an initial waiver

            on April 6, 2020. In an email to Dempsey, Sheridan stated

            clearly that they "won't take any actions or call any defaults

            linked to non payment of rents on any aircraft where the rent is
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           due from today to 21 April." JX-60. Sheridan confirmed this at

           trial, explaining that, "because there were rent payments that

           were due on that day, and because the discussions with Airbus

           were going to be difficult, and take a little bit of time, that

           we grant them a 10-day grace period where we said we would not

           take action under the lease agreements or the other

           agreements ... if there were no rent payments during that 10

           business day period." Tr. 672:19-25. The central debate is

           whether that waiver was modified - or whether a new waiver was

            created - during a phone call between the same parties the next

            day . After testimony from both key witnesses, the Court finds

            that it was.

                  Dempsey, a generally reliable and honest witness, recounted

            his call with Sheridan in detail. After explaining the

            intricacies of Frontier's negotiations with Airbus, and the

            resulting delivery delays from the closing of the Mobile

            factory,   Dempsey asked Sheridan for a month-to-month waiver

            while negotiations were ongoing. Tr. 525:13-15; Tr. 529:18-

            530:17; Tr. 612:10-14. Dempsey confidently stated that Sheridan

            had agreed: "My clear understanding coming out of this call was

            that we had a deferral in place, and the earliest date that we

            had to pay the rent was at the point of the next aircraft

            delivery. That was my clear understanding at that time."

            Tr. 534:18-21. While Dempsey "certainly expected the formal

                                                  17
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           agreement that we were negotiating with Airbus and also the

            formal agreement that we would have negotiated with AMCK" to be

           in writing, he did not feel this informal waiver needed to be

           written: "I have known Paul for sometime, and I trusted that his

           word was good. He was the chief executive of AMCK ... It didn't

           need to be documented in a written agreement. It was an

           agreement between two principals that were parties to it." Tr.

            624:17-25.

                  Dempsey's actions after the call confirm this account, as

            he texted Thwaytes and Fanning, "Just spoke to Paul Sheridan. He

            has agreed to do the deferral on a month to month basis." JX-73.

            Thereafter, Dempsey and his team continued to negotiate with

           Airbus about delivery delays, inform AMCK of their progress, and

            work towards a formal agreement with AMCK - all consistent with

            there being a month-to-month deferral in place.

                  Sheridan, on the other hand, contested this account. He

            testified that he did not remember what his response to

            Dempsey's request for a month-to-month deferral was or whether

            he told Dempsey that a written agreement would be entered.

            Tr. 728:10-16. However, he said that he did not intend to waive

            any rights to payment. Tr. 677:3-7. Sheridan claimed that his

            email to the shareholder's representatives after the call

            confirmed that he did not agree to a month-to-month deferral, as

            he described it as something that "we can agree to," not that

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           they had agreed to. JX-76 (emphasis added). He also stated that

           he would have needed to receive higher approval from the

           shareholder before implementing that waiver. Tr. 680:2-8.

                 Sheridan's account is the less credible one for a few

           reasons. First, it is notably lacking in detail, as he did not

           recall the conversation with nearly as much specificity as

           Dempsey did. Sheridan's shareholder approval argument falls flat

           because there is no indication that he received shareholder

           approval for the April 6 waiver already in place. JX-63; JX-65.

           Sheridan also never suggested to Dempsey that he lacked

           authority as chief executive to grant a month-to-month deferral.

           Tr. 714:16-18; Tr. 728:17-20.

                 Additionally, Sheridan and other AMCK employees'

           communications and actions after April 7 reveal that they did in

           fact understand that a longer deferral was in place, even if

           Sheridan's initial email to the shareholder used less definite

           language. On April 30, Sheridan clearly referenced "an informal

           deferral pending agreement with Airbus on delivery delays" in an

           internal email to Ma and others. JX-121. When asked at trial

           what he meant by an "informal deferral," Sheridan claimed he was

           referring to the April 6 deferral. Tr. 692:16-19. However, this

           is inconsistent considering that the April 6 deferral had

           expired on April 21, 9 days before that email was sent.



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                 Additionally, Dempsey and Sheridan had repeated contact

           after April 7, and Sheridan did not once attempt to clarify what

           he meant on that call. On April 27, Dempsey told Sheridan he was

           operating under the impression that Frontier just needed to have

           no outstanding payments at the time of the next delivery, and

           Sheridan did not dispute that. JX-111. Similarly, on April 29,

            Fanning told O'Callaghan that one solution to their negotiation

           was that the "current rent deferral would stay in place," and

            she said nothing to alter that understanding. JX-17. AMCK

            associates knew Frontier was continuing to negotiate with

           Airbus, and they continued to negotiate with Frontier

            themselves, yet they did not once tell Frontier to cease

            negotiations because they were in default. Frontier also

            repeatedly offered to pay, with AMCK consistently declining its

            offers and failing to send any chase alerts or payment requests.

            JX-120-21; JX-123; PX-7-8.

                  AMCK argues that, to the extent anything said on the April

            7 call could be construed as an express waiver, that waiver was

            withdrawn on April 9, when AMCK sent a draft forbearance

            agreement indicating that, absent agreement, AMCK expected

            Frontier to be bound by the lease terms. JX-79. However, this is

            also inconsistent, as the communications referenced above, which

            clearly allude to the existence of an informal rent deferral,

            all occurred well after that April 9 email.

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                 While the Framework Agreement forbids looking at course of

            conduct for the creation of a waiver, the parties' actions after

           April 7 help to confirm Dempsey's account that a waiver was made

           on that phone call. If Sheridan's subjective intent was not to

           grant a month-to-month deferral, he did not make that

            sufficiently clear to Dempsey or anyone else at Frontier. All

           parties acted as if a month-to-month waiver was in place

            following the phone call. Ultimately, Dempsey's descriptions of

           what the parties said on the April 7 call are consistent with

           what the parties actually did, while Sheridan's are not.

                  The Court finds that AMCK waived its right to timely

            payment during the April 7 phone call. That waiver was supported

            by consideration, as Frontier made a substantial sacrifice to

            achieve deferrals with Airbus. It risked default on its single

            largest contract, which could have exposed the company to

            Chapter 11 bankruptcy proceedings and resulted in the loss of

            $250 million in PDPs. Tr. 518:3-519:4; Tr. 521:7-524:12. With

            each aircraft deferral, Frontier also lost repayment of $15

            million, at a time when it was desperate for liquidity.

            Tr. 564:10-565:4. In turn, AMCK received the benefit of delaying

            its payments of $51 million per aircraft. Tr. 566:7-567:19.

                  Withdrawal of that waiver required mutual assent or, at a

            minimum, notice and a reasonable opportunity to cure. AMCK did

            not provide any of those elements, and it terminated the

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            Framework Agreement even after Frontier became current on all

           rent on May 13, 2020 . JX - 14; JX-148; JX-150-51. This was a

           reasonable time period well within the three-day grace period

           and five-day cure provisions in other contracts between the

           parties. JX-2     (MSN 8402 Lease); JX-7     (MSN 9177 Lease); JX-24

            (Framework Agreement); JX-29 (MSN 10038 Lease).

                 AMCK is therefore liable for breach of the Framework

           Agreement .

              II .   Accipiter and Vermillion Are Proper Defendants .

                 AMCK argues that Accipiter and Vermillion, AMCK's

           affiliates, are not parties to the Framework Agreement and

           therefore cannot be held liable for breach of contract. However,

            the Court finds that they are proper defendants.

                 Accipiter and Vermillion's related contracts should be read

            as one with the Framework Agreement. Vermillion entered into its

            agreements - the MSN 10038 Trust Agreement (JX-25) and the MSN

            10038 Guaranty (JX - 26) - on the same day that the Framework

           Agreement was executed, and the agreements related to the

            purchase of the first aircraft under the Framework Agreement.

            Tr. 54:20-22; Tr. 55:20-23. Accipiter similarly signed a letter

            of intent to finance six aircraft under the Framework Agreement,

            and the letter's key terms were incorporated into the Framework

           Agreement. Tr. 44:15-49:2. All documents were intended to

            effectuate the same purpose: the financing and leasing of

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           aircraft between Frontier and AMCK through the Framework

           Agreement. They therefore "were executed at substantially the

           same time, related to the same subject-matter, were

           contemporaneous writings and must be read together as one."

           Vulcan Rail, 286 N.Y. at 197.

                 The Framework Agreement imposes binding obligations on

           Accipiter and Vermillion. All of the contracts at issue are

           interconnected and have numerous cross-references. In fact, it

           was through this very interrelation that AMCK held Frontier to

           be in default of the Framework Agreement, using Frontier's

           alleged outstanding rent payments on the Original Leases (to

           which Accipiter Holdings DAC, Accipiter's parent company, was a

           party) to create a breach of the MSN 10038 Lease and a cross-

           default under the Framework Agreement. JX-1-4; Tr. 32:12-43:4.

           The May 8 Termination Notice specifically relied on the

            interrelatedness of those contracts and the relevant parties,

           with numerous references to them. JX-146, ii 2, 4, 7. It would

           make little sense to allow Accipiter and Vermillion to avoid the

            very mechanism of interconnection through which AMCK claimed

            Frontier to be in default.

                 Accipiter and Vermillion are proper parties to this action

            and are liable for breach of the Framework Agreement.




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                                             Conclusion

                    For the foregoing reasons, AMCK breached the Framework

            Agreement, and Accipiter and Vermillion are proper defendants.

            Accordingly, judgment will be entered in favor of Frontier and

            against AMCK, Accipiter, and Vermillion in the amount of

            $48 , 660 , 000, plus interest from the date of breach at a rate of

            9% . The Court accepts Dr . Neels ' s damages calculation because,

            while a pre-tax approach is standard, his use of a constant tax

            rate yielded the same result , and his rent computations

            comported with Frontier's internal estimates and actual

            payments. Additionally , AMCK is liable to Frontier for all

            losses, fees , costs, and expenses - including attorneys' fees

            under the Original Leases and the Framework Agreement. JX-2 & 7,

            § 17 . l(a); JX-24, § 7 . 1.

                    The Clerk is directed to enter judgment accordingly.

                    So ordered .

           Dated:     New York, New York
                      June 14, 2024
                                                             l(53AA, .$   i .s-1- M-vt,,,.,,._
                                                          LOUIS L. STANTON
                                                              U. S.D . J.




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            UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK
            -----------------------------------------------------------------X
            FRONTIER AIRLINES, INC.,

                                               Plaintiff,                          20 CIVIL 9713 (LLS)

                             -v-                                                      JUDGMENT

            AMCK AVIATION HOLDINGS IRELAND
            LIMITED , ACCIPITER INVESTMENT 4
            LIMITED , VERMILLION AVIATION
            (TWO) LIMITED, WELLS FARGO TRUST
            COMPANY , N.A., solely in its
            capacity As OWNER TRUSTEE, and
            UMB BANK , N. A., solely in its
            capacity as OWNER TRUSTEE,

                                                Defendants.
            -----------------------------------------------------------------X



                    It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

            stated in the Court's Opinion & Order dated June 14, 2024, judgment is entered in favor of

            Frontier and against AMCK, Accipiter, and Vermillion in the amount of $48,660,000, plus

            interest from (5/8/2020) the date of breach at a rate of 9% for the total interest amount of

            $18,009,532.60. The Court accepts Dr. Neels's damages calculation because, while a pre-tax

            approach is standard, his use of a constant tax rate yielded the same result, and his rent

            computations comported with Frontier's internal estimates and actual payments. Additionally,

            AMCK is liable to Frontier for all losses, fees, costs, and expenses - including attorneys' fees -

            under the Original Leases and the Framework Agreement. JX-2 & 7, § 17.l(a); JX-24, § 7.1.

            Dated: New York, New York

                      June 17, 2024
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                                                                  DANNY ORTIZ
                                                               Acting, Clerk of Court


                                                      BY:
                                                            _________________________
                                                                   Deputy Clerk
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            UNITED STATES DISTRICT COURT                                      J ELlCTRO\ICAi.LY
            SOUTHERN DISTRICT OF NEW YORK                                    ·1 DOC ;;_____               _
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             FRONTIER AIRLINES, INC.,

                                       Plaintiff,                        20 Civ. 9713 (LLS)

                        - against -                              AMENDED OPINION & ORDER

             AMCK AVIATION HOLDINGS IRELAND
             LIMITED, ACCIPITER INVESTMENT 4
             LIMITED, VERMILLION AVIATION
             (TWO) LIMITED, WELLS FARGO TRUST
             COMPANY, N.A., solely in its
             capacity As OWNER TRUSTEE, and
             UMB BANK, N.A., solely in its
             capacity as OWNER TRUSTEE,

                                       Defendants.
             - - - - - - - - - - - - - - - - - - -x
                                               Introduction

                   This is a breach of contract action between plaintiff

             Frontier Airlines, Inc. ("Frontier"), a commercial passenger

             airline, and defendant AMCK Aviation Holdings Ireland Limited

             ("AMCK"), an aircraft leasing company. AMCK buys and leases

             aircraft through various affiliates, subsidiaries, and owner

             trustee entities, including Accipiter Investments 4 Limited

             ("Accipiter") and Vermillion Aviation (Two) Limited

             ("Vermillion"), the other defendants in this case. In late 2019,

             AMCK and Frontier entered into the Framework Agreement, which

             required AMCK to purchase six new Airbus aircraft and lease them

             back to Frontier.

                   After the COVID-19 pandemic severely limited air travel in

             March of 2020, the parties began negotiating changes to the
                                                       1
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            Framework Agreement, including deferral of monthly aircraft

            rents. In May of 2020, after the parties failed to reach a

            formal agreement, AMCK held Frontier in default and terminated

            the Framework Agreement. Frontier brought this action alleging

            breach of the Framework Agreement, among other claims that were

            dismissed on summary judgment.

                     After a bench trial, and for the reasons that follow, the

            Court finds that AMCK breached the Framework Agreement, and

            Accipiter and Vermillion are proper defendants.

                                         Factual Findings

                     All background facts are incorporated from the Summary

            Judgment Opinion & Order (Dkt. No. 123), and familiarity is

            assumed. The findings of fact necessary to resolve the remaining

            issues are made as follows.

               I .     Parties

                     Frontier is a Colorado-headquartered passenger airline that

            operates commercial passenger aircraft leased from various

            aircraft lessors. Agreed Findings of Fact! 1 ("AFF")             (Dkt. No.

            135). During the relevant timeframe, Jimmy Dempsey was

            Frontier's Executive Vice President and Chief Financial Officer,

            and he is currently Frontier's President. Id. ! 2. Spencer

            Thwaytes was Frontier's former Vice President and Treasurer,

            reporting to Mr. Dempsey. Id. Robert Fanning was Frontier's

            Director of Fleet, responsible for overseeing the making of rent

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           payments and reporting to Mr. Dempsey. Id. He is currently

           Frontier's Vice President for Fleet. Id.

                   During the relevant timeframe, defendant AMCK was an

           aircraft leasing company organized under the laws of Ireland and

           with its principal place of business in Ireland. Id. <[ 3. Paul

           Sheridan was AMCK's Chief Executive Officer, and Jane

           O'Callaghan was the Chief Commercial Officer. Id.            <[   4. Gerald Ma

           was an Executive Committee Member at CK Asset Holdings, which

           was AMCK's largest shareholder, and a member of the AMCK Board

           of Directors. Id. Francis Lee was a Chief Manager of Corporate

           Business Development at CK Asset Holdings, reporting to Mr. Ma,

           and served as an alternative member of the AMCK Board of

            Directors. Id.

               II .      Framework Agreement

                       Sale and leaseback ("SLB") arrangements are a common method

            used by airlines to finance new aircraft acquisitions. Id.              <[   5.

            Frontier relies on SLBs for 100% of its fleet. Id. An SLB

            arrangement is comprised of multiple parts: First, an airline

            (such as Frontier) has an existing purchase agreement with an

            airline manufacturer (such as Airbus), which obligates the

            airline to take delivery of aircraft pursuant to a delivery

            schedule. The airline makes pre-delivery payments ("PDP") to the

            manufacturer as the construction of each aircraft progresses.

            Id.   <[    6.

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                  Second, around six months prior to an aircraft delivery,

           the airline enters an SLB arrangement with an aircraft lessor

            (such as AMCK or an affiliate), in which the lessor agrees to

            (i) buy the aircraft from the manufacturer when the aircraft

           delivers and (ii) simultaneously lease the aircraft to the

           airline in return for monthly rent payments. Id. The purchase

           price and rent payments of the aircraft are negotiated solely

           between the airline and the lessor. Id.

                  Third, shortly before or on the date of delivery, the

            lessor pays the purchase price to the manufacturer and takes

           title to the aircraft, the airline accepts delivery of the

           aircraft from the lessor under the lease, and the airline begins

           making monthly rent payments to the lessor. Id. Depending on the

           purchase price, the airline may receive a refund from the

           manufacturer for PDP overpayments. Id. Until the lessor pays the

           manufacturer, the airline remains responsible for purchasing the

            aircraft and will not receive any PDP overpayment refunds. Id.

            ~   7. If the lessor fails to pay, the airline must use its own

            funds, enter an SLB arrangement with another lessor, or risk

            defaulting on its purchase agreement with the manufacturer. Id.

                   Frontier is a party to the Airbus Purchase Agreement (with

            amendments, "Airbus Agreement") with Airbus, whereby Frontier is

            obligated to purchase more than 150 aircraft, and make PDPs,

            according to a decade-long schedule. Id.         ~   8. By the end of

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           September 2019, AMCK, through subsidiaries and owner trustees,

           owned and leased 14 aircraft to Frontier that were delivered

           under the Airbus Agreement pursuant to 14 individual lease

           agreements ("Original Leases"). Id.         <JI   9; Joint Exhibit 2 ("JX")

            (MSN 8402 Lease); JX-7        (MSN 9177 Lease).

                    On September 10, 2019, Frontier and AMCK's affiliate,

           Accipiter Holdings, DAC, the parent company of Accipiter, signed

           a letter of intent to enter into a sale and leaseback

           arrangement for six additional aircraft under the Airbus

           Agreement. AFF <JI 12; JX-5. On March 16, 2020, Frontier and AMCK

           executed the Framework Agreement, which incorporated the key

            terms from the September 2019 letter of intent. AFF            <JI   13; JX-24.

           The Framework Agreement obligated AMCK to purchase six aircraft

            and lease them back to Frontier through Owner Trustee/Lessor UMB

            Bank, N.A., according to the following schedule:            (i) three

            aircraft in March 2020;        (ii) one in May 2020;     (iii) one in June

            2020; and (iv) one in August 2020. AFF <JI 7; JX-24, Schedule 1.

                    Also on March 16, 2020, AMCK purchased the first of these

            six aircraft, MSN 10038. AFF <JI 7. AMCK, by and through its

            affiliates, executed corresponding lease documents with

            Frontier. Id.    <JI   14. In particular, Vermillion executed a trust

            agreement with UMB, relating to the ownership of MSN 10038. Id.;

            JX-25    (MSN 10038 Trust Agreement). UMB, not in its individual

            capacity but solely as owner trustee, executed a corresponding

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           lease with Frontier. AFF ~ 14; JX-29 (MSN 10038 Lease).

           Vermillion provided a guaranty in favor of Frontier. AFF ~ 14;

           JX-26 (MSN 10038 Guaranty). Under the Framework Agreement and

           resulting lease documents, AMCK paid Airbus $51 million for MSN

           10038, and Frontier agreed to pay AMCK $269,525.94 in monthly

           rent. AFF    ~   15. Frontier received delivery of MSN 10038 from

           Airbus on this same day. Id.        ~   16.   Under the Framework

           Agreement, the five remaining aircraft would be purchased at the

            same price and leased at a similar monthly rent. Id.           ~   17.

                  The contracts at issue -         including the Framework Agreement,

            as well as the Lease Agreements, Trust Agreements, Guarantees,

            and all other "Operative Documentsu (as defined in the Framework

           Agreement) relating to the 15 aircraft under lease between

            Frontier and AMCK - are deeply intertwined and make numerous

            cross-references to each other. JX-1-4; JX-7; JX-24, §§ 1.1,

            2 . 1.1, 3.3 . l; JX-25, §§ 1, 2, 8 . 01-.02, 9.0l(b); JX-26 at 1,

            § l; JX-29 at 1, 15.

               III . Rent Deferral Agreement

                  Also on March 16, 2020, Frontier sent a letter to AMCK

            requesting a temporary deferral of monthly rent payments under

            the Original Leases and the MSN 10038 Lease due to the COVID-19

            pandemic. JX-28. Frontier requested a voluntary (i) one-time,

            three-month aircraft rent deferral on the 15 aircraft under

            lease; and (ii) return of one-month's security deposit for each

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           aircraft. Id. Frontier explained it would fully repay those

           amounts, with interest, over a nine-month period starting on

           July 1, 2020. Id. Frontier also represented that it had a

           "strong balance sheet with $685 million of free cash" in order

           to assure AMCK that it could make its payments, with interest,

           when the proposed deferral expired. Id.

                 Deferral requests of this nature were common given the

           sudden impact of the COVID-19 pandemic on air travel. Frontier

           sent concession request letters to all of its lessors, and AMCK

           received concession request letters from 32 of its 34 airline

           partners, prompting AMCK to create an inter-company deferral

           team. JX-12; JX-15; JX-36.

                 As part of the negotiations, AMCK requested that Frontier

           achieve delivery delays with Airbus for the upcoming aircraft.

            JX-61. This was a substantial request for Frontier. The Airbus

            contract was its "single largest contract," and Frontier had

            $250 million of PDPs on deposit with Airbus. Trial Transcript

            522:23-25 ("Tr."). Airbus also had little incentive to grant

            deferrals, as the aircraft were nearly complete, and Airbus had

            no space at its Mobile, Alabama assembly facility to store them.

            JX-60; Tr. 50:14-23. When Frontier initially asked for a

            delivery deferral, Airbus's "immediate reaction ha[d) been to

            threaten Frontier with default" of the greater Airbus Agreement.

            JX-61; Tr. 76:7-13. If Airbus declared a default, Frontier would

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           lose all of its PDP payments for upcoming aircraft, and it

           "could cripple the airline to where it may potentially put [it]

           out of business" and need to seek Chapter 11 bankruptcy

           protection. JX-190 at 85-90; JX-17 at 2-3; JX-65; Tr. 524:4-7.

           Delivery delays would benefit AMCK by lessening and delaying its

           payment obligations. JX-40; JX-44; JX-55.

              IV .     Waiver

                     To reach a formal agreement on rent deferral with AMCK,

           Frontier needed additional time to negotiate with Airbus. On

           April 6, Sheridan sent an email to Dempsey granting a waiver of

           timely rent payment for ten business days, from April 6, 2020,

           to April 21, 2020. JX-60. Sheridan stated that AMCK "won't take

           any actions or call any defaults linked to non payment of rents

           on any aircraft where the rent is due." Id. Sheridan specified

            that he was "[m]indful of the time it might take [Frontier] to

            reach agreement with Airbus or to make some other arrangements

            and therefore of the ability for us to reach a deferral

            agreement." Id.

                     Dempsey and Sheridan spoke again on April 7, 2020, this

            time by phone. Tr. 529:8-9. Dempsey explained the complex

            negotiation process with Airbus and the fact that the Mobile,

            Alabama factory would be closed until at least April 28, 2020,

            meaning that the next aircraft delivery would not be until May

            at the earliest. Tr. 529:18-25; Tr. 530:1-6. These factors

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           necessitated a deferral beyond the initial ten-day period, which

           was set to end on April 21, 2020. Tr. 530:7-13. Dempsey formally

           asked Sheridan to move the deferral to a month-to-month basis to

           give Frontier time to get an agreement in place with Airbus and,

            in turn, reach a formal rent deferral with AMCK. Tr. 530:13-17.

            Dempsey said that Sheridan understood the need for time and

            agreed to a month-to-month deferral, with no outstanding rent at

            the point of the next aircraft delivery. Tr. 532:9-19;

            Tr. 534:18-21.

                  Immediately after, Dempsey confirmed this with his team,

            texting Fanning and Thwaytes, "Just spoke to Paul Sheridan. He

            has agreed to do the deferral on a month to month basis.n JX-73.

            Thereafter, Sheridan and other Frontier associates continued to

            negotiate with Airbus about delivery delays, inform AMCK of

            their progress, and make offers to become current on rent.

                  On April 8, 2020, Sheridan emailed Gerald Ma, Francis Lee,

            and other representatives of AMCK's shareholder about the April

            7 phone call, explaining that Frontier "asked for us to do the

            deferral on a month by month basis (they are also conscious that

            they don't want to be in default with us). Since the next

            delivery isn't going to be in April now that the Mobile plant is

            shut I think we can agree to this and give them a bit more time

            to work with Airbus.n JX-76.



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                   AMCK associates referenced this informal rent deferral

           agreement multiple times thereafter. For example, on April 30,

           Mr . Sheridan cited "an informal deferral pending agreement with

           Airbus on delivery delays . n JX - 121. AMCK also knew Frontier did

           not want to be in default, and Frontier repeatedly offered to

           become current on all rent. AMCK associates did not once ask

           Frontier to pay or express that they might be in default.

                   After those discussions about a waiver, the parties

           continued to engage in substantial negotiations over a formal

           rent deferral agreement from March through May of 2020. They

           exchanged numerous proposals, and both parties understood that

           any deferral of rent pursuant to this request would be

           documented in a written agreement. JX-28; JX-53; JX-73; JX-79.

           However , they never reached a formal written agreement on rent

           deferral . Tr. 625 : 6-8 .

              V.     Termination

                   On May 8, 2020, AMCK sent Frontier a Notice of Termination

           due to non-payment of rent in April 2020. JX-146. This was based

           on the interconnection of AMCK and Frontier's various contracts:

            Frontier's alleged failure to pay rent on the Original Leases

            created a breach of the MSN 10038 Lease and a cross-default

           under the Framework Agreement. Id.; JX-2; JX-7; JX-24; JX-29. On

           May 13, 2020 , three business days and five calendar days later,



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           Frontier paid all outstanding rent. JX-14; JX-148; JX-150-51.

           AMCK nonetheless terminated the Framework Agreement and did not

           consummate the SLB arrangements for the remaining five aircraft.

           JX-14; JX-148; JX-150-51.

                 As a result of this termination, Frontier began looking for

           alternate leasing companies to finance the five remaining

           aircraft. Given the changed market conditions, their proposed

           terms were substantially worse for Frontier than those in the

           Framework Agreement. PX-6; JX-156-59; Tr. 107:10-15. In fact,

           AMCK itself reached out to Frontier on June 18, 2020 and offered

           to enter SLBs for the three July 2020 aircraft. PX-6. The terms

           were much less favorable for Frontier than those in the

            Framework Agreement, and AMCK's proposal was "conditioned on the

           release and waiver of any potential legal claims by Frontier

           arising from the termination of the Framework Agreement." Id.;

           Tr. 108:17-110:14.

                  Frontier ultimately found other lessors to enter SLB

           arrangements for all five remaining aircraft. It contracted with

           China Development Bank (CDB) for the three July aircraft and

            Jackson Square Aviation (JSA) for the remaining two aircraft.

            JX-156; JX-158-59; PX-10; JX-162; JX-164; JX-166-69. While the

            terms were better than those offered by AMCK on June 18, 2020,

            they were still much worse for Frontier than the terms of the



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           Framework Agreement. JX-156; JX-158-59; PX-10; JX-162; JX-164;

           JX-166-69.


                                       Procedural History

                    Frontier brought this suit to recover losses from AMCK's

           termination of the Framework Agreement. This Court dismissed all

           of Frontier's claims on summary judgment, except for its claim

           against AMCK, Accipiter, and Vermillion for breach of the

           Framework Agreement. A bench trial took place from April 8 to

           16, 2024, to resolve whether AMCK breached that contract, with a

           specific focus on whether it waived its right to timely payment

           during an April 7, 2020 phone call or in other communications.


                                         Legal Standards

              I .     Waiver

                    A right can be waived under the Framework Agreement only

            "by an express waiver or variation in writing ... and no act or

           course of conduct or negotiation on the part of such party or on

            its behalf shall in any way preclude it from exercising any such

            right or constitute a suspension or any variation of any such

            right ." JX-24, § 8.4.1. The Framework Agreement further states

            that the " provisions of this Agreement shall not be varied

            otherwise than by an instrument in writing executed by or on

           behalf of AMCK Aviation and Frontier." Id. § 8.4.2.

                    "A party may, by words or conduct, waive a provision in a


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           contract," including the time of performance or time of payment.

           Oleg Cassini , Inc. v . Couture Coordinates, Inc ., 297 F. Supp.

           821, 831-32 (S.D.N.Y. 1969); see Beth Israel Med. Ctr. v.

           Horizon Blue Cross & Blue Shield of N. J ., Inc ., 448 F.3d 573,

           585 (2d Cir. 2006)         ("A breach of contract may be waived by the

           non-breaching party."). A waiver is "the voluntary abandonment

           or relinquishment of a known [contract] right." Randolph

           Equities , LLC v . Carbon Cap. , Inc., 648 F. Supp. 2d 507, 516

            ( S. D. N. Y. 200 9)   (alteration in the original)   ( quoting Jefpaul

           Garage Corp . v . Presbyterian Hosp ., 462 N.E.2d 1176, 1177

            (1984)). The party asserting waiver has the burden of proving

           the non-breaching party expressed a clear manifestation of its

            intent to relinquish its right. Id. Because it is a question of

            intent, whether a party waived is generally a matter of fact.

            Id . "[A]ny alleged subjective and unstated intent" is

            irrelevant. Natale v. Ernst, 63 A.D.3d 1406, 1409 (2009). An

            express waiver can be "established by affirmative conduct or by

            failure to act so as to evince an intent not to claim a

           purported advantage ." Fundamental Portfolio Advisors , Inc. v.

            Tocqueville Asset Mgmt. , L.P ., 7 N.Y.3d 96, 104 (2006). On

            Summary Judgment, this Court held that an express waiver need

            not be in writing. Dkt. No. 123 at 23.

                  When a waiver is supported by consideration or reasonable

            and justified reliance, it "form[s] a new contract or a binding

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           modification of the original contract and may not be retracted

           without mutual consent." 13 Williston on Contracts§ 39:20 (4th

           ed.). "Where an executory contract fixes the time within which

           it is to be performed and performance within that time is waived

           by the parties to the agreement, neither ~arty can thereafter

           rescind the contract on account of such delay without notice to

           the other." Sherwood v. Gordon Bros., 116 N.Y.S.2d 306, 308

            (City Ct. 1952). "The notice must be clear, distinct and

           unequivocal; fix a reasonable time within which to act; and

           inform the other party that failure to perform by that date will

           be considered a default." Hidden Brook Air, Inc. v . Thabet

           Aviation Int'l Inc., 241 F. Supp. 2d 246, 270 (S.D.N.Y. 2002);

           see also N.Y. U.C.C. Law§ 2-A-208(4)            (McKinney 2023)   ("A party

           who has made a waiver affecting an executory portion of a lease

           contract may retract the waiver by reasonable notification

           received by the other party that strict performance will be

           required of any term waived, unless the retraction would be

           unjust in view of a material change of position in reliance on

           the waiver."); U.C.C. § 2-209(5)           (2022)   (same); 13 Williston on

           Contracts § 39: 20 ( 4th ed.)     (" [HJ aving once waived strict

           compliance with the terms of a contract, a party can assert its

            right to strict compliance in the future only by notifying the

           other party of its intent to do so and by allowing a reasonable

            time for the other party to comply.").

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                   "The requirement of reasonable notice to the party whose

           nonperformance has been excused by waiver, as well as a

           reasonable opportunity to comply, are generally not obviated by

           an antiwaiver clause in the parties' contract." 13 Williston on

           Contracts§ 39:20 (4th ed.).

              II .    Proper Defendan ts

                   "It is hornbook law that a non-signatory to a contract

           cannot be named as a defendant in a breach of contract action

           unless it has thereafter assumed or been assigned the contract."

           Ferring B.V. v . Allergan, Inc., 4 F. Supp. 3d 612, 625 (S.D.N.Y.

           2014)     (internal quotation marks omitted). However, under New

           York law, contemporaneous writings are to be read together, even

           if they are not between the same parties, when they form part of

            a single transaction, relate to the same subject matter, and are

            intended to effectuate the same purpose. This Is Me, Inc . v.

           Taylor, 157 F.3d 139, 143 (2d Cir. 1998); Nau v. Vulcan Rail &

           Constr. Co., 286 N.Y. 188, 197 (1941)         (finding those agreements

            at issue "were executed at substantially the same time, related

            to the same subject-matter, were contemporaneous writings and

           must be read together as one"). It is for the factfinder to

            determine whether contemporaneous writings were intended to

            impose on separate parties the same binding obligations, even

            though the obligations were defined in different documents.



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           TVT Recs . v . Island Def Jam Music Grp . , 412 F.3d 82, 89 (2d Cir.

           2005) .


                                            Discussion

              I.     AMCK Waived Its Right to Timely Payment .

                   There is no debate that the parties did not reach a formal

           deferral agreement. Both sides agree that it is common industry

           practice to document formal rent deferral agreements in writing,

           and the Framework Agreement requires as much. JX-24, § 8 . 4.2;

            JX-28; Tr . 624:23-625:1. A formal deferral agreement also would

           have required "a manifestation of mutual assent sufficiently

           definite to assure that the parties are truly in agreement with

            respect to all material terms,n including how long the rent

            deferral would last, what the payment period would be, and what

            the interest rate would be. Stonehill Cap . Mgmt., LLC v. Bank of

            the W., 28 N. Y.3d 439, 448-49 (2016)        (internal quotation marks

            omitted). All parties acknowledge that they did not solidify

            these material terms orally or in writing. However, they

            disagree over whether there was a waiver of timely payment in

            place while the parties were negotiating the specific contours

            of the deferral agreement.

                   There is no dispute that AMCK instituted an initial waiver

            on April 6, 2020. In an email to Dempsey, Sheridan stated

            clearly that they "won't take any actions or call any defaults

            linked to non payment of rents on any aircraft where the rent is
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           due from today to 21 April." JX-60. Sheridan confirmed this at

           trial, explaining that, "because there were rent payments that

           were due on that day, and because the discussions with Airbus

           were going to be difficult, and take a little bit of time, that

           we grant them a 10-day grace period where we said we would not

           take action under the lease agreements or the other

           agreements ... if there were no rent payments during that 10

           business day period." Tr. 672:19-25. The central debate is

           whether that waiver was modified - or whether a new waiver was

            created - during a phone call between the same parties the next

            day . After testimony from both key witnesses, the Court finds

            that it was.

                  Dempsey, a generally reliable and honest witness, recounted

            his call with Sheridan in detail. After explaining the

            intricacies of Frontier's negotiations with Airbus, and the

            resulting delivery delays from the closing of the Mobile

            factory,   Dempsey asked Sheridan for a month-to-month waiver

            while negotiations were ongoing. Tr. 525:13-15; Tr. 529:18-

            530:17; Tr. 612:10-14. Dempsey confidently stated that Sheridan

            had agreed: "My clear understanding coming out of this call was

            that we had a deferral in place, and the earliest date that we

            had to pay the rent was at the point of the next aircraft

            delivery. That was my clear understanding at that time."

            Tr. 534:18-21. While Dempsey "certainly expected the formal

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           agreement that we were negotiating with Airbus and also the

            formal agreement that we would have negotiated with AMCK" to be

           in writing, he did not feel this informal waiver needed to be

           written: "I have known Paul for sometime, and I trusted that his

           word was good. He was the chief executive of AMCK ... It didn't

           need to be documented in a written agreement. It was an

           agreement between two principals that were parties to it." Tr.

            624:17-25.

                  Dempsey's actions after the call confirm this account, as

            he texted Thwaytes and Fanning, "Just spoke to Paul Sheridan. He

            has agreed to do the deferral on a month to month basis." JX-73.

            Thereafter, Dempsey and his team continued to negotiate with

           Airbus about delivery delays, inform AMCK of their progress, and

            work towards a formal agreement with AMCK - all consistent with

            there being a month-to-month deferral in place.

                  Sheridan, on the other hand, contested this account. He

            testified that he did not remember what his response to

            Dempsey's request for a month-to-month deferral was or whether

            he told Dempsey that a written agreement would be entered.

            Tr. 728:10-16. However, he said that he did not intend to waive

            any rights to payment. Tr. 677:3-7. Sheridan claimed that his

            email to the shareholder's representatives after the call

            confirmed that he did not agree to a month-to-month deferral, as

            he described it as something that "we can agree to," not that

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           they had agreed to. JX-76 (emphasis added). He also stated that

           he would have needed to receive higher approval from the

           shareholder before implementing that waiver. Tr. 680:2-8.

                 Sheridan's account is the less credible one for a few

           reasons. First, it is notably lacking in detail, as he did not

           recall the conversation with nearly as much specificity as

           Dempsey did. Sheridan's shareholder approval argument falls flat

           because there is no indication that he received shareholder

           approval for the April 6 waiver already in place. JX-63; JX-65.

           Sheridan also never suggested to Dempsey that he lacked

           authority as chief executive to grant a month-to-month deferral.

           Tr. 714:16-18; Tr. 728:17-20.

                 Additionally, Sheridan and other AMCK employees'

           communications and actions after April 7 reveal that they did in

           fact understand that a longer deferral was in place, even if

           Sheridan's initial email to the shareholder used less definite

           language. On April 30, Sheridan clearly referenced "an informal

           deferral pending agreement with Airbus on delivery delays" in an

           internal email to Ma and others. JX-121. When asked at trial

           what he meant by an "informal deferral," Sheridan claimed he was

           referring to the April 6 deferral. Tr. 692:16-19. However, this

           is inconsistent considering that the April 6 deferral had

           expired on April 21, 9 days before that email was sent.



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                 Additionally, Dempsey and Sheridan had repeated contact

           after April 7, and Sheridan did not once attempt to clarify what

           he meant on that call. On April 27, Dempsey told Sheridan he was

           operating under the impression that Frontier just needed to have

           no outstanding payments at the time of the next delivery, and

           Sheridan did not dispute that. JX-111. Similarly, on April 29,

            Fanning told O'Callaghan that one solution to their negotiation

           was that the "current rent deferral would stay in place," and

            she said nothing to alter that understanding. JX-17. AMCK

            associates knew Frontier was continuing to negotiate with

           Airbus, and they continued to negotiate with Frontier

            themselves, yet they did not once tell Frontier to cease

            negotiations because they were in default. Frontier also

            repeatedly offered to pay, with AMCK consistently declining its

            offers and failing to send any chase alerts or payment requests.

            JX-120-21; JX-123; PX-7-8.

                  AMCK argues that, to the extent anything said on the April

            7 call could be construed as an express waiver, that waiver was

            withdrawn on April 9, when AMCK sent a draft forbearance

            agreement indicating that, absent agreement, AMCK expected

            Frontier to be bound by the lease terms. JX-79. However, this is

            also inconsistent, as the communications referenced above, which

            clearly allude to the existence of an informal rent deferral,

            all occurred well after that April 9 email.

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                 While the Framework Agreement forbids looking at course of

            conduct for the creation of a waiver, the parties' actions after

           April 7 help to confirm Dempsey's account that a waiver was made

           on that phone call. If Sheridan's subjective intent was not to

           grant a month-to-month deferral, he did not make that

            sufficiently clear to Dempsey or anyone else at Frontier. All

           parties acted as if a month-to-month waiver was in place

            following the phone call. Ultimately, Dempsey's descriptions of

           what the parties said on the April 7 call are consistent with

           what the parties actually did, while Sheridan's are not.

                  The Court finds that AMCK waived its right to timely

            payment during the April 7 phone call. That waiver was supported

            by consideration, as Frontier made a substantial sacrifice to

            achieve deferrals with Airbus. It risked default on its single

            largest contract, which could have exposed the company to

            Chapter 11 bankruptcy proceedings and resulted in the loss of

            $250 million in PDPs. Tr. 518:3-519:4; Tr. 521:7-524:12. With

            each aircraft deferral, Frontier also lost repayment of $15

            million, at a time when it was desperate for liquidity.

            Tr. 564:10-565:4. In turn, AMCK received the benefit of delaying

            its payments of $51 million per aircraft. Tr. 566:7-567:19.

                  Withdrawal of that waiver required mutual assent or, at a

            minimum, notice and a reasonable opportunity to cure. AMCK did

            not provide any of those elements, and it terminated the

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            Framework Agreement even after Frontier became current on all

           rent on May 13, 2020 . JX - 14; JX-148; JX-150-51. This was a

           reasonable time period well within the three-day grace period

           and five-day cure provisions in other contracts between the

           parties. JX-2     (MSN 8402 Lease); JX-7     (MSN 9177 Lease); JX-24

            (Framework Agreement); JX-29 (MSN 10038 Lease).

                 AMCK is therefore liable for breach of the Framework

           Agreement .

              II .   Accipiter and Vermillion Are Proper Defendants .

                 AMCK argues that Accipiter and Vermillion, AMCK's

           affiliates, are not parties to the Framework Agreement and

           therefore cannot be held liable for breach of contract. However,

            the Court finds that they are proper defendants.

                 Accipiter and Vermillion's related contracts should be read

            as one with the Framework Agreement. Vermillion entered into its

            agreements - the MSN 10038 Trust Agreement (JX-25) and the MSN

            10038 Guaranty (JX - 26) - on the same day that the Framework

           Agreement was executed, and the agreements related to the

            purchase of the first aircraft under the Framework Agreement.

            Tr. 54:20-22; Tr. 55:20-23. Accipiter similarly signed a letter

            of intent to finance six aircraft under the Framework Agreement,

            and the letter's key terms were incorporated into the Framework

           Agreement. Tr. 44:15-49:2. All documents were intended to

            effectuate the same purpose: the financing and leasing of

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           aircraft between Frontier and AMCK through the Framework

           Agreement. They therefore "were executed at substantially the

           same time, related to the same subject-matter, were

           contemporaneous writings and must be read together as one."

           Vulcan Rail, 286 N.Y. at 197.

                 The Framework Agreement imposes binding obligations on

           Accipiter and Vermillion. All of the contracts at issue are

           interconnected and have numerous cross-references. In fact, it

           was through this very interrelation that AMCK held Frontier to

           be in default of the Framework Agreement, using Frontier's

           alleged outstanding rent payments on the Original Leases (to

           which Accipiter Holdings DAC, Accipiter's parent company, was a

           party) to create a breach of the MSN 10038 Lease and a cross-

           default under the Framework Agreement. JX-1-4; Tr. 32:12-43:4.

           The May 8 Termination Notice specifically relied on the

            interrelatedness of those contracts and the relevant parties,

           with numerous references to them. JX-146, ii 2, 4, 7. It would

           make little sense to allow Accipiter and Vermillion to avoid the

            very mechanism of interconnection through which AMCK claimed

            Frontier to be in default.

                 Accipiter and Vermillion are proper parties to this action

            and are liable for breach of the Framework Agreement.




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                                                  Conclusion

                    For the foregoing reasons, AMCK breached the Framework

           Agreement, and Accipiter and Vermillion are proper defendants.

           Accordingly, judgment will be entered in favor of Frontier and

            against AMCK, Accipiter, and Vermillion in the amount of

            $48,660,000, plus interest from April 8, 2024 at a rate of 9%. The

            Court accepts Dr. Neels's damages calculation because, while a

            pre-tax approach is standard, his use of a constant tax rate

            yielded the same result, and his rent computations comported

            with Frontier's internal estimates and actual payments.

            Additionally, AMCK is liable to Frontier for all losses, fees,

            costs, and expenses              including attorneys' fees - under the

            Original Leases and the Framework Agreement. JX-2 & 7, §

            17 . l(a); JX-24,     §   7.1.

                    The Clerk is directed to enter judgment accordingly.

                    So ordered.

           Dated:     New York, New York
                      July 1, 2024
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                                                               LOUIS L. STANTON
                                                                   U.S.D.J.




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            UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK
            -----------------------------------------------------------------X
            FRONTIER AIRLINES, INC.,

                                               Plaintiff,                            20 CIVIL 9713 (LLS)

                             -v-                                                 AMENDED JUDGMENT

            AMCK AVIATION HOLDINGS IRELAND
            LIMITED , ACCIPITER INVESTMENT 4
            LIMITED , VERMILLION AVIATION
            (TWO) LIMITED, WELLS FARGO TRUST
            COMPANY , N.A., solely in its
            capacity As OWNER TRUSTEE, and
            UMB BANK , N. A., solely in its
            capacity as OWNER TRUSTEE,

                                                Defendants.
            -----------------------------------------------------------------X



                    It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

            stated in the Court's Amended Opinion & Order dated July 1, 2024 and the Court’s Order dated

            July 1, 2024, Defendants' June 25, 2024 Motion to Amend the Judgment (Dkt. No. 173) is

            granted. Accordingly, judgment is entered in favor of Frontier and against AMCK, Accipiter,

            and Vermillion in the amount of $48,660,000, plus interest at 9% from April 8, 2024 of

            $839,884.93 for a total sum of $49,499,884,93.

            Dated: New York, New York

                      July 02, 2024
                                                                                       DANNY ORTIZ
                                                                                    Acting, Clerk of Court


                                                                         BY:
                                                                                 _________________________
                                                                                         Deputy Clerk
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                    Case 1:20-cv-09713-LLS Document 183 Filed 07/12/24 Page 1 of 1




                                       UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF NEW YORK


            FRONTIER AIRLINES, INC.,

                                     Plaintiff,
                    v.                                                      20 Civ. 9713 (LLS)
            AMCK AVIATION HOLDINGS IRELAND
            LIMITED, ACCIPITER INVESTMENT 4
            LIMITED, VERMILLION AVIATION (TWO)                              NOTICE OF APPEAL
            LIMITED, WELLS FARGO TRUST COMPANY,
            N.A., solely in its capacity as OWNER TRUSTEE,
            and UMB BANK, N.A., solely in its capacity as
            OWNER TRUSTEE,

                                     Defendants.


                   PLEASE TAKE NOTICE that Defendants AMCK Aviation Holdings Ireland Limited,

            Accipiter Investments Aircraft 4 Limited, and Vermillion Aviation (Two) Limited

            (“Defendants”), hereby appeal to the United States Court of Appeals for the Second Circuit from

            the (i) Opinion and Order dated June 14, 2024 (ECF No. 170), (ii) the Judgment dated June 17,

            2024 (ECF No. 171), (iii) the Amended Opinion and Order dated July 1, 2024 (ECF No. 175),

            (iv) the Amended Judgment dated July 2, 2024 (ECF No. 180), and (v) all other orders entered in

            the case that were adverse, either in whole or in part, to Defendants.

            Dated: July 12, 2024                          Respectfully submitted,

                                                              s/ Jeff E. Butler
                                                          Jeff E. Butler
                                                          John P. Alexander
                                                          Giannina Crosby
                                                          CLIFFORD CHANCE US LLP
                                                          Two Manhattan West
                                                          375 9th Avenue
                                                          New York, New York 10001
                                                          Attorneys for Defendants
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           UNITED STATES DISTRICT COURT                                     ~Lr " T l ' )\'.ICALLY FILED J
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           SOUTHERN DISTRICT OF NEW YORK                                    .LO
                                                  - - - -x
            FRONTIER AIRLINES, INC.,

                                     Plaintiff,                         20 Civ. 9713 (LLS)

                       - against -                                                 OPINION

           AMCK AVIATION HOLDINGS IRELAND
           LIMITED, ACCIPITER INVESTMENT 4
           LIMITED, VERMILLION AVIATION
            (TWO) LIMITED, WELLS FARGO TRUST
           COMPANY, N.A., solely in its
           capacity As OWNER TRUSTEE, and
           UMB BANK, N.A., solely in its
           capacity as OWNER TRUSTEE,

                                     Defendants.
                                                    - - -x
                    For the reasons stated in the Court's Summary Judgment

            Opinion (Dkt. No. 123), defendants' Rule 52(b) Motion for

            Judgment as a Matter of Law (Dkt. No. 181) is denied.


                    So ordered.

           Dated:     New York, New York
                      August~, 2024
                                                               ltr:JM~
                                                             LOUIS L. STANTON
                                                                              L. s~I~
                                                                 U.S.D.J.
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                           Case: 24-1916, 09/03/2024, DktEntry: 20.1, Page 100 of 140

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                    Frontier Airlines, Inc . v. AMCK Aviation Holdings -Ireiancr·
                                          Limited et al.,
                                        20 Civ. 9713 (LLS)

                     On June 14, 2024, this Court held that defendants AMCK

              Aviation Holdings Ireland Limited ("AMCK"), Accipiter

              Investments 4 Limited ("Accipiter"), and Vermillion Aviation

              (Two) Limited ("Vermillion") breached their Framework Agreement

              with plaintiff Frontier Airlines, Inc.                  ("Frontier") and were

              liable for all losses, fees, costs, and expenses, including

              attorneys' fees        (Dkt. No. 170). Plaintiff's attorneys now move

              for attorneys' fees and costs pursuant to provisions in the

              parties' contracts (Dkt. No. 177). That motion is granted.


                     Although in this country attorneys' fees are typically not

              recoverable, "parties may agree by contract to permit recovery

              of attorneys' fees, and a federal court will enforce contractual

              rights to attorneys' fees if the contract is valid under

              applicable state law." U.S. Fid. & Guar. Co. v. Braspetro Oil

              Servs. Co., 369 F.3d 34, 74             (2d Cir. 2004)       (internal quotations

              and citations omitted). "Under New York law, a contract that

              provides for an award of reasonable attorneys' fees to the

              prevailing party in an action to enforce the contract is

              enforceable if the contractual language is sufficiently clear."




                                                           1
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            NetJets Aviation , Inc . v . LHC Commc'ns , LLC, 537 F.3d 168, 175

            (2d Cir . 2008).


                  Th o u gh this case involves breach of the Framework Agreement

            specifically, that termination was predicated on breaches of

            other interrelated contracts pertaining to the sale and

            leaseback of numerous aircraft . For each aircraft, the parties

            executed lease agreements , trust agreements, and guaranty

            agreements . The aircraft at issue were guaranteed by Vermillion

             (MSN 10038 Lease) , Accipiter (Original Leases), or Accipiter

            Holdings, DAC (Original Leases), which is the parent company of

            Accipiter . The guaranty agreements required those parties to

            ensure unconditional performance of the leases, and each

            guaranty agreement included the following provision:

                  2 . 2 Expenses . Guarantor agrees to be liable for the
                  payment of all reasonable fees and expenses, including
                  attorney's fees , incurred by Lessee in connection with
                  the enforcement of this Guaranty .
            See , e . g . , MSN 10038 Guaranty Agreement (Dkt. No. 116, Ex. 12).

            This clearly contemplates the payment of attorneys' fees and

            costs.

                  Frontier ' s requested attorneys' fees are reasonable, and,

            notably, defendants do not challenge the amount in question.

            Frontier seeks $1 , 997 , 575.10 in fees for 3,949.1 hours of work

            by Lane Powell PC and $36,249.50 in fees for 58.6 hours of work

            by Binder & Schwartz LLP . Those rates reflect the actual costs

                                                   2
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            incurred by Frontier over the course of nearly four years of

            litigation and are reasonable. Danahe r Corp . v . Travelers Indem .

            Co., 2014 WL 4898754, at *2 (S . D.N.Y. Sept . 30, 2014)          ("[T]he

            amount actually paid to counsel by paying clients is compelling

            evidence of a reasonable market rate.") . They also comport with

            prevailing market rates in the Southern District of New York and

            are appropriate given the time and experience required to handle

            a multi - year matter concerning millions of dollars, valuable

            business relationships, a complex structure of contracts, a

            global pandemic, and a nearly two-week bench trial.

                  Frontier ' s costs and expenses are also reasonable, and the

            amount is similarly uncontested by the defendants. Frontier

            seeks $240,300.49 for costs and expenses related to travel,

            depositions, and trial transcripts, as well as $307,602.41 for

            expert witness costs and expenses. Those comport with amounts

            typically awarded in this district. See , e .g., Austrian Airlines

            Oesterreichische Luftverkehrs AG v . UT Fin . Corp ., 2008 WL

            4833025, at *l, 9 (S . D.N.Y. Nov . 3, 2008)        (approving $568,148 in

            expert and consultant fees in a case involving more than $47.9

            million in allege d damages) .


                  Frontier's request for an additional $10,102 . 35 in fees and

            expenses related to the instant motion is denied. In the Second

            Circuit, parties are typically not entitled to recover fees


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            incurred in connection with seeking fees - even where a contract

            expressly allows for the recovery of legal fees - unless the

            contract specifically allows for it . See F.H . Krear & Co. v .

            Nineteen Named Trustees , 810 F.2d 1250, 1266 (2d Cir. 1987)

             ("[A] general contract provision for the shifting of attorneys'

            fees does not authorize an award of fees for time spent in

            seeking the fees themselves."); Thor 725 8th Ave . LLC v.

            Goonetilleke , 675 F . App'x 31 , 35 (2d Cir . 2017)        (holding that

            "there is no basis for disturbing F . H. Krear" and "[t]he

            district cour t correctly denied [plaintiff's] request for 'fees

            on fees ' "); Flatiron Acquisition Vehicle , LLC v . CSE Mortg . LLC,

            2022 WL 413229, at *11 (S.D . N.Y . Feb . 9, 2022)        (rejecting

            application for the "cost of litigating amount of fees" absent

            "specific langu a ge" in the contract) .


                  Frontier is entitled to $2 , 581 , 727.50 in attorneys' fees

            and costs. The Clerk is directed to issue a supplemental

            judgment and close the case._

                  So ordered.

            Dated :   New York , New York
                      August l..51- , 2024


                                                                  L~ L.sL~
                                                             LOUIS L . STANTON
                                                                 U.S.D.J .




                                                   4
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            UEMO ENDORSED                  UNITEDSTATESDISTRICTCOURT
                                          SOUTHERN DISTRICT OF NEW YORK

               FRONTIER AIRLINES, INC.                                 Case No.: 1:20-cv-09713-LLS

                                       Plaintiff,

 c:::I                  v.
 LL.I
(..-?
               AMCK AVIATION HOLDINGS IRELAND
a:=            LIMITED, ACCIPITER INVESTMENT 4
c:::,          LIMITED, VERMILLION AVIATION
c::::::I       (TWO) LIMITED, WELLS FARGO TRUST
~              COMPANY, N.A., solely in its capacity as
LU             OWNER TRUSTEE, and UMB BANK,
c:::,          N.A., solely in its capacity as OWNER
::E            TRUSTEE,


---
LIJ
    .....
c;.._
                                       Defendants .


                                   PLAINTIFF FRONTIER AIRLINES, INC.'S NOTICE OF
                                 MOTION FOR ATTORNEY'S FEES, COSTS, AND EXPENSES

                        PLEASE TAKE NOTICE that, pursuant to the Court's June 14, 2024, Order (Dkt. 170)

               and June 17, 2024, Judgment (Dkt. 171) finding Defendants AMCK Aviation Holdings Ireland

               Limited, Accipiter Investment 4 Limited, and Vermillion Aviation (Two) Limited (collectively,

               Defendants) "liable to Frontier for all losses, fees, costs, and expenses - including attorneys ' fees

               - under the Original Leases and the Framework Agreement," Plaintiff Frontier Airlines, Inc.

               (Frontier) hereby moves this Court before the Honorable Louis L. Stanton, United States District

               Judge, at the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, Courtroom

               21C, New York, New York 10007, on a date and time to be determined by the Court, for an order

               granting Frontier's motion for attorney's fees and costs, which combined total $2,581.727.09,

               ordering Defendants to pay Frontier this amount, and for such other relief as this Court may deem

               just and proper.




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                     PLEASE TAKE FURTHER NOTICE that additional fees and costs incurred in

            connection with prosecuting this application or responding to any post-trial filings made by

            Defendants shall be sought in a supplemental filing.

                     PLEASE TAKE FURTHER NOTICE that, in support of its motion, Frontier will rely

            on the brief and the supporting Declaration of David G. Hosenpud, including exhibits, all of which

            are being electronically filed on this date.

            DATED: July 1, 2024
                                                              LANE POWELL PC




                                                              By: s/ David G. Hosenpud
                                                                 David G. Hosenpud (pro hac vice)
                                                                 601 SW Second Avenue, Suite 2100
                                                                 Portland, Oregon 97204-3158
                                                                 Telephone No.: 503.778.2100
                                                                 Facsimile No.: 503.778.2200
                                                                 E-mail: hosenpudd@lanepowell.com

                                                                   Aaron Schaer, (pro hac vice)
                                                                   1420 Fifth Avenue, Suite 4200
                                                                   P.O. Box 91302
                                                                   Seattle, WA 98111-9402
                                                                   Telephone: 206.223.7103
                                                                   Facsimile: 206.223. 7107
                                                                   E-mail: schaera@lanepowell.com

                                                                   -and-

                                                                BINDER & SCHWARTZ LLP
                                                                Neil S. Binder
                                                                675 Third Avenue, 26th Floor
                                                                New York, New York 10017
                                                                Telephone No.: 212.510.7008
                                                                Facsimile No.: 212.510.7299
                                                                E-mail: nbinder@binderschwartz.com
                                                                Attorneys for Plaintiff, Frontier Airlines, Inc.




                                                            2
            022510.0155/9791222.1
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            UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK
            -------------------------------------------------------------------------X
            FRONTIER AIRLINES , INC .,

                                               Plaintiff,                                20 CIVIL 9713 (LLS)

                             -against-                                          SUPPLEMENTAL JUDGMENT
                                                                                 For Attorney’s Fees and Costs
            AMCK AVIATION HOLDINGS IRELAND
            LIMITED, ACCIPITER INVESTMENT 4
            LIMITED, VERMILLION AVIATION
            (TWO) LIMITED , WELLS FARGO TRUST
            COMPANY , N.A., solely in its
            capacity As OWNER TRUSTEE , and
            UMB BANK , N. A. , solely in its
            capacity as OWNER TRUSTEE,

                                                Defendants.
            -------------------------------------------------------------------------X


                    It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

            stated in the Court's Memo Endorsed Order dated August 19, 2024, that Frontier is entitled to

            $2,581,727.50 in attorneys' fees and costs. Accordingly, the case is closed.

            Dated: New York, New York

                      August 20, 2024


                                                                                      DANIEL ORTIZ
                                                                                    Acting Clerk of Court


                                                                          BY:
                                                                                 _________________________
                                                                                        Deputy Clerk
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                           Case: 24-1916, 09/03/2024, DktEntry: 20.1, Page 107 of 140
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                                        UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF NEW YORK


            FRONTIER AIRLINES, INC.,

                                     Plaintiff,
                    v.                                                        20 Civ. 9713 (LLS)

            AMCK AVIATION HOLDINGS IRELAND
            LIMITED, ACCIPITER INVESTMENT 4
            LIMITED, VERMILLION AVIATION (TWO)                                AMENDED NOTICE OF APPEAL
            LIMITED, WELLS FARGO TRUST COMPANY,
            N.A., solely in its capacity as OWNER TRUSTEE,
            and UMB BANK, N.A., solely in its capacity as
            OWNER TRUSTEE,

                                     Defendants.


                   NOTICE IS HEREBY GIVEN that Defendants AMCK Aviation Holdings Ireland

            Limited, Accipiter Investments Aircraft 4 Limited, and Vermillion Aviation (Two) Limited

            (“Defendants”), hereby appeal to the United States Court of Appeals for the Second Circuit from

            the (i) Opinion and Order dated June 14, 2024 (ECF No. 170), (ii) the Judgment dated June 17,

            2024 (ECF No. 171), (iii) the Amended Opinion and Order dated July 1, 2024 (ECF No. 175),

            (iv) the Amended Judgment dated July 2, 2024 (ECF No. 180), (v) the Opinion dated August 14,

            2024 (ECF No. 195), (vi) the Memorandum Endorsement dated August 19, 2024 (ECF No. 196),

            (vii) the Supplemental Judgment dated August 20, 2024 (ECF No. 198), and (viii) all other orders

            entered in the case that were adverse, either in whole or in part, to Defendants.



                                                  [Remainder of page blank]
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            Dated: August 26, 2024              Respectfully submitted,

                                                s/ Jeff E. Butler
                                                Jeff E. Butler
                                                John P. Alexander
                                                Giannina Crosby
                                                CLIFFORD CHANCE US LLP
                                                Two Manhattan West
                                                375 9th Avenue
                                                New York, New York 10001
                                                212-878-8000
                                                Jeff.butler@cliffordchance.com
                                                Attorneys for Defendants
(109 of 140), Page 109 of 140
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                                                                                                                 CLOSED,APPEAL,ECF

                                                   U.S. District Court
                                       Southern District of New York (Foley Square)
                                     CIVIL DOCKET FOR CASE #: 1:20-cv-09713-LLS


      Frontier Airlines, Inc. v. AMCK Aviation Holdings Ireland Limited                      Date Filed: 11/18/2020
      et al                                                                                  Date Terminated: 06/17/2024
      Assigned to: Judge Louis L. Stanton                                                    Jury Demand: None
      Demand: $9,999,000                                                                     Nature of Suit: 190 Contract: Other
      Cause: 28:1332bc Diversity-Breach of Contract                                          Jurisdiction: Diversity
      Plaintiff
      Frontier Airlines, Inc.                                                 represented by Aaron Schaer
                                                                                             Lane Powell PC
                                                                                             1420 Fifth Ave, Ste 4200
                                                                                             P.O. Box 91302
                                                                                             Seattle, WA 98111-9402
                                                                                             206-223-7000
                                                                                             Email: SchaerA@lanepowell.com
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             David G. Hosenpud
                                                                                             Lane Powell PC
                                                                                             601 SW Second Avenue
                                                                                             Ste 2100
                                                                                             Portland, OR 97204
                                                                                             503-778-2141
                                                                                             Fax: 503-778-2200
                                                                                             Email: hosenpudd@lanepowell.com
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Peter Douglas Hawkes
                                                                                             Angeli Law Group LLC
                                                                                             121 SW Morrison St.
                                                                                             Suite 400
                                                                                             Portland, OR 97204
                                                                                             971-420-0220
                                                                                             Fax: 503-227-0880
                                                                                             Email: peter@angelilaw.com
                                                                                             TERMINATED: 06/04/2021

                                                                                             Sarah Esther Molinoff
                                                                                             Holland & Knight LLP
                                                                                             601 SW Second Avenue
                                                                                             Suite 1800
                                                                                             Portland, OR 97204
                                                                                             503-517-2912

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                                                                                             Email: sarah.molinoff@hklaw.com
                                                                                             TERMINATED: 10/28/2021

                                                                                             Neil Stephen Binder
                                                                                             Binder & Schwartz LLP
                                                                                             675 Third Avenue
                                                                                             Ste 26th Floor
                                                                                             New York, NY 10017
                                                                                             212-510-7031
                                                                                             Fax: 212-510-7299
                                                                                             Email: nbinder@binderschwartz.com
                                                                                             ATTORNEY TO BE NOTICED


      V.
      Defendant
      AMCK Aviation Holdings Ireland                                          represented by Jeff Edward Butler
      Limited                                                                                Clifford Chance US LLP
                                                                                             Two Manhattan West
                                                                                             375 9th Avenue
                                                                                             New York, NY 10001
                                                                                             212-878-8000
                                                                                             Email: jeff.butler@cliffordchance.com
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Minji Reem
                                                                                             Schulte Roth & Zabel LLP
                                                                                             919 Third Avenue
                                                                                             New York, NY 10022
                                                                                             212-756-2310
                                                                                             Email: Minji.Reem@srz.com
                                                                                             TERMINATED: 03/20/2024
      Defendant
      Accipiter Investment 4 Limited                                          represented by Jeff Edward Butler
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Minji Reem
                                                                                             (See above for address)
                                                                                             TERMINATED: 03/20/2024
      Defendant
      Vermillion Aviation (Two) Limited                                       represented by Jeff Edward Butler
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Minji Reem
                                                                                             (See above for address)
                                                                                             TERMINATED: 03/20/2024
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      Defendant
      Wells Fargo Trust Company, N.A.                                         represented by Jeff Edward Butler
      solely in its capacity as Owner Trustee                                                (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                            Minji Reem
                                                                                            (See above for address)
                                                                                            TERMINATED: 03/20/2024
      Defendant
      UMB Bank, N.A.                                                          represented by Jeff Edward Butler
      solely in its capacity as Owner Trustee                                                (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                            Minji Reem
                                                                                            (See above for address)
                                                                                            TERMINATED: 03/20/2024

      Counter Claimant
      AMCK Aviation Holdings Ireland                                          represented by Jeff Edward Butler
      Limited                                                                                (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                            Minji Reem
                                                                                            (See above for address)
                                                                                            TERMINATED: 03/20/2024


      V.
      Counter Defendant
      Frontier Airlines, Inc.                                                 represented by David G. Hosenpud
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                            Peter Douglas Hawkes
                                                                                            (See above for address)
                                                                                            TERMINATED: 06/04/2021

                                                                                            Sarah Esther Molinoff
                                                                                            (See above for address)
                                                                                            TERMINATED: 10/28/2021

                                                                                            Neil Stephen Binder
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED


       Date Filed             #     Docket Text


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       11/18/2020              1 COMPLAINT against AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4
                                 Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited, Wells Fargo Trust
                                 Company, N.A.. (Filing Fee $ 400.00, Receipt Number ANYSDC-22644104)Document
                                 filed by Frontier Airlines, Inc...(Binder, Neil) (Entered: 11/18/2020)
       11/18/2020              2 CIVIL COVER SHEET filed..(Binder, Neil) (Entered: 11/18/2020)
       11/18/2020              3 REQUEST FOR ISSUANCE OF SUMMONS as to AMCK Aviation Holdings Ireland
                                 Limited, re: 1 Complaint,. Document filed by Frontier Airlines, Inc...(Binder, Neil)
                                 (Entered: 11/18/2020)
       11/18/2020              4 REQUEST FOR ISSUANCE OF SUMMONS as to Accipiter Investment 4 Limited, re: 1
                                 Complaint,. Document filed by Frontier Airlines, Inc...(Binder, Neil) (Entered:
                                 11/18/2020)
       11/18/2020              5 REQUEST FOR ISSUANCE OF SUMMONS as to Vermillion Aviation (Two) Limited,
                                 re: 1 Complaint,. Document filed by Frontier Airlines, Inc...(Binder, Neil) (Entered:
                                 11/18/2020)
       11/18/2020              6 REQUEST FOR ISSUANCE OF SUMMONS as to Wells Fargo Trust Company, N.A.,
                                 re: 1 Complaint,. Document filed by Frontier Airlines, Inc...(Binder, Neil) (Entered:
                                 11/18/2020)
       11/18/2020              7 REQUEST FOR ISSUANCE OF SUMMONS as to UMB Bank, N.A., re: 1 Complaint,.
                                 Document filed by Frontier Airlines, Inc...(Binder, Neil) (Entered: 11/18/2020)
       11/18/2020              8 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent. Document
                                 filed by Frontier Airlines, Inc...(Binder, Neil) (Entered: 11/18/2020)
       11/19/2020                   ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice to
                                    attorney Neil Stephen Binder. The party information for the following party/parties
                                    has been modified: Wells Fargo Trust Company, N.A., UMB Bank, N.A.. The
                                    information for the party/parties has been modified for the following
                                    reason/reasons: party text was omitted;. (pc) (Entered: 11/19/2020)
       11/19/2020                   ***NOTICE TO ATTORNEY REGARDING CIVIL. CASE OPENING
                                    STATISTICAL ERROR CORRECTION: Notice to attorney Neil Stephen Binder.
                                    The following case opening statistical information was erroneously selected/entered:
                                    Dollar Demand $53,000,000,000; County code New York;. The following
                                    correction(s) have been made to your case entry: the Dollar Demand has been
                                    modified to $9,999,000; the County code has been modified to XX Out of State;. (pc)
                                    (Entered: 11/19/2020)
       11/19/2020                   CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is
                                    assigned to Judge Analisa Torres. Please download and review the Individual Practices of
                                    the assigned District Judge, located at --
                                                                            https://nysd.uscourts.gov/judges/district-judges.
                                                                               ---- --------
                                    Attorneys are responsible for providing courtesy copies to judges where their Individual
                                    Practices require such. Please download and review the ECF Rules and Instructions,
                                    located at --
                                               https://nysd.uscourts.gov/rules/ecf-related-instructions..(pc)
                                                  ---- --------                                               (Entered:
                                    11/19/2020)
       11/19/2020                   Magistrate Judge Debra C. Freeman is so designated. Pursuant to 28 U.S.C. Section
                                    636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent to proceed
                                    before a United States Magistrate Judge. Parties who wish to consent may access the
                                    necessary form at the following link: --
                                                                          https://nysd.uscourts.gov/sites/default/files/2018-
                                                                              ---- --------
                                    06/AO-3.pdf. (pc) (Entered: 11/19/2020)
       11/19/2020                   Case Designated ECF. (pc) (Entered: 11/19/2020)

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       11/19/2020              9 ELECTRONIC SUMMONS ISSUED as to AMCK Aviation Holdings Ireland Limited..
                                 (pc) (Entered: 11/19/2020)
       11/19/2020            10 ELECTRONIC SUMMONS ISSUED as to Vermillion Aviation (Two) Limited..(pc)
                                (Entered: 11/19/2020)
       11/19/2020            11 ELECTRONIC SUMMONS ISSUED as to UMB Bank, N.A...(pc) (Entered: 11/19/2020)
       11/19/2020            12 ELECTRONIC SUMMONS ISSUED as to Wells Fargo Trust Company, N.A...(pc)
                                (Entered: 11/19/2020)
       11/19/2020            13 ELECTRONIC SUMMONS ISSUED as to Accipiter Investment 4 Limited..(pc)
                                (Entered: 11/19/2020)
       11/20/2020            14 INITIAL PRETRIAL CONFERENCE ORDER: Counsel for all parties are directed to
                                appear for an initial pretrial conference, in accordance with Rule 16 of the Federal Rules
                                of Civil Procedure, at 11:00 a.m. on January 19, 2021, to be held telephonically. The
                                parties are directed to dial 888-398-2342 or 215-861-0674, and enter access code
                                5598827. Principal trial counsel must appear at this and all subsequent conferences.
                                Initial Conference set for 1/19/2021 at 11:00 AM before Judge Analisa Torres. (Signed by
                                Judge Analisa Torres on 11/20/2020) (kv) (Entered: 11/20/2020)
       11/20/2020            15 ORDER: To protect the public health, while promoting the "just, speedy, and inexpensive
                                determination of every action and proceeding," Fed. R. Civ. P. 1, it is ORDERED
                                pursuant to Rules 30(b)(3) and 30(b)(4) of the Federal Rules of Civil Procedure that all
                                depositions in this action may be taken via telephone, videoconference, or other remote
                                means. It is further ORDERED pursuant to Rule 30(b)(5) that a deposition will be
                                deemed to have taken place "before an officer appointed or designated under Rule 28" if
                                such officer attends the deposition using the same remote means used to connect all other
                                participants, so long as all participants (including the officer) can clearly hear and be
                                heard by all other participants. The parties are encouraged to engage in discovery through
                                remote means at every available opportunity. SO ORDERED. (Signed by Judge Analisa
                                Torres on 11/20/2020) (kv) (Entered: 11/20/2020)
       11/20/2020            16 ORDER: To conserve resources, to promote judicial efficiency, and in an effort to achieve
                                a faster disposition of this matter, it is hereby ORDERED that the parties discuss whether
                                they are willing to consent, under 28 U.S.C. § 636(c), to conducting all further
                                proceedings before the assigned Magistrate Judge. (as further set forth herein). SO
                                ORDERED. (Signed by Judge Analisa Torres on 11/20/2020) (kv) (Entered: 11/20/2020)
       12/09/2020            17 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION for David G.
                                Hosenpud to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-
                                22956733. Motion and supporting papers to be reviewed by Clerk's Office staff.
                                Document filed by Frontier Airlines, Inc...(Hosenpud, David) Modified on 12/9/2020
                                (vba). (Entered: 12/09/2020)
       12/09/2020            18 AFFIDAVIT of David G. Hosenpud in Support re: 17 MOTION for David G. Hosenpud
                                to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-22956733.
                                Motion and supporting papers to be reviewed by Clerk's Office staff.. Document filed
                                by Frontier Airlines, Inc...(Hosenpud, David) (Entered: 12/09/2020)
       12/09/2020                   >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                                    VICE. Notice to RE-FILE Document No. 17 MOTION for David G. Hosenpud to
                                    Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-22956733.
                                    Motion and supporting papers to be reviewed by Clerk's Office staff... The filing is
                                    deficient for the following reason(s): missing Certificate of Good Standing from
                                    SUPREME COURT OF OREGON SUPREME COURT OF CALIFORNIA; missing
                                    Proposed Order; MISSING NOTARIZED AFFIDAVIT OR DECLARATION;. Re-
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                                    file the motion as a Motion to Appear Pro Hac Vice - attach the correct signed PDF -
                                    select the correct named filer/filers - attach valid Certificates of Good Standing
                                    issued within the past 30 days - attach Proposed Order.. (vba) (Entered: 12/09/2020)
       12/09/2020            19 PROPOSED ORDER. Document filed by Frontier Airlines, Inc.. Related Document
                                Number: 17 ..(Hosenpud, David) Proposed Order to be reviewed by Clerk's Office
                                staff. (Entered: 12/09/2020)
       12/09/2020            20 NOTICE OF APPEARANCE by Jeff Edward Butler on behalf of AMCK Aviation
                                Holdings Ireland Limited, Accipiter Investment 4 Limited, UMB Bank, N.A., Vermillion
                                Aviation (Two) Limited, Wells Fargo Trust Company, N.A...(Butler, Jeff) (Entered:
                                12/09/2020)
       12/09/2020            21 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate Parent
                                Mitsubishi Corporation, Corporate Parent CK Asset Holdings Limited, Corporate Parent
                                Vermillion Aviation Finance S.a r.l., Corporate Parent Vermillion Aviation Holdings
                                Limited for AMCK Aviation Holdings Ireland Limited. Document filed by AMCK
                                Aviation Holdings Ireland Limited..(Butler, Jeff) (Entered: 12/09/2020)
       12/09/2020            22 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate Parent
                                CK Asset Holdings Limited, Corporate Parent Accipiter Holdings DAC, Corporate Parent
                                Accipiter Investments Holdings DAC, Corporate Parent Accipiter Investments Limited,
                                Corporate Parent CK Capital Limited for Accipiter Investment 4 Limited. Document filed
                                by Accipiter Investment 4 Limited..(Butler, Jeff) (Entered: 12/09/2020)
       12/09/2020            23 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate Parent
                                Mitsubishi Corporation, Corporate Parent AMCK Aviation Holdings Ireland Limited,
                                Corporate Parent CK Asset Holdings Limited, Corporate Parent Vermillion Aviation
                                Finance S.a r.l., Corporate Parent Vermillion Aviation Holdings Limited for Vermillion
                                Aviation (Two) Limited. Document filed by Vermillion Aviation (Two) Limited..(Butler,
                                Jeff) (Entered: 12/09/2020)
       12/09/2020            24 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate Parent
                                UMB Financial Corporation for UMB Bank, N.A.. Document filed by UMB Bank, N.A...
                                (Butler, Jeff) (Entered: 12/09/2020)
       12/09/2020            25 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate Parent
                                Wells Fargo & Company, Corporate Parent WFC Holdings, LLC for Wells Fargo Trust
                                Company, N.A.. Document filed by Wells Fargo Trust Company, N.A...(Butler, Jeff)
                                (Entered: 12/09/2020)
       12/09/2020            26 NOTICE OF APPEARANCE by Minji Reem on behalf of AMCK Aviation Holdings
                                Ireland Limited, Accipiter Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation
                                (Two) Limited, Wells Fargo Trust Company, N.A...(Reem, Minji) (Entered: 12/09/2020)
       12/10/2020            27 LETTER MOTION for Extension of Time of the initial pretrial conference and for an
                                extension of the deadline to submit a joint letter addressed to Judge Analisa Torres from
                                Jeff E. Butler dated 12/10/2020. Document filed by AMCK Aviation Holdings Ireland
                                Limited, Accipiter Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation (Two)
                                Limited, Wells Fargo Trust Company, N.A...(Butler, Jeff) (Entered: 12/10/2020)
       12/11/2020                   NOTICE OF CASE REASSIGNMENT to Judge Louis L. Stanton. Judge Analisa Torres
                                    is no longer assigned to the case..(wb) (Entered: 12/11/2020)
       12/11/2020            28 LETTER MOTION for Extension of Time to File Answer addressed to Judge Louis L.
                                Stanton from Jeff E. Butler dated 12/11/2020. Document filed by AMCK Aviation
                                Holdings Ireland Limited, Accipiter Investment 4 Limited, UMB Bank, N.A., Vermillion


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                                    Aviation (Two) Limited, Wells Fargo Trust Company, N.A...(Butler, Jeff) (Entered:
                                    12/11/2020)
       12/14/2020            29 ORDER granting 27 Letter Motion for Extension of Time. So Ordered. (Signed by Judge
                                Louis L. Stanton on 12/14/2020) (rro) (Entered: 12/14/2020)
       12/14/2020            30 ORDER granting 28 Letter Motion for Extension of Time to Answer re 1 Complaint. So
                                Ordered. (AMCK Aviation Holdings Ireland Limited answer due 1/29/2021; Accipiter
                                Investment 4 Limited answer due 1/29/2021; UMB Bank, N.A. answer due 1/29/2021;
                                Vermillion Aviation (Two) Limited answer due 1/29/2021; Wells Fargo Trust Company,
                                N.A. answer due 1/29/2021) (Signed by Judge Louis L. Stanton on 12/14/2020) (rro)
                                (Entered: 12/14/2020)
       12/22/2020            31 MOTION for David G. Hosenpud to Appear Pro Hac Vice . Motion and supporting
                                papers to be reviewed by Clerk's Office staff. Document filed by Frontier Airlines,
                                Inc.. (Attachments: # 1 Affidavit, # 2 Exhibit Oregon Certificate of Good Standing, # 3
                                Exhibit California Certificate of Good Standing, # 4 Text of Proposed Order).(Hosenpud,
                                David) (Entered: 12/22/2020)
       12/22/2020                   >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No.
                                    31 MOTION for David G. Hosenpud to Appear Pro Hac Vice . Motion and
                                    supporting papers to be reviewed by Clerk's Office staff.. The document has been
                                    reviewed and there are no deficiencies. (bcu) (Entered: 12/22/2020)
       12/22/2020            32 ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE granting 31
                                Motion for David G. Hosenpud to Appear Pro Hac Vice. (Signed by Judge Louis L.
                                Stanton on 12/22/2020) (rro) (Entered: 12/22/2020)
       12/30/2020            33 AFFIDAVIT OF SERVICE of Summons and Complaint,. Accipiter Investment 4 Limited
                                served on 11/25/2020, answer due 1/29/2021; Vermillion Aviation (Two) Limited served
                                on 11/25/2020, answer due 1/29/2021. Service was made by Mail. Document filed by
                                Frontier Airlines, Inc.. (Attachments: # 1 Exhibit Ex 1 - FedEx Proof of Delivery on Def
                                Accipter, # 2 Exhibit Ex 2 - FedEx Proof of Delivery - Vermillion).(Hosenpud, David)
                                (Entered: 12/30/2020)
       12/30/2020            34 AFFIDAVIT OF SERVICE of Summons and Complaint,. AMCK Aviation Holdings
                                Ireland Limited served on 12/1/2020, answer due 1/29/2021. Service was accepted by
                                Robin Hutt, clerk on duty at office of the registered agent. Document filed by Frontier
                                Airlines, Inc...(Hosenpud, David) (Entered: 12/30/2020)
       12/30/2020            35 AFFIDAVIT OF SERVICE of Summons and Complaint,. UMB Bank, N.A. served on
                                12/2/2020, answer due 1/29/2021. Service was accepted by Kenneth Miller, Legal
                                Process Specialist and person in charge at office of Registered Agent. Document filed by
                                Frontier Airlines, Inc...(Hosenpud, David) (Entered: 12/30/2020)
       12/30/2020            36 AFFIDAVIT OF SERVICE of Summons and Complaint,. Wells Fargo Trust Company,
                                N.A. served on 12/3/2020, answer due 1/29/2021. Service was accepted by Wendy
                                Phippen, Clerk at Office of Registered Agent. Document filed by Frontier Airlines, Inc...
                                (Hosenpud, David) (Entered: 12/30/2020)
       01/29/2021            37 MOTION to Dismiss - Partial Motion for Dismissal. Document filed by AMCK Aviation
                                Holdings Ireland Limited, Accipiter Investment 4 Limited, UMB Bank, N.A., Vermillion
                                Aviation (Two) Limited, Wells Fargo Trust Company, N.A...(Butler, Jeff) (Entered:
                                01/29/2021)
       01/29/2021            38 MEMORANDUM OF LAW in Support re: 37 MOTION to Dismiss - Partial Motion for
                                Dismissal. . Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter


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                                    Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited, Wells Fargo
                                    Trust Company, N.A...(Butler, Jeff) (Entered: 01/29/2021)
       01/29/2021            39 DECLARATION of Jeff E. Butler in Support re: 37 MOTION to Dismiss - Partial
                                Motion for Dismissal.. Document filed by AMCK Aviation Holdings Ireland Limited,
                                Accipiter Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited,
                                Wells Fargo Trust Company, N.A.. (Attachments: # 1 Exhibit 1 Aircraft Operating Lease
                                Agreement dated 6/9/2014, # 2 Exhibit 2 Aircraft Operating Lease Agreement dated
                                9/30/2019, # 3 Exhibit 3 Excerpts of a Guaranty dated 9/30/2019, # 4 Exhibit 4
                                Framework Agreement dated 3/16/2020, # 5 Exhibit 5 Aircraft Lease Agreement dated
                                3/16/2020, # 6 Exhibit 6 Excerpts of a Guaranty dated 3/16/2020, # 7 Exhibit 7 Email
                                dated 4/30/2020, # 8 Exhibit 8 Email dated 4/9/2020, # 9 Exhibit 9 Notice of Termination
                                dated 5/8/2020).(Butler, Jeff) (Entered: 01/29/2021)
       02/10/2021            40 LETTER MOTION for Extension of Time addressed to Judge Louis L. Stanton from
                                David G. Hosenpud dated February 10, 2021. Document filed by Frontier Airlines, Inc...
                                (Hosenpud, David) (Entered: 02/10/2021)
       02/10/2021            41 ORDER granting 40 Letter Motion for Extension of Time. SO ORDERED. (Signed by
                                Judge Louis L. Stanton on 2/10/2021) (nb) (Entered: 02/10/2021)
       02/10/2021                   Set/Reset Deadlines: AMCK Aviation Holdings Ireland Limited answer due 4/9/2021;
                                    Accipiter Investment 4 Limited answer due 4/9/2021; UMB Bank, N.A. answer due
                                    4/9/2021; Vermillion Aviation (Two) Limited answer due 4/9/2021; Wells Fargo Trust
                                    Company, N.A. answer due 4/9/2021. Responses due by 2/26/2021 Replies due by
                                    3/12/2021. (nb) (Entered: 02/10/2021)
       02/26/2021            42 RESPONSE in Opposition to Motion re: 37 MOTION to Dismiss - Partial Motion for
                                Dismissal. . Document filed by Frontier Airlines, Inc...(Hosenpud, David) (Entered:
                                02/26/2021)
       03/12/2021            43 REPLY MEMORANDUM OF LAW in Support re: 37 MOTION to Dismiss - Partial
                                Motion for Dismissal. . Document filed by AMCK Aviation Holdings Ireland Limited,
                                Accipiter Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited,
                                Wells Fargo Trust Company, N.A...(Butler, Jeff) (Entered: 03/12/2021)
       03/12/2021            44 LETTER addressed to Judge Louis L. Stanton from Jeff E. Butler dated 3/12/2021 re:
                                Request for oral argument in connection with Defendants' Partial Motion to Dismiss
                                (Doc. 37). Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter
                                Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited, Wells Fargo
                                Trust Company, N.A...(Butler, Jeff) (Entered: 03/12/2021)
       05/05/2021            45 MEMORANDUM & ORDER denying as moot 37 Motion to Dismiss. Accordingly, the
                                motions for dismissal of the claims against Accipiter, Vermillion, UMB and Wells Fargo
                                are denied as moot. (Signed by Judge Louis L. Stanton on 5/5/2021) (rro) (Entered:
                                05/05/2021)
       05/10/2021            46 NOTICE OF APPEARANCE by Sarah Esther Molinoff on behalf of Frontier Airlines,
                                Inc...(Molinoff, Sarah) (Entered: 05/10/2021)
       05/19/2021            47 ANSWER to 1 Complaint,., COUNTERCLAIM against Frontier Airlines, Inc.. Document
                                filed by AMCK Aviation Holdings Ireland Limited..(Butler, Jeff) (Entered: 05/19/2021)
       05/19/2021            48 ANSWER to 1 Complaint,. Document filed by Accipiter Investment 4 Limited..(Butler,
                                Jeff) (Entered: 05/19/2021)
       05/19/2021            49 ANSWER to 1 Complaint,. Document filed by Vermillion Aviation (Two) Limited..
                                (Butler, Jeff) (Entered: 05/19/2021)

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       05/19/2021            50 ANSWER to 1 Complaint,. Document filed by UMB Bank, N.A...(Butler, Jeff) (Entered:
                                05/19/2021)
       05/19/2021            51 ANSWER to 1 Complaint,. Document filed by Wells Fargo Trust Company, N.A...
                                (Butler, Jeff) (Entered: 05/19/2021)
       06/03/2021            52 MOTION for Peter D. Hawkes to Withdraw as Attorney . Document filed by Frontier
                                Airlines, Inc...(Molinoff, Sarah) (Entered: 06/03/2021)
       06/03/2021            53 DECLARATION of Peter D. Hawkes in Support re: 52 MOTION for Peter D. Hawkes to
                                Withdraw as Attorney .. Document filed by Frontier Airlines, Inc...(Molinoff, Sarah)
                                (Entered: 06/03/2021)
       06/03/2021            54 PROPOSED ORDER FOR WITHDRAWAL OF ATTORNEY. Document filed by
                                Frontier Airlines, Inc.. Related Document Number: 52 ..(Molinoff, Sarah) (Entered:
                                06/03/2021)
       06/04/2021            55 ORDER FOR CONFERENCE PURSUNT TO RULE 16(b): This action is scheduled for
                                a conference in accordance with Fed. R. Civ. P. 16(b) on Friday, July 9, 2021 at 3:00 P.M.
                                The parties must be prepared to discuss, at the conference, the subjects set forth in
                                subdivisions (b) and (c) of Rule 16. At least one week before the time of the conference,
                                the parties are jointly to prepare, sign and submit to me a proposed Scheduling Order,
                                containing the following: as set forth herein. Initial Conference set for 7/9/2021 at 03:00
                                PM before Judge Louis L. Stanton. (Signed by Judge Louis L. Stanton on 6/04/2021)
                                (ama) (Entered: 06/04/2021)
       06/04/2021            56 ORDER: granting 52 Motion to Withdraw as Attorney. Upon the motion for Peter D.
                                Hawkes for leave to withdraw from this action as counsel for Plaintiff, IT IS HEREBY
                                ORDERED: The motion is granted. SO ORDERED. Attorney Peter Douglas Hawkes
                                terminated. (Signed by Judge Louis L. Stanton on 6/04/2021) (ama) (Entered:
                                06/04/2021)
       06/09/2021            57 ANSWER to 47 Counterclaim. Document filed by Frontier Airlines, Inc...(Hosenpud,
                                David) (Entered: 06/09/2021)
       07/01/2021            58 PROPOSED SCHEDULING ORDER. Document filed by Frontier Airlines, Inc...
                                (Hosenpud, David) (Entered: 07/01/2021)
       07/07/2021                   Set/Reset Hearings: Initial Conference set for 7/9/2021 at 03:00 PM in Courtroom 21C,
                                    500 Pearl Street, New York, NY 10007 before Judge Louis L. Stanton. (ml) (Entered:
                                    07/07/2021)
       07/09/2021                   Minute Entry for proceedings held before Judge Louis L. Stanton: Initial Pretrial
                                    Conference held on 7/9/2021. (ml) (Entered: 07/09/2021)
       07/09/2021            59 SCHEDULING ORDER: Joinder of Parties due by 7/30/2021. Fact Discovery due by
                                3/25/2022. The parties will complete depositions by March 25, 2022, with particular
                                deposition datesto be agreed upon by the parties. Each side reserves its rights to challenge
                                any of the followingproposed depositions. The parties estimate the trial will last 5-6 days.
                                The parties request a bench trial. This Scheduling Order may be altered or amended only
                                on a showing of good cause not foreseeable at the time of the conference or when justice
                                so requires. SO ORDERED. (Signed by Judge Louis L. Stanton on 7/9/2021) (rro)
                                (Entered: 07/09/2021)
       10/26/2021            60 MOTION for Sarah E. Molinoff to Withdraw as Attorney . Document filed by Frontier
                                Airlines, Inc...(Molinoff, Sarah) (Entered: 10/26/2021)
       10/26/2021            61 DECLARATION of Sarah E. Molinoff in Support re: 60 MOTION for Sarah E. Molinoff
                                to Withdraw as Attorney .. Document filed by Frontier Airlines, Inc...(Molinoff, Sarah)
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                                    (Entered: 10/26/2021)
       10/26/2021            62 PROPOSED ORDER FOR WITHDRAWAL OF ATTORNEY. Document filed by
                                Frontier Airlines, Inc.. Related Document Number: 60 ..(Molinoff, Sarah) (Entered:
                                10/26/2021)
       10/28/2021            63 ORDER granting 60 Motion to Withdraw as Attorney. IT IS HEREBY ORDERED: The
                                motion is granted. Attorney Sarah Esther Molinoff terminated. (Signed by Judge Louis L.
                                Stanton on 10/28/2021) (rro) (Entered: 10/28/2021)
       11/04/2021            64 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION for Aaron Schaer to
                                Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-25292143. Motion
                                and supporting papers to be reviewed by Clerk's Office staff. Document filed by
                                Frontier Airlines, Inc.. (Attachments: # 1 Affidavit, # 2 Certificate of Good Standing, # 3
                                Certificate of Good Standing, # 4 Text of Proposed Order).(Schaer, Aaron) Modified on
                                11/5/2021 (aea). (Entered: 11/04/2021)
       11/05/2021                   >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                                    VICE. Notice to RE-FILE Document No. 64 MOTION for Aaron Schaer to Appear
                                    Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-25292143. Motion and
                                    supporting papers to be reviewed by Clerk's Office staff... The filing is deficient for
                                    the following reason(s): missing Certificate of Good Standing from SUPREME
                                    COURT OF WASHINGTON. Re-file the motion as a Motion to Appear Pro Hac
                                    Vice - attach the correct signed PDF - select the correct named filer/filers - attach
                                    valid Certificates of Good Standing issued within the past 30 days - attach Proposed
                                    Order. (aea) (Entered: 11/05/2021)
       11/09/2021            65 MOTION for Aaron Schaer to Appear Pro Hac Vice . Motion and supporting papers to
                                be reviewed by Clerk's Office staff. Document filed by Frontier Airlines, Inc..
                                (Attachments: # 1 Affidavit, # 2 Certificate of Good Standing, # 3 Certificate of Good
                                Standing, # 4 Text of Proposed Order).(Schaer, Aaron) (Entered: 11/09/2021)
       11/10/2021                   >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No.
                                    65 MOTION for Aaron Schaer to Appear Pro Hac Vice . Motion and supporting
                                    papers to be reviewed by Clerk's Office staff.. The document has been reviewed and
                                    there are no deficiencies. (bcu) (Entered: 11/10/2021)
       12/10/2021            66 ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE granting 65
                                Motion for Aaron Schaer to Appear Pro Hac Vice. IT IS HEREBY ORDERED that
                                Applicant is admitted to practice pro hac vice in the above-captioned case in the United
                                States District Court for the Southern District of New York. All attorneys appearing
                                before this Court are subject to the Local Rules of this Court, including the Rules
                                governing discipline of attorneys. (Signed by Judge Louis L. Stanton on 12/10/2021)
                                (mml) (Entered: 12/10/2021)
       12/10/2021            67 LETTER MOTION for Extension of Time addressed to Judge Louis L. Stanton from
                                David G. Hosenpud dated December 10, 2021. Document filed by Frontier Airlines, Inc...
                                (Schaer, Aaron) (Entered: 12/10/2021)
       12/13/2021            68 ORDER granting 67 Letter Motion for Extension of Time. Granted. (Signed by Judge
                                Louis L. Stanton on 12/13/2021) (rro) (Entered: 12/13/2021)
       12/30/2021            69 JOINT MOTION for Protective Order Regarding Confidential Information and
                                Documents. Document filed by Frontier Airlines, Inc...(Schaer, Aaron) (Entered:
                                12/30/2021)
       12/30/2021            70 PROPOSED ORDER. Document filed by Frontier Airlines, Inc.. Related Document
                                Number: 69 ..(Schaer, Aaron) Proposed Order to be reviewed by Clerk's Office staff.

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                                    (Entered: 12/30/2021)
       01/03/2022                   ***NOTICE TO COURT REGARDING PROPOSED ORDER. Document No. 70
                                    Proposed Order was reviewed and approved as to form. (dt) (Entered: 01/03/2022)
       01/04/2022            71 STIPULATED PROTECTIVE ORDER REGARDING CONFIDENTIAL
                                INFORMATION AND DOCUMENTS...regarding procedures to be followed that shall
                                govern the handling of confidential material... as modified by the Court in P.2, Paragraph
                                4 above. IT IS SO ORDERED. Motions terminated: 69 JOINT MOTION for Protective
                                Order Regarding Confidential Information and Documents filed by Frontier Airlines, Inc.
                                (Signed by Judge Louis L. Stanton on 1/4/2022) (vfr) (Entered: 01/04/2022)
       01/10/2022            72 LETTER MOTION for Extension of Time addressed to Judge Louis L. Stanton from
                                David G. Hosenpud dated January 10, 2022. Document filed by Frontier Airlines, Inc..
                                (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D).(Schaer, Aaron)
                                (Entered: 01/10/2022)
       01/11/2022            73 LETTER addressed to Judge Louis L. Stanton from Jeff E. Butler dated 1/11/2022 re: in
                                response to the letter from Plaintiff dated January 10, 2022. Document filed by AMCK
                                Aviation Holdings Ireland Limited, Accipiter Investment 4 Limited, UMB Bank, N.A.,
                                Vermillion Aviation (Two) Limited, Wells Fargo Trust Company, N.A.. (Attachments: # 1
                                Exhibit A - Press release).(Butler, Jeff) (Entered: 01/11/2022)
       01/14/2022            74 ORDER granting 72 Letter Motion for Extension of Time. Granted. (Signed by Judge
                                Louis L. Stanton on 1/14/2022) (rro) (Entered: 01/14/2022)
       02/16/2022            75 LETTER MOTION for Conference addressed to Judge Louis L. Stanton from David G.
                                Hosenpud dated February 16, 2022. Document filed by Frontier Airlines, Inc...
                                (Hosenpud, David) (Entered: 02/16/2022)
       02/23/2022                   Set/Reset Hearings: Status Conference set for 5/27/2022 at 12:00 PM in Courtroom 21C,
                                    500 Pearl Street, New York, NY 10007 before Judge Louis L. Stanton. (ml) (Entered:
                                    02/23/2022)
       03/01/2022            76 JOINT LETTER MOTION for Extension of Time to Complete Discovery addressed to
                                Judge Louis L. Stanton from David G. Hosenpud dated March 1, 2022. Document filed
                                by Frontier Airlines, Inc...(Hosenpud, David) (Entered: 03/01/2022)
       03/02/2022            77 LETTER MOTION for Conference , requesting a pre-motion conference, addressed to
                                Judge Louis L. Stanton from Jeff E. Butler dated 3/2/2022. Document filed by AMCK
                                Aviation Holdings Ireland Limited..(Butler, Jeff) (Entered: 03/02/2022)
       03/03/2022            78 ORDER granting 76 Letter Motion for Extension of Time to Complete Discovery.
                                Granted. (Signed by Judge Louis L. Stanton on 3/3/2022) (rro) (Entered: 03/03/2022)
       03/03/2022                   Set/Reset Deadlines: Deposition due by 4/15/2022. Fact Discovery due by 4/15/2022.
                                    (rro) (Entered: 03/03/2022)
       03/04/2022            79 LETTER MOTION to Seal addressed to Judge Louis L. Stanton from David G.
                                Hosenpud dated March 4, 2022. Document filed by Frontier Airlines, Inc...(Hosenpud,
                                David) (Entered: 03/04/2022)
       03/04/2022            80 ***SELECTED PARTIES***DECLARATION of David G. Hosenpud in Support re: 79
                                LETTER MOTION to Seal addressed to Judge Louis L. Stanton from David G.
                                Hosenpud dated March 4, 2022.. Document filed by All Defendants. (Attachments: # 1
                                Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)Motion or Order to File Under Seal: 79 .
                                (Hosenpud, David) (Entered: 03/04/2022)



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       03/04/2022            81 LETTER addressed to Judge Louis L. Stanton from David G. Hosenpud dated March 4,
                                2022 re: in response to the Letter Motion filed by Defendant AMCK dated March 2, 2022
                                (ECF No. 77). Document filed by Frontier Airlines, Inc...(Hosenpud, David) (Entered:
                                03/04/2022)
       03/10/2022            82 ORDER denying 79 Letter Motion to Seal. Plaintiff seeks leave to file under seal
                                documents submitted in support of its Response to Defendant's Letter Motion to request a
                                protective order precluding the depositions of Messrs. Gerald Ma and Francis Lee. In
                                support of its application, Plaintiff cites to the Stipulated Protective Order Regarding
                                Confidential Information and Documents (Dkt. No. 71). The Court has reviewed the
                                documents and none of them present a "most compelling reason" to seal them from public
                                access. Lugosch v. Pyramid Co., 435 F.3d 110, 126 (2d Cir. 2006) ("Because the First
                                Amendment presumption gives rise to a higher burden on the party seeking to prevent
                                disclosure than does the common law presumption, the presumption of access here can be
                                overcome only by specific, on-the-record findings that higher values necessitate a
                                narrowly tailored sealing."). A stipulated protective order does not consider the special
                                (and Constitutional) public interest in access to materials submitted to a court to influence
                                a judicial action. Accordingly, it does not serve as an independent basis for sealing of
                                documents submitted in court applications. Plaintiff's application is denied. (Signed by
                                Judge Louis L. Stanton on 3/10/2022) (rro) (Entered: 03/10/2022)
       03/21/2022            83 ORDER denying 77 Letter Motion for Conference addressed to Judge Louis L. Stanton
                                from Jeff E. Butler dated 3/2/2022. The application for a protective order is denied.
                                (Signed by Judge Louis L. Stanton on 3/21/2022) (vfr) (Entered: 03/21/2022)
       04/08/2022            84 LETTER MOTION for Extension of Time of fact discovery cutoff addressed to Judge
                                Louis L. Stanton from Jeff E. Butler dated April 8, 2022. Document filed by AMCK
                                Aviation Holdings Ireland Limited..(Butler, Jeff) (Entered: 04/08/2022)
       04/12/2022            85 ORDER granting 84 Letter Motion for Extension of Time. So Ordered. (Signed by Judge
                                Louis L. Stanton on 4/11/2022) (rro) (Entered: 04/12/2022)
       04/12/2022                   Set/Reset Deadlines: Fact Discovery due by 4/29/2022. (rro) (Entered: 04/12/2022)
       04/28/2022                   NOTICE OF REDESIGNATION TO ANOTHER MAGISTRATE JUDGE. The above
                                    entitled action has been redesignated to Magistrate Judge Valerie Figueredo. Please note
                                    that this is a reassignment of the designation only. (nb) (Entered: 04/28/2022)
       05/17/2022            86 LETTER MOTION to Continue Status Conference addressed to Judge Louis L. Stanton
                                from David G. Hosenpud dated May 17, 2022. Document filed by Frontier Airlines, Inc...
                                (Hosenpud, David) (Entered: 05/17/2022)
       05/23/2022                   Set/Reset Hearings: Status Conference set for 5/27/2022 is adjourned to 7/15/2022 at
                                    12:00 PM in Courtroom 21C, 500 Pearl Street, New York, NY 10007 before Judge Louis
                                    L. Stanton. (ml) (Entered: 05/23/2022)
       07/08/2022            87 LETTER addressed to Judge Louis L. Stanton from Jeff E. Butler dated 7/8/2022 re:
                                Local Civil Rule 1.6. Document filed by AMCK Aviation Holdings Ireland Limited,
                                Accipiter Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited,
                                Wells Fargo Trust Company, N.A...(Butler, Jeff) (Entered: 07/08/2022)
       07/11/2022            88 LETTER MOTION to Adjourn Conference addressed to Judge Louis L. Stanton from
                                David G. Hosenpud dated July 11, 2022. Document filed by Frontier Airlines, Inc...
                                (Hosenpud, David) (Entered: 07/11/2022)
       07/11/2022            89 PROPOSED SCHEDULING ORDER. Document filed by Frontier Airlines, Inc...
                                (Hosenpud, David) (Entered: 07/11/2022)

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       07/11/2022            90 ORDER granting 88 Letter Motion to Adjourn Conference. Granted. (Signed by Judge
                                Louis L. Stanton on 7/11/2022) (jca) (Entered: 07/11/2022)
       07/11/2022            91 JOINT AMENDED SCHEDULING ORDER:David G. Hosenpud, counsel for plaintiff,
                                and Jeff Butler, counsel for the defendants, having met and conferred, submit the
                                following proposed amended scheduling order. Depositions have been completed in this
                                matter. The schedule below sets forth the remaining discovery deadlines. Motions due by
                                11/11/2022. Responses due by 12/9/2022 Replies due by 12/30/2022. Deposition due by
                                10/28/2022. Pretrial Conference set for 1/13/2023 at 12:00 PM before Judge Louis L.
                                Stanton. Pretrial Order due by 1/10/2023. The parties estimate the trial will last 5-6 days.
                                The parties request a bench trial. This Scheduling Order may be altered or amended only
                                on a showing of good cause not foreseeable at the time of the conference or when justice
                                so requires. (And as further set forth herein.) APPROVED. (Signed by Judge Louis L.
                                Stanton on 7/11/2022) (jca) (Entered: 07/11/2022)
       07/13/2022            92 ORDER: Accordingly, plaintiff's letter motion to relate the cases (Dk. No. 87) is denied.
                                So ordered. (Signed by Judge Louis L. Stanton on 7/13/2022) (jca) (Entered: 07/13/2022)
       11/11/2022            93 MOTION for Summary Judgment . Document filed by AMCK Aviation Holdings Ireland
                                Limited, Accipiter Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation (Two)
                                Limited, Wells Fargo Trust Company, N.A...(Butler, Jeff) (Entered: 11/11/2022)
       11/11/2022            94 DECLARATION of Jane OCallaghan in Support re: 93 MOTION for Summary Judgment
                                .. Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4
                                Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited, Wells Fargo Trust
                                Company, N.A.. (Attachments: # 1 Exhibit 1- MSN 6184 Aircraft Lease Agreement, # 2
                                Exhibit 2- MSN 9177 Aircraft Lease Agreement, # 3 Exhibit 3- MSN 9177 Lessor
                                Guarantee, # 4 Exhibit 4- Framework Agreement, # 5 Exhibit 5- March 16 email, # 6
                                Exhibit 6- MSN10038 Aircraft Lease Agreement, # 7 Exhibit 7- MSN 10038 Lessor
                                Guarantee, # 8 Exhibit 8- Concession Letter, # 9 Exhibit 9- March 25 draft, # 10 Exhibit
                                10- April 1 email, # 11 Exhibit 11- March 18 email, # 12 Exhibit 12- March 23 email, #
                                13 Exhibit 13- March 26 email, # 14 Exhibit 14- March 31 email, # 15 Exhibit 15- Text
                                messages, # 16 Exhibit 16- April 9 email, # 17 Exhibit 17- Receivables Report, # 18
                                Exhibit 18- May 14 email).(Butler, Jeff) (Entered: 11/11/2022)
       11/11/2022            95 DECLARATION of Paul Sheridan in Support re: 93 MOTION for Summary Judgment ..
                                Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4
                                Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited, Wells Fargo Trust
                                Company, N.A.. (Attachments: # 1 Exhibit 1- April 3 email, # 2 Exhibit 2- April 6 email,
                                # 3 Exhibit 3- April 6 email, # 4 Exhibit 4- April 6 email confirmation, # 5 Exhibit 5-
                                April 6 email, # 6 Exhibit 6- April 8 email, # 7 Exhibit 7- Under seal, # 8 Exhibit 8- April
                                13 email, # 9 Exhibit 9- April13 email response, # 10 Exhibit 10- April 30 email, # 11
                                Exhibit 11- April 30 email, # 12 Exhibit 12- May 8 email, # 13 Exhibit 13- May 9 email).
                                (Butler, Jeff) (Entered: 11/11/2022)
       11/11/2022            96 DECLARATION of Jeff E. Butler in Support re: 93 MOTION for Summary Judgment ..
                                Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4
                                Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited, Wells Fargo Trust
                                Company, N.A.. (Attachments: # 1 Exhibit 1- Nov. 13 Email - Under Seal, # 2 Exhibit 2-
                                Nov. 26 Email - Under Seal, # 3 Exhibit 3- Atty's Eyes Only - Under Seal, # 4 Exhibit 4-
                                April 6 Texts - Under Seal, # 5 Exhibit 5- April 6 Texts - Under Seal, # 6 Exhibit 6- April
                                6 Texts - Under Seal, # 7 Exhibit 7- April 7 Texts - Under Seal, # 8 Exhibit 8- Atty's Eyes
                                Only - Under Seal, # 9 Exhibit 9- Atty's Eyes Only - Under Seal, # 10 Exhibit 10- Atty's
                                Eyes Only - Under Seal, # 11 Exhibit 11- Atty's Eyes Only - Under Seal, # 12 Exhibit 12-
                                April 23 Texts - Under Seal, # 13 Exhibit 13- April 25 Texts - Under Seal, # 14 Exhibit
                                14- April 29 Texts - Under Seal, # 15 Exhibit 15- May 1 Text - Under Seal, # 16 Exhibit
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                                    16- Atty's Eyes Only - Under Seal, # 17 Exhibit 17- May 8 Email - Under Seal, # 18
                                    Exhibit 18- May 8 Email - Under Seal, # 19 Exhibit 19- May13 Email - Under Seal, # 20
                                    Exhibit 20- Complaint, # 21 Exhibit 21- Form S-1 Excerpt, # 22 Exhibit 22- Aug. 23 RFA
                                    - Under Seal, # 23 Exhibit 23- Thwaytes Transcript - Under Seal, # 24 Exhibit 24- Bindu
                                    Transcript - Under Seal, # 25 Exhibit 25- Fanning Transcript - Under Seal, # 26 Exhibit
                                    26- Dempsey Transcript - Under Seal, # 27 Exhibit 27- Apr. 29 RFA).(Butler, Jeff)
                                    (Entered: 11/11/2022)
       11/11/2022            97 MEMORANDUM OF LAW in Support re: 93 MOTION for Summary Judgment . .
                                Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4
                                Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited, Wells Fargo Trust
                                Company, N.A...(Butler, Jeff) (Entered: 11/11/2022)
       11/11/2022            98 RULE 56.1 STATEMENT. Document filed by AMCK Aviation Holdings Ireland Limited,
                                Accipiter Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited,
                                Wells Fargo Trust Company, N.A...(Butler, Jeff) (Entered: 11/11/2022)
       11/11/2022            99 LETTER MOTION to Seal addressed to Judge Louis L. Stanton from Jeff E. Butler dated
                                11/11/2022. Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter
                                Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited, Wells Fargo
                                Trust Company, N.A...(Butler, Jeff) (Entered: 11/11/2022)
       11/11/2022           100 ***SELECTED PARTIES***DECLARATION of Paul Sheridan in Support re: 99
                                LETTER MOTION to Seal addressed to Judge Louis L. Stanton from Jeff E. Butler dated
                                11/11/2022., 93 MOTION for Summary Judgment .. Document filed by UMB Bank,
                                N.A., Vermillion Aviation (Two) Limited, Accipiter Investment 4 Limited, AMCK
                                Aviation Holdings Ireland Limited, Wells Fargo Trust Company, N.A., Frontier Airlines,
                                Inc.. (Attachments: # 1 Exhibit 1- April 3 Email, # 2 Exhibit 2- April 6 Email, # 3 Exhibit
                                3- April 6 Email, # 4 Exhibit 4- April 6 Confirmation, # 5 Exhibit 5- April 6 Email, # 6
                                Exhibit 6- April 8 Email, # 7 Exhibit 7- April 11 Text Message, # 8 Exhibit 8- April 13
                                Email, # 9 Exhibit 9- April 13 Response, # 10 Exhibit 10- April 30 Email, # 11 Exhibit
                                11- April 30 Email, # 12 Exhibit 12- May 8 Email, # 13 Exhibit 13- May 9 Email)Motion
                                or Order to File Under Seal: 99 .(Butler, Jeff) (Entered: 11/11/2022)
       11/11/2022           101 ***SELECTED PARTIES***DECLARATION of Jeff E. Butler in Support re: 99
                                LETTER MOTION to Seal addressed to Judge Louis L. Stanton from Jeff E. Butler dated
                                11/11/2022., 93 MOTION for Summary Judgment .. Document filed by UMB Bank,
                                N.A., Vermillion Aviation (Two) Limited, Accipiter Investment 4 Limited, AMCK
                                Aviation Holdings Ireland Limited, Wells Fargo Trust Company, N.A., Frontier Airlines,
                                Inc.. (Attachments: # 1 Exhibit 1- Nov. 13 Email, # 2 Exhibit 2- Nov. 26 Email, # 3
                                Exhibit 3- Atty's Eyes Only, # 4 Exhibit 4- April 6 Texts, # 5 Exhibit 5- April 6 Texts, # 6
                                Exhibit 6- April 6 Texts, # 7 Exhibit 7- April 7 Texts, # 8 Exhibit 8- Atty's Eyes Only, # 9
                                Exhibit 9- Atty's Eyes Only, # 10 Exhibit 10- Atty's Eyes Only, # 11 Exhibit 11- Atty's
                                Eyes Only, # 12 Exhibit 12- April 23 Texts, # 13 Exhibit 13- April 25 Texts, # 14 Exhibit
                                14- April 29 Texts, # 15 Exhibit 15- May 1 Text, # 16 Exhibit 16- Atty's Eyes Only, # 17
                                Exhibit 17- May 8 Email, # 18 Exhibit 18- May 8 Email, # 19 Exhibit 19- May13 Email,
                                # 20 Exhibit 20- Nov. 18 Complaint, # 21 Exhibit 21- Form S-1 Excerpt, # 22 Exhibit 22-
                                Aug. 23 RFA, # 23 Exhibit 23- Thwaytes Transcript, # 24 Exhibit 24- Bindu Transcript, #
                                25 Exhibit 25- Fanning Transcript, # 26 Exhibit 26- Dempsey Transcript, # 27 Exhibit 27-
                                Apr. 29 RFA)Motion or Order to File Under Seal: 99 .(Butler, Jeff) (Entered: 11/11/2022)
       11/11/2022           102 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 99 LETTER
                                MOTION to Seal addressed to Judge Louis L. Stanton from Jeff E. Butler dated
                                11/11/2022., 93 MOTION for Summary Judgment . . Document filed by UMB Bank,
                                N.A., Vermillion Aviation (Two) Limited, Accipiter Investment 4 Limited, AMCK


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                                    Aviation Holdings Ireland Limited, Wells Fargo Trust Company, N.A., Frontier Airlines,
                                    Inc.. Motion or Order to File Under Seal: 99 .(Butler, Jeff) (Entered: 11/11/2022)
       11/11/2022           103 ***SELECTED PARTIES***RULE 56.1 STATEMENT. Document filed by UMB Bank,
                                N.A., Vermillion Aviation (Two) Limited, Accipiter Investment 4 Limited, AMCK
                                Aviation Holdings Ireland Limited, Wells Fargo Trust Company, N.A., Frontier Airlines,
                                Inc.. Motion or Order to File Under Seal: 99 .(Butler, Jeff) (Entered: 11/11/2022)
       12/08/2022           104 ORDER denying 99 Letter Motion to Seal. Denied. (Signed by Judge Louis L. Stanton on
                                12/8/2022) (rro) (Entered: 12/08/2022)
       12/09/2022           105 MEMORANDUM OF LAW in Opposition re: 93 MOTION for Summary Judgment . .
                                Document filed by Frontier Airlines, Inc...(Hosenpud, David) (Entered: 12/09/2022)
       12/09/2022           106 COUNTER STATEMENT TO 98 Rule 56.1 Statement. Document filed by Frontier
                                Airlines, Inc...(Hosenpud, David) (Entered: 12/09/2022)
       12/09/2022           107 DECLARATION of Robert Fanning in Opposition re: 93 MOTION for Summary
                                Judgment .. Document filed by Frontier Airlines, Inc...(Hosenpud, David) (Entered:
                                12/09/2022)
       12/09/2022           108 DECLARATION of James Dempsey in Opposition re: 93 MOTION for Summary
                                Judgment .. Document filed by Frontier Airlines, Inc.. (Attachments: # 1 Exhibit 1 AEO,
                                Letter of Intent dated 9-10-2019 Under Seal).(Hosenpud, David) (Entered: 12/09/2022)
       12/09/2022           109 DECLARATION of Sharath Sashikumar Bindu in Opposition re: 93 MOTION for
                                Summary Judgment .. Document filed by Frontier Airlines, Inc.. (Attachments: # 1
                                Exhibit 1 AEO, Aircraft Lease Agreement Filed Under Seal, # 2 Exhibit 2 AEO, Trust
                                Agreement Under Seal, # 3 Exhibit 3 AEO, Framework Agreement Filed Under Seal, # 4
                                Exhibit 4 AEO, Lessor Guaranty Filed Under Seal, # 5 Exhibit 5 AEO, Lease Agreement
                                Filed Under Seal).(Hosenpud, David) (Entered: 12/09/2022)
       12/09/2022           110 DECLARATION of David G. Hosenpud in Opposition re: 93 MOTION for Summary
                                Judgment .. Document filed by Frontier Airlines, Inc.. (Attachments: # 1 Exhibit 1 AEO,
                                Airbus Purchase Agreement Under Seal, # 2 Exhibit 2 AEO, Aircraft Sale and Leaseback
                                Agreement Under Seal, # 3 Exhibit 3 Text messages dated 3-20-2020 Under Seal, # 4
                                Exhibit 4 AEO, Amendment No. 8 to Purchase Agreement Under Seal, # 5 Exhibit 5
                                AEO, Amendment No. 9 to Purchase Agreement Under Seal, # 6 Exhibit 6 - Chase alerts
                                AMCK sent to Frontier (Redacted) And Under Seal, # 7 Exhibit 7 AEO, Framework
                                Agreement dated 3-16-2020 - Under Sea, # 8 Exhibit 8 - Email dated 3-12-2020, # 9
                                Exhibit 9 AEO, Email dated 4-2-2020 Under Seal, # 10 Exhibit 10 AEO, Lease
                                Agreement dated 3-16-2020 Under Seal, # 11 Exhibit 11 AEO, Trust Agreement dated 3-
                                16-2020 Under Seal, # 12 Exhibit 12 AEO, Guaranty dated 3-16-2020 Under Seal, # 13
                                Exhibit 13 - Transfer Receipt dated 3-13-2020 (Redacted) And Under Seal, # 14 Exhibit
                                14 Emails between AMCK representatives dated 3-16-2020 Under Seal, # 15 Exhibit 15
                                Concessions request letter dated 3-16-2020, # 16 Exhibit 16 Emails dated 3-12-2020, # 17
                                Exhibit 17 Emails dated 3-13-2020 Under Seal, # 18 Exhibit 18 Emails dated 3-22-2020
                                (Redacted) And Under Seal, # 19 Exhibit 19 Emails dated 4-7-2020 Under Seal, # 20
                                Exhibit 20 Emails dated 3-23-2020 titled Weekly Agenda Under Seal, # 21 Exhibit 21
                                AEO, Emails dated 3-23-2020 titled Rent Deferral Update.msg, # 22 Exhibit 22 - Emails
                                dated 5-6-2020, # 23 Exhibit 23 Emails dated 3-24-2020 Under Seal, # 24 Exhibit 24 Text
                                messages dated 3-23-2020, # 25 Exhibit 25 Emails dated 3-24-2020 Under Seal, # 26
                                Exhibit 26 Emails dated 3-24-2020 Under Seal, # 27 Exhibit 27 Email between AMCK
                                representatives dated 5-8-2020, # 28 Exhibit 28 Emails dated 3-23-2020 Under Seal, # 29
                                Exhibit 29 Emails dated 4-2-2020 Under Seal, # 30 Exhibit 30 Emails dated 4-1-2020, #
                                31 Exhibit 31 Text messages dated 3-14-2020 to 4-30-2020 Under Seal, # 32 Exhibit 32
                                Emails dated 4-6-2020 Under Seal, # 33 Exhibit 33 Emails dated 4-9-2020 Under Seal, #
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                                    34 Exhibit 34 Text messages dated 4-7-2020, # 35 Exhibit 35 Emails dated 4-13-2020
                                    Under Seal, # 36 Exhibit 36 Emails dated 4-7-2020 and 4-30-2020 (Redacted) And Under
                                    Seal, # 37 Exhibit 37 Minutes of Board meeting dated 4-22-2020, # 38 Exhibit 38 -
                                    Emails dated 4-27-2020 Under Seal, # 39 Exhibit 39 Emails dated 5-1-2020 re Monthly
                                    Report Under Seal, # 40 Exhibit 40 Emails dated 5-5-2020 Re Weekly Report Under Seal,
                                    # 41 Exhibit 41 Emails between AMCK representatives dated 4-27-2020 Under Seal, # 42
                                    Exhibit 42 Emails between AMCK representatives dated 4-22-2020 Under Seal, # 43
                                    Exhibit 43 Emails dated 4-27-2020, # 44 Exhibit 44 Emails between AMCK
                                    representatives dated 4-30-2020 Under Seal, # 45 Exhibit 45 Emails between AMCK and
                                    Frontier representatives dated 4-30-2020 Under Seal, # 46 Exhibit 46 Text messages
                                    dated 3-24-2020 to 5-8-2020, # 47 Exhibit 47 Emails between AMCK representative
                                    dated 4-30-2020, # 48 Exhibit Emails dated 5-8-2020, # 49 Exhibit 49 Text messages
                                    dated 5-1-2020, # 50 Exhibit 50 Minutes of Board meeting held on 5-8-2020 Under Seal,
                                    # 51 Exhibit 51 Email dated 5-8-2020 (Redacted) And Under Seal, # 52 Exhibit 52 Letter
                                    dated 5-9-2020, # 53 Exhibit 53 Letter dated 5-12-2020 Under Seal, # 54 Exhibit 54
                                    Letter dated 5-13-2020, # 55 Exhibit 55 Emails dated 5-13-2020 (Redacted) And Under
                                    Seal, # 56 Exhibit 56 Email dated 6-29-2020 (Redacted) And Under Seal, # 57 Exhibit 57
                                    - Email dated 4-3-2020 - Under Seal, # 58 Exhibit 58 Email between Frontier and AMCK
                                    dated 6-23-2020 Under Seal, # 59 Exhibit Exhibit 59 AEO, Letter dated 6-29-2020 Under
                                    Seal, # 60 Exhibit 60 AEO, Letter dated 10-7-2020 Under Seal, # 61 Exhibit 61 AEO,
                                    AMCK Comparison Under Seal, # 62 Exhibit 62 Suppl Statement by Dr. Kevin Neels
                                    dated 10-28-2022, # 63 Exhibit 63 AEO, Emails dated 4-21-2020 Under Seal, # 64
                                    Exhibit 64 - AEO, Emails dated 4-24-2020 Under Seal, # 65 Exhibit 65 AEO, Emailed
                                    dated 4-30-2020 Under Seal, # 66 Exhibit 66 AEO, Emails dated 5-4-2020 Under Seal, #
                                    67 Exhibit 67 Emails dated 4-29-2020 Under Seal, # 68 Exhibit 68 Excerpts from Dep Tr
                                    of Fabian Bachrach, # 69 Exhibit 69 Excerpts from Dep Tr of Sharath Sashikumar Bindu,
                                    # 70 Exhibit 70 Excerpts from Dep Tr of James Dempsey, # 71 Exhibit 71 Excerpts from
                                    the Dep Tr of Robert Fanning, # 72 Exhibit 72 Excerpts from the Dep Tr of Francis Lee, #
                                    73 Exhibit 73 - Excerpts from the Dep Tr of Gerald Ma, # 74 Exhibit 74 -Excerpts from
                                    the Dep Tr of Michael McInerney, # 75 Exhibit 75 - Excerpts from the Dep Tr of Ronan
                                    Murphy, # 76 Exhibit 76 - Excerpts from Dep Tr of Kevin Neels, # 77 Exhibit 77 -
                                    Excerpts from the Dep Tr of Jane OCallahan, # 78 Exhibit 78 - Excerpts from the Dep Tr
                                    of Paul Sheridan, # 79 Exhibit 79 -Excerpts from the Dep Tr of Spencer Thwaytes, # 80
                                    Exhibit 80 - Frontier Resp to RFAs, # 81 Exhibit 81 - Neels Expert Report (Redacted)
                                    And Under Seal, # 82 Exhibit 82 -AMCK Org Chart).(Hosenpud, David) (Entered:
                                    12/09/2022)
       12/09/2022           111 LETTER MOTION to Seal addressed to Judge Louis L. Stanton from David G.
                                Hosenpud dated December 9, 2022. Document filed by Frontier Airlines, Inc...
                                (Hosenpud, David) (Entered: 12/09/2022)
       12/09/2022           112 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 93
                                MOTION for Summary Judgment . . Document filed by Frontier Airlines, Inc., AMCK
                                Aviation Holdings Ireland Limited, Accipiter Investment 4 Limited, UMB Bank, N.A.,
                                Vermillion Aviation (Two) Limited, Wells Fargo Trust Company, N.A.. Motion or Order
                                to File Under Seal: 111 .(Hosenpud, David) (Entered: 12/09/2022)
       12/09/2022           113 ***SELECTED PARTIES*** RESPONSE re: 103 Rule 56.1 Statement, 98 Rule 56.1
                                Statement . Document filed by Frontier Airlines, Inc., AMCK Aviation Holdings Ireland
                                Limited, Accipiter Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation (Two)
                                Limited, Wells Fargo Trust Company, N.A.. Motion or Order to File Under Seal: 111 .
                                (Hosenpud, David) (Entered: 12/09/2022)
       12/09/2022           114 ***SELECTED PARTIES***DECLARATION of James Dempsey in Opposition re: 93
                                MOTION for Summary Judgment .. Document filed by Frontier Airlines, Inc., AMCK
                                Aviation Holdings Ireland Limited, Accipiter Investment 4 Limited, UMB Bank, N.A.,
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                                    Vermillion Aviation (Two) Limited, Wells Fargo Trust Company, N.A.. (Attachments: # 1
                                    Exhibit 1 AEO, Letter of Intent dated 9-10-2019 Under Seal)Motion or Order to File
                                    Under Seal: 111 .(Hosenpud, David) (Entered: 12/09/2022)
       12/09/2022           115 ***SELECTED PARTIES***DECLARATION of Sharath Sashikumar Bindu in
                                Opposition re: 93 MOTION for Summary Judgment .. Document filed by Frontier
                                Airlines, Inc., AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4 Limited,
                                UMB Bank, N.A., Vermillion Aviation (Two) Limited, Wells Fargo Trust Company, N.A..
                                (Attachments: # 1 Exhibit 1 AEO, Aircraft Lease Agreement Under Seal, # 2 Exhibit 2
                                AEO, Trust Agreement Under Seal, # 3 Exhibit 3 AEO, Framework Agreement Under
                                Seal, # 4 Exhibit 4 AEO, Lessor Guaranty Under Seal, # 5 Exhibit 5 AEO, Lease
                                Agreement Under Seal)Motion or Order to File Under Seal: 111 .(Hosenpud, David)
                                (Entered: 12/09/2022)
       12/09/2022           116 ***SELECTED PARTIES***DECLARATION of David G. Hosenpud in Opposition re:
                                93 MOTION for Summary Judgment .. Document filed by Frontier Airlines, Inc., AMCK
                                Aviation Holdings Ireland Limited, Accipiter Investment 4 Limited, UMB Bank, N.A.,
                                Vermillion Aviation (Two) Limited, Wells Fargo Trust Company, N.A.. (Attachments: # 1
                                Exhibit 1 - AEO, Airbus Purchase Agreement, # 2 Exhibit 2 AEO, Aircraft Sale and
                                Leaseback Agreement, # 3 Exhibit 3 Text messages dated 3-20-2020, # 4 Exhibit 4 AEO,
                                Amendment No. 8 to Purchase Agreement, # 5 Exhibit 5 AEO, Amendment No. 9 to
                                Purchase Agreement, # 6 Exhibit 6 - Chase alerts AMCK sent to Frontier, # 7 Exhibit 7 -
                                AEO, Framework Agreement dated 3-16-2020, # 8 Exhibit 8 - Email dated 3-12-2020, #
                                9 Exhibit 9 AEO, Email dated 4-2-2020, # 10 Exhibit 10 AEO, Lease Agreement dated 3-
                                16-2020, # 11 Exhibit 11 - AEO, Trust Agreement dated 3-16-2020, # 12 Exhibit 12 AEO,
                                Guaranty dated 3-16-2020, # 13 Exhibit 13 - Wire Transfer Receipt dated 3-13-2020, # 14
                                Exhibit 14 Emails between AMCK representatives dated 3-16-2020, # 15 Exhibit 15
                                Concessions request letter dated 3-16-2020, # 16 Exhibit 16 - Emails dated 3-12-2020, #
                                17 Exhibit 17 - Emails dated 3-13-2020, # 18 Exhibit 18 - Emails dated 3-22-2020, # 19
                                Exhibit 19 Emails dated 4-7-2020, # 20 Exhibit 20 Emails dated 3-23-2020 titled Weekly
                                Agenda, # 21 Exhibit 21 AEO, Emails dated 3-23-2020 titled Rent Deferral Update.msg,
                                # 22 Exhibit 22 - Emails dated 5-6-2020, # 23 Exhibit 23 Emails dated 3-24-2020, # 24
                                Exhibit 24 Text messages dated 3-23-2020, # 25 Exhibit 25 Emails dated 3-24-2020
                                Under Seal, # 26 Exhibit 26 Emails dated 3-24-2020, # 27 Exhibit 27 Email between
                                AMCK representatives dated 5-8-2020, # 28 Exhibit 28 Emails dated 3-23-2020, # 29
                                Exhibit 29 Emails dated 4-2-2020 Under Seal, # 30 Exhibit 30 - Emails dated 4-1-2020, #
                                31 Exhibit 31 Text messages dated 3-14-2020 to 4-30-202, # 32 Exhibit 32 Emails dated
                                4-6-2020, # 33 Exhibit 33 - Emails dated 4-9-2020, # 34 Exhibit 34 Text messages dated
                                4-7-2020, # 35 Exhibit 35 Emails dated 4-13-2020, # 36 Exhibit 36 Emails dated 4-7-
                                2020 and 4-30-2020, # 37 Exhibit 37 Minutes of Board meeting dated 4-22-2020, # 38
                                Exhibit 38 Emails dated 4-27-2020, # 39 Exhibit 39 Emails dated 5-1-2020 re Monthly
                                Report, # 40 Exhibit 40 Emails dated 5-5-2020 Re Weekly Report, # 41 Exhibit 41 Emails
                                between AMCK representatives dated 4-27-2020, # 42 Exhibit 42 - Emails between
                                AMCK representatives dated 4-22-2020, # 43 Exhibit 43 - Emails dated 4-27-2020, # 44
                                Exhibit 44 Emails between AMCK representatives dated 4-30-2020, # 45 Exhibit 45
                                Emails between AMCK and Frontier representatives dated 4-30-2020, # 46 Exhibit 46
                                Text messages dated 3-24-2020 to 5-8-2020, # 47 Exhibit 47 Emails between AMCK
                                representative dated 4-30-2020, # 48 Exhibit 48 Emails dated 5-8-2020, # 49 Exhibit 49
                                Text messages dated 5-1-2020, # 50 Exhibit 50 Minutes of Board meeting held on 5-8-
                                2020, # 51 Exhibit 51 Email dated 5-8-2020, # 52 Exhibit 52 Letter dated 5-9-2020, # 53
                                Exhibit 53 Letter dated 5-12-2020, # 54 Exhibit 54 Letter dated 5-13-2020, # 55 Exhibit
                                55 - Emails dated 5-13-2020, # 56 Exhibit 56 - Email dated 6-29-20, # 57 Exhibit 57 -
                                Email dated 4-3-2020, # 58 Exhibit 58 - Email between Frontier and AMCK dated 6-23-
                                2020, # 59 Exhibit 59 AEO, Letter dated 6-29-2020, # 60 Exhibit 60 AEO, Letter dated
                                10-7-2020, # 61 Exhibit 61 AEO, AMCK Comparison, # 62 Exhibit 62 Suppl Statement
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                                    by Dr. Kevin Neels dated 10-28-2022, # 63 Exhibit 63 AEO, Emails dated 4-21-2020, #
                                    64 Exhibit 64 - AEO, Emails dated 4-24-2020, # 65 Exhibit 65 AEO, Emailed dated 4-30-
                                    2020, # 66 Exhibit 66 AEO, Emails dated 5-4-2020, # 67 Exhibit 67 - Emails dated 4-29-
                                    2020, # 68 Exhibit 68 Excerpts from Dep Tr of Fabian Bachrach, # 69 Exhibit 69
                                    Excerpts from Dep Tr of Sharath Sashikumar Bindu, # 70 Exhibit 70 Excerpts from Dep
                                    Tr of James Dempsey, # 71 Exhibit 71 Excerpts from the Dep Tr of Robert Fanning, # 72
                                    Exhibit 72 Excerpts from the Dep Tr of Francis Lee, # 73 Exhibit 73 Excerpts from the
                                    Dep Tr of Gerald Ma, # 74 Exhibit 74 Excerpts from the Dep Tr of Michael McInerney, #
                                    75 Exhibit 75 Excerpts from the Dep Tr of Ronan Murphy, # 76 Exhibit Excerpts from
                                    Dep Tr of Kevin Neels, # 77 Exhibit 77 Excerpts from the Dep Tr of Jane OCallahan, #
                                    78 Exhibit 79 - Excerpts from the Dep Tr of Spencer Thwaytes, # 79 Exhibit 80 - Frontier
                                    Resp to RFAs, # 80 Exhibit 81 -Neels Expert Report, # 81 Exhibit 82 - AMCK Org
                                    Chart)Motion or Order to File Under Seal: 111 .(Hosenpud, David) (Entered: 12/09/2022)
       12/13/2022           118 MEMORANDUM & ORDER granting in part and denying in part 111 Letter Motion to
                                Seal.For the reasons set forth above, the Court grants Frontier's motion to seal in part and
                                denies in part. The Court grant's Frontier's sealing request of Exhibits 6, 13, 18, 20, 21,
                                23, 29, 31, 33, 36, 38, 39, 40, 41, 42, 50 55, 56 58, 61 63, 64, 65, 66, 67 of the Hosenpud
                                Declaration. Exhibits 1, 2, 4, 5, 7, 9, 10, 11, 12, 53, 59, and 60 of the Hosenpud
                                Declaration, Exhibit 1 of the Dempsey Declaration, and Exhibits 1-5 of the Bindu
                                Declaration will be unsealed by January 13, 2023, unless Frontier has submitted updated
                                proposed redactions. (Signed by Judge Louis L. Stanton on 12/13/2022) (rro) (Entered:
                                12/15/2022)
       12/14/2022           117 SECOND AMENDED SCHEDULING ORDER:David G. Hosenpud, counsel for
                                plaintiff, and Jeff Butler, counsel for the defendants, having met and conferred, submit the
                                following proposed amended scheduling order. Depositions have been completed in this
                                matter. The schedule below sets forth the remaining discovery deadlines. Replies due by
                                12/30/2022. Deposition due by 10/28/2022. Pretrial Conference: TBD. Pretrial Order due
                                by 1/10/2023. The parties estimate the trial will last 5-6 days. The parties request a bench
                                trial. This Scheduling Order may be altered or amended only on a showing of good cause
                                not foreseeable at the time of the conference or when justice so requires. (And as further
                                set forth herein.) APPROVED. (Signed by Judge Louis L. Stanton on 12/14/2022) (rro)
                                (Entered: 12/14/2022)
       12/30/2022           119 REPLY MEMORANDUM OF LAW in Support re: 93 MOTION for Summary Judgment
                                . . Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4
                                Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited, Wells Fargo Trust
                                Company, N.A...(Butler, Jeff) (Entered: 12/30/2022)
       12/30/2022           120 LETTER MOTION for Oral Argument on Motion for Summary Judgment addressed to
                                Judge Louis L. Stanton from Jeff E. Butler dated 12/30/22. Document filed by AMCK
                                Aviation Holdings Ireland Limited, Accipiter Investment 4 Limited, UMB Bank, N.A.,
                                Vermillion Aviation (Two) Limited, Wells Fargo Trust Company, N.A...(Butler, Jeff)
                                (Entered: 12/30/2022)
       01/06/2023           121 LETTER RESPONSE to Motion addressed to Judge Louis L. Stanton from David G.
                                Hosenpud dated January 6, 2023 re: 111 LETTER MOTION to Seal addressed to Judge
                                Louis L. Stanton from David G. Hosenpud dated December 9, 2022. . Document filed by
                                Frontier Airlines, Inc.. (Attachments: # 1 Exhibit 1 (to Hosenpud Decl) 2011-09-30
                                Airbus Purchase Agreement, # 2 Exhibit 2 (to Hosenpud Decl) 2020-07-24 SLB for MSN
                                9549, # 3 Exhibit 4 (to Hosenpud Decl) 2020-03-16 Amendment No. 8, # 4 Exhibit 5 (to
                                Hosenpud Decl) 2020-05-04 Amendment No. 9, # 5 Exhibit 7 (to Hosenpud Decl) 2020-
                                03-16 Framework Agreement, # 6 Exhibit 9 (to Hosenpud Decl) 2020-04-02 Email re
                                Delivery, # 7 Exhibit 10 (to Hosenpud Decl) 2020-03-16 Lease Agreement, # 8 Exhibit 11
                                (to Hosenpud Decl) 2020-03-16 Trust Agreement, # 9 Exhibit 12 (to Hosenpud Decl)
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                                    2020-03-16 Guaranty, # 10 Exhibit 53 (to Hosenpud Decl) 2020-05-12 AMCK Response
                                    Letter, # 11 Exhibit 59 (to Hosenpud Decl) 2020-06-29 CDB LOI, # 12 Exhibit 60 (to
                                    Hosenpud Decl) 2020-10-07 JSA LOI, # 13 Exhibit 1 (to Dempsey Decl) 2019-09-10
                                    LOI for Six Aircraft, # 14 Exhibit 1 (to Bindu Decl) MSN 8402 Aircraft Lease
                                    Agreement, # 15 Exhibit 2 (to Bindu Decl) MSN 8402 Trust, # 16 Exhibit 3 (to Bindu
                                    Decl) 2018 Framework Agreement (excerpts), # 17 Exhibit 4 (to Bindu Decl) MSN 8402
                                    Lessor Guaranty, # 18 Exhibit 5 (to Bindu Decl) MSN 9177 Lease Agreement).
                                    (Hosenpud, David) (Entered: 01/06/2023)
       01/06/2023           122 ***SELECTED PARTIES***LETTER RESPONSE to Motion addressed to Judge Louis
                                L. Stanton from David G. Hosenpud dated January 6, 2023 re: 111 LETTER MOTION to
                                Seal addressed to Judge Louis L. Stanton from David G. Hosenpud dated December 9,
                                2022. . Document filed by Frontier Airlines, Inc., AMCK Aviation Holdings Ireland
                                Limited, Accipiter Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation (Two)
                                Limited, Wells Fargo Trust Company, N.A.. (Attachments: # 1 Exhibit 1 (to Hosenpud
                                Decl) 2011-09-30 Airbus Purchase Agreement, # 2 Exhibit 2 (to Hosenpud Decl) 2020-
                                07-24 SLB for MSN 9549, # 3 Exhibit 4 (to Hosenpud Decl) 2020-03-16 Amendment
                                No. 8, # 4 Exhibit 5 (to Hosenpud Decl) 2020-05-04 Amendment No. 9, # 5 Exhibit 7 (to
                                Hosenpud Decl) 2020-03-16 Framework Agreement, # 6 Exhibit 9 (to Hosenpud Decl)
                                2020-04-02 Email re Delivery, # 7 Exhibit 10 (to Hosenpud Decl) 2020-03-16 Lease
                                Agreement, # 8 Exhibit 11 (to Hosenpud Decl) 2020-03-16 Trust Agreement, # 9 Exhibit
                                12 (to Hosenpud Decl) 2020-03-16 Guaranty, # 10 Exhibit 53 (to Hosenpud Decl) 2020-
                                05-12 AMCK Response Letter, # 11 Exhibit 59 (to Hosenpud Decl) 2020-06-29 CDB
                                LOI, # 12 Exhibit 60 (to Hosenpud Decl) 2020-10-07 JSA LOI, # 13 Exhibit 1 (to
                                Dempsey Decl) 2019-09-10 LOI for Six Aircraft, # 14 Exhibit 1 (to Bindu Decl) MSN
                                8402 Aircraft Lease Agreement, # 15 Exhibit 2 (to Bindu Decl) MSN 8402 Trust, # 16
                                Exhibit 3 (to Bindu Decl) 2018 Framework Agreement (excerpts), # 17 Exhibit 4 (to
                                Bindu Decl) MSN 8402 Lessor Guaranty, # 18 Exhibit 5 (to Bindu Decl) MSN 9177
                                Lease Agreement)Motion or Order to File Under Seal: 118 .(Hosenpud, David) (Entered:
                                01/06/2023)
       07/06/2023           123 OPINION & ORDER granting in part and denying in part 93 Motion for Summary
                                Judgment: Defendants' motion for summary judgment is denied as to the second claim for
                                breach of the Framework Agreement against AMCK, Accipiter, and Vermillion, but is
                                granted as to all other claims. (Signed by Judge Louis L. Stanton on 7/6/2023) (ml)
                                (Entered: 07/06/2023)
       07/07/2023           124 MEMORANDUM & ORDER: The exception to that being Section 3.3.1 of Exhibit 7 to
                                the Hosenpud declaration, which the Court relied upon and thus which no countervailing
                                factors justify sealing. Frontier is directed to unseal Section 3.3.1 of Exhibit 7 to the
                                Hosenpud declaration. (Signed by Judge Louis L. Stanton on 7/7/2023) (rro) Modified on
                                7/18/2023 (rro). (Entered: 07/07/2023)
       07/11/2023           125 RESPONSE re: 124 Order, . Document filed by Frontier Airlines, Inc.. (Attachments: # 1
                                Exhibit 7 (to Hosenpud Decl) Framework Agmt).(Hosenpud, David) (Entered:
                                07/11/2023)
       07/11/2023           126 ***SELECTED PARTIES*** RESPONSE re: 124 Order, . Document filed by All
                                Defendants. (Attachments: # 1 Exhibit 7 (to Hosenpud Decl) Framework Agmt)Motion or
                                Order to File Under Seal: 124 .(Hosenpud, David) (Entered: 07/11/2023)
       07/11/2023           127 MEMO ENDORSEMENT on re: 126 Response filed by Frontier Airlines, Inc.
                                ENDORSEMENT: As Plaintiff's requests, the updated version of Exhibit 7 to the
                                Hosenpud Declaration (i.e. the Framework Agreement) is to remain under seal, consistent
                                with the Court's July 7, 2023 order. So Ordered. (Signed by Judge Louis L. Stanton on
                                7/11/23) (yv) (Entered: 07/12/2023)

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       07/20/2023           128 NOTICE OF CHANGE OF ADDRESS by Neil Stephen Binder on behalf of Frontier
                                Airlines, Inc.. New Address: Binder & Schwartz LLP, 675 Third Avenue, 26th Floor, New
                                York, NY, USA 10017, (212) 510-7008..(Binder, Neil) (Entered: 07/20/2023)
       09/01/2023                   Set/Reset Hearings: Scheduling Conference set for 10/6/2023 at 03:00 PM in Courtroom
                                    21C, 500 Pearl Street, New York, NY 10007 before Judge Louis L. Stanton. (ml)
                                    (Entered: 09/01/2023)
       09/21/2023           129 LETTER MOTION to Seal addressed to Judge Louis L. Stanton from David G.
                                Hosenpud dated September 21, 2023. Document filed by Frontier Airlines, Inc...
                                (Hosenpud, David) (Entered: 09/21/2023)
       09/21/2023           130 LETTER MOTION to Seal addressed to Judge Louis L. Stanton from Jeff E. Butler dated
                                9/21/23. Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter
                                Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited, Wells Fargo
                                Trust Company, N.A...(Butler, Jeff) (Entered: 09/21/2023)
       09/21/2023           131 ***SELECTED PARTIES***DECLARATION of Dr. Kevin Neels re: 129 LETTER
                                MOTION to Seal addressed to Judge Louis L. Stanton from David G. Hosenpud dated
                                September 21, 2023. . Document filed by All Defendants. (Attachments: # 1 Appendix
                                Expert Report dated Sept. 9, 2022 and Appendix 1-3, # 2 Appendix Appendix 4 - Exhibits
                                D-1 to D-16, # 3 Appendix Suppl Expert Report dated Oct. 28, 2022)Motion or Order to
                                File Under Seal: 129 .(Hosenpud, David) (Entered: 09/21/2023)
       09/21/2023           132 DECLARATION of Dr. Kevin Neels . Document filed by Frontier Airlines, Inc..
                                (Attachments: # 1 Appendix Expert Report dated Sept. 9, 2022 and Appendix 1-3, # 2
                                Appendix 4 - Exhibits D-1 to D-16, # 3 Appendix Expert Report dated Oct. 28, 2022).
                                (Hosenpud, David) (Entered: 09/21/2023)
       09/21/2023           133 ***SELECTED PARTIES***DECLARATION of Rikard de Jounge . Document filed by
                                UMB Bank, N.A., Accipiter Investment 4 Limited, AMCK Aviation Holdings Ireland
                                Limited, Vermillion Aviation (Two) Limited, Wells Fargo Trust Company, N.A., Frontier
                                Airlines, Inc.. (Attachments: # 1 Exhibit 1 - Biography, # 2 Exhibit 2 - Curriculum Vitae,
                                # 3 Exhibit 3 - Documents, # 4 Exhibit 4 - Cash Flow Calculation, # 5 Exhibit 5 - Cash
                                Flow Calculation, # 6 Exhibit 6 - Cash Flow Calculation, # 7 Exhibit 7 - Cash Flow
                                Calculation, # 8 Exhibit 8 - Cash Flow Calculation)Motion or Order to File Under Seal:
                                130 .(Butler, Jeff) (Entered: 09/21/2023)
       09/21/2023           134 TRIAL BRIEF . Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter
                                Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited, Wells Fargo
                                Trust Company, N.A...(Butler, Jeff) (Entered: 09/21/2023)
       09/21/2023           135 JOINT FINAL TRIAL REPORT. Document filed by Frontier Airlines, Inc.. (Attachments:
                                # 1 Exhibit Joint, Plaintiff's, and Defendant's List of Trial Exhibits).(Hosenpud, David)
                                (Entered: 09/21/2023)
       09/21/2023           136 TRIAL BRIEF . Document filed by Frontier Airlines, Inc...(Hosenpud, David) (Entered:
                                09/21/2023)
       09/28/2023           137 ORDER granting 130 Letter Motion to Seal. The references in the Neels and de Jounge
                                declarations are just what the cases preceding and following Lugosch meant to exclude as
                                highly confidential and important to their authors and of no interest to anyone else, except
                                their competitors. They may retain the redactions made on the filed copies. So Ordered.
                                (Signed by Judge Louis L. Stanton on 9/28/23) (yv) (Entered: 09/29/2023)
       09/28/2023           138 ORDER granting 129 Letter Motion to Seal. The references in the Neels and de Jounge
                                declarations are just what the cases preceding and following Lugosch meant to exclude as
                                highly confidential and important to their authors and of no interest to anyone else, except
    https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?136494746732414-L_1_0-1                                               20/30
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                                    their competitors. They may retain the redactions made on the filed copies. So Ordered.
                                    (Signed by Judge Louis L. Stanton on 9/28/23) (yv) (Entered: 09/29/2023)
       10/06/2023                   Minute Entry for proceedings held before Judge Louis L. Stanton: Final Pretrial
                                    Conference held on 10/6/2023. (Court Reporter George Malinowski) (ml) (Entered:
                                    10/06/2023)
       10/13/2023           139 JOINT LETTER addressed to Judge Louis L. Stanton from David G. Hosenpud dated
                                October 13, 2023 re: Trial Dates. Document filed by Frontier Airlines, Inc...(Hosenpud,
                                David) (Entered: 10/13/2023)
       10/17/2023           140 TRANSCRIPT of Proceedings re: CONFERENCE held on 10/6/2023 before Judge Louis
                                L. Stanton. Court Reporter/Transcriber: George Malinowski, (212) 805-0300. Transcript
                                may be viewed at the court public terminal or purchased through the Court
                                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                                date it may be obtained through PACER. Redaction Request due 11/7/2023. Redacted
                                Transcript Deadline set for 11/17/2023. Release of Transcript Restriction set for
                                1/15/2024..(McGuirk, Kelly) (Entered: 10/17/2023)
       10/17/2023           141 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                official transcript of a CONFERENCE proceeding held on 10/6/2023 has been filed by
                                the court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                                calendar days to file with the court a Notice of Intent to Request Redaction of this
                                transcript. If no such Notice is filed, the transcript may be made remotely electronically
                                available to the public without redaction after 90 calendar days....(McGuirk, Kelly)
                                (Entered: 10/17/2023)
       10/17/2023           142 MEMO ENDORSEMENT on re: 139 Letter filed by Frontier Airlines, Inc.
                                ENDORSEMENT: So Ordered. (Signed by Judge Louis L. Stanton on 10/17/2023) (vfr)
                                (Entered: 10/17/2023)
       02/22/2024           143 JOINT LETTER MOTION to Continue re Trial addressed to Judge Louis L. Stanton
                                from David G. Hosenpud dated February 22, 2024. Document filed by Frontier Airlines,
                                Inc...(Hosenpud, David) (Entered: 02/22/2024)
       02/23/2024           144 ORDER granting 143 Letter Motion to Continue. So Ordered. (Signed by Judge Louis L.
                                Stanton on 2/23/2024) (rro) (Entered: 02/23/2024)
       03/20/2024           145 NOTICE of Withdrawal of Appearance. Document filed by AMCK Aviation Holdings
                                Ireland Limited, Accipiter Investment 4 Limited, UMB Bank, N.A., Vermillion Aviation
                                (Two) Limited, Wells Fargo Trust Company, N.A...(Reem, Minji) (Entered: 03/20/2024)
       03/20/2024           146 MEMO ENDORSEMENT on re: 145 Notice (Other) filed by AMCK Aviation Holdings
                                Ireland Limited, UMB Bank, N.A., Wells Fargo Trust Company, N.A., Accipiter
                                Investment 4 Limited, Vermillion Aviation (Two) Limited ENDORSEMENT: SO
                                ORDERED. Attorney Minji Reem terminated. (Signed by Judge Louis L. Stanton on
                                3/20/2024) (rro) (Entered: 03/21/2024)
       03/25/2024           147 NOTICE of Plaintiff's Deposition Designations. Document filed by Frontier Airlines,
                                Inc...(Hosenpud, David) (Entered: 03/25/2024)
       04/03/2024                   Set/Reset Hearings: Bench Trial set for 4/8/2024 at 11:00 AM in Courtroom 21C, 500
                                    Pearl Street, New York, NY 10007 before Judge Louis L. Stanton. (ml) (Entered:
                                    04/03/2024)
       04/05/2024           148 NOTICE of Plaintiff's Amended Deposition Designations with Defendants' Objections
                                and Plaintiff's Responses. Document filed by Frontier Airlines, Inc...(Hosenpud, David)
                                (Entered: 04/05/2024)

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       04/08/2024                   Minute Entry for proceedings held before Judge Louis L. Stanton: Bench Trial begun on
                                    4/8/2024. (Court Reporter Rebecca Forman/Shoronda Jones) (ml) (Entered: 04/08/2024)
       04/09/2024                   Minute Entry for proceedings held before Judge Louis L. Stanton: Bench Trial held on
                                    4/9/2024. (Court Reporter Rebecca Forman/Shoronda Jones) (ml) (Entered: 04/09/2024)
       04/10/2024                   Minute Entry for proceedings held before Judge Louis L. Stanton: Bench Trial held on
                                    4/10/2024. (Court Reporter Rebecca Forman/Shoronda Jones) (ml) (Entered: 04/10/2024)
       04/11/2024                   Minute Entry for proceedings held before Judge Louis L. Stanton: Bench Trial held on
                                    4/11/2024. (Court Reporter Sharonda Jones) (ml) (Entered: 04/11/2024)
       04/12/2024                   Minute Entry for proceedings held before Judge Louis L. Stanton: Bench Trial held on
                                    4/12/2024. (Court Reporter Rebecca Forman) (ml) (Entered: 04/12/2024)
       04/15/2024                   Minute Entry for proceedings held before Judge Louis L. Stanton: Bench Trial held on
                                    4/15/2024. (Court Reporter Rebecca Forman/Shoronda Jones) (ml) (Entered: 04/15/2024)
       04/16/2024                   Minute Entry for proceedings held before Judge Louis L. Stanton: Bench Trial held on
                                    4/16/2024. (Court Reporter Rebecca Forman/Shoronda Jones) (ml) (Entered: 04/16/2024)
       04/17/2024                   Minute Entry for proceedings held before Judge Louis L. Stanton: Bench Trial completed
                                    on 4/17/2024. (Court Reporter Sharonda Jones) (ml) (Entered: 07/09/2024)
       04/25/2024           149 LETTER addressed to Judge Louis L. Stanton from David G. Hosenpud dated April 25,
                                2024 re: Supplemental Responses to Court's Questions. Document filed by Frontier
                                Airlines, Inc...(Hosenpud, David) (Entered: 04/25/2024)
       05/02/2024           150 POST TRIAL MEMORANDUM. Document filed by Frontier Airlines, Inc...(Hosenpud,
                                David) (Entered: 05/02/2024)
       05/02/2024           151 POST TRIAL MEMORANDUM. Document filed by AMCK Aviation Holdings Ireland
                                Limited, Accipiter Investment 4 Limited, Vermillion Aviation (Two) Limited..(Butler,
                                Jeff) (Entered: 05/02/2024)
       05/07/2024           152 NOTICE of Plaintiff's Second Amended Deposition Designations with Defendants'
                                Objections and Plaintiff's Responses. Document filed by Frontier Airlines, Inc...
                                (Hosenpud, David) (Entered: 05/07/2024)
       05/07/2024           153 NOTICE of Amended Exhibit A to Joint Pretrial Order re: 135 Joint Final Trial Report.
                                Document filed by Frontier Airlines, Inc.. (Attachments: # 1 Exhibit A - Amended Joint,
                                Plaintiff's and Defendants' Trial Exhibits).(Hosenpud, David) (Entered: 05/07/2024)
       05/10/2024           154 TRANSCRIPT of Proceedings re: TRIAL held on 4/8/2024 before Judge Louis L.
                                Stanton. Court Reporter/Transcriber: Rebecca Forman, (212) 805-0300. Transcript may
                                be viewed at the court public terminal or purchased through the Court
                                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                                date it may be obtained through PACER. Redaction Request due 5/31/2024. Redacted
                                Transcript Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/8/2024..
                                (McGuirk, Kelly) (Entered: 05/10/2024)
       05/10/2024           155 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                official transcript of a TRIAL proceeding held on 4/8/2024 has been filed by the court
                                reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
                                days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
                                such Notice is filed, the transcript may be made remotely electronically available to the
                                public without redaction after 90 calendar days....(McGuirk, Kelly) (Entered: 05/10/2024)
       05/10/2024           156 TRANSCRIPT of Proceedings re: TRIAL held on 4/9/2024 before Judge Louis L.
                                Stanton. Court Reporter/Transcriber: Rebecca Forman, (212) 805-0300. Transcript may
    https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?136494746732414-L_1_0-1                                                22/30
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                                    be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                                    date it may be obtained through PACER. Redaction Request due 5/31/2024. Redacted
                                    Transcript Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/8/2024..
                                    (McGuirk, Kelly) (Entered: 05/10/2024)
       05/10/2024           157 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                official transcript of a TRIAL proceeding held on 4/9/2024 has been filed by the court
                                reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
                                days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
                                such Notice is filed, the transcript may be made remotely electronically available to the
                                public without redaction after 90 calendar days....(McGuirk, Kelly) (Entered: 05/10/2024)
       05/10/2024           158 TRANSCRIPT of Proceedings re: TRIAL held on 4/10/2024 before Judge Louis L.
                                Stanton. Court Reporter/Transcriber: Sharonda Jones, (212) 805-0300. Transcript may be
                                viewed at the court public terminal or purchased through the Court Reporter/Transcriber
                                before the deadline for Release of Transcript Restriction. After that date it may be
                                obtained through PACER. Redaction Request due 5/31/2024. Redacted Transcript
                                Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/8/2024..(McGuirk,
                                Kelly) (Entered: 05/10/2024)
       05/10/2024           159 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                official transcript of a TRIAL proceeding held on 4/10/24 has been filed by the court
                                reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
                                days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
                                such Notice is filed, the transcript may be made remotely electronically available to the
                                public without redaction after 90 calendar days....(McGuirk, Kelly) (Entered: 05/10/2024)
       05/10/2024           160 TRANSCRIPT of Proceedings re: TRIAL held on 4/11/2024 before Judge Louis L.
                                Stanton. Court Reporter/Transcriber: Sharonda Jones, (212) 805-0300. Transcript may be
                                viewed at the court public terminal or purchased through the Court Reporter/Transcriber
                                before the deadline for Release of Transcript Restriction. After that date it may be
                                obtained through PACER. Redaction Request due 5/31/2024. Redacted Transcript
                                Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/8/2024..(McGuirk,
                                Kelly) (Entered: 05/10/2024)
       05/10/2024           161 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                official transcript of a TRIAL proceeding held on 4/11/2024 has been filed by the court
                                reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
                                days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
                                such Notice is filed, the transcript may be made remotely electronically available to the
                                public without redaction after 90 calendar days....(McGuirk, Kelly) (Entered: 05/10/2024)
       05/10/2024           162 TRANSCRIPT of Proceedings re: TRIAL held on 4/12/2024 before Judge Louis L.
                                Stanton. Court Reporter/Transcriber: Rebecca Forman, (212) 805-0300. Transcript may
                                be viewed at the court public terminal or purchased through the Court
                                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                                date it may be obtained through PACER. Redaction Request due 5/31/2024. Redacted
                                Transcript Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/8/2024..
                                (McGuirk, Kelly) (Entered: 05/10/2024)




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       05/10/2024           163 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                official transcript of a TRIAL proceeding held on 4/12/2024 has been filed by the court
                                reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
                                days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
                                such Notice is filed, the transcript may be made remotely electronically available to the
                                public without redaction after 90 calendar days....(McGuirk, Kelly) (Entered: 05/10/2024)
       05/10/2024           164 TRANSCRIPT of Proceedings re: TRIAL held on 4/15/2024 before Judge Louis L.
                                Stanton. Court Reporter/Transcriber: Rebecca Forman, (212) 805-0300. Transcript may
                                be viewed at the court public terminal or purchased through the Court
                                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                                date it may be obtained through PACER. Redaction Request due 5/31/2024. Redacted
                                Transcript Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/8/2024..
                                (McGuirk, Kelly) (Entered: 05/10/2024)
       05/10/2024           165 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                official transcript of a TRIAL proceeding held on 4/15/2024 has been filed by the court
                                reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
                                days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
                                such Notice is filed, the transcript may be made remotely electronically available to the
                                public without redaction after 90 calendar days....(McGuirk, Kelly) (Entered: 05/10/2024)
       05/10/2024           166 TRANSCRIPT of Proceedings re: TRIAL held on 4/16/2024 before Judge Louis L.
                                Stanton. Court Reporter/Transcriber: Sharonda Jones, (212) 805-0300. Transcript may be
                                viewed at the court public terminal or purchased through the Court Reporter/Transcriber
                                before the deadline for Release of Transcript Restriction. After that date it may be
                                obtained through PACER. Redaction Request due 5/31/2024. Redacted Transcript
                                Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/8/2024..(McGuirk,
                                Kelly) (Entered: 05/10/2024)
       05/10/2024           167 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                official transcript of a TRIAL proceeding held on 4/16/2024 has been filed by the court
                                reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
                                days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
                                such Notice is filed, the transcript may be made remotely electronically available to the
                                public without redaction after 90 calendar days....(McGuirk, Kelly) (Entered: 05/10/2024)
       05/10/2024           168 TRANSCRIPT of Proceedings re: TRIAL held on 4/17/2024 before Judge Louis L.
                                Stanton. Court Reporter/Transcriber: Sharonda Jones, (212) 805-0300. Transcript may be
                                viewed at the court public terminal or purchased through the Court Reporter/Transcriber
                                before the deadline for Release of Transcript Restriction. After that date it may be
                                obtained through PACER. Redaction Request due 5/31/2024. Redacted Transcript
                                Deadline set for 6/10/2024. Release of Transcript Restriction set for 8/8/2024..(McGuirk,
                                Kelly) (Entered: 05/10/2024)
       05/10/2024           169 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                official transcript of a TRIAL proceeding held on 4/17/2024 has been filed by the court
                                reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
                                days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
                                such Notice is filed, the transcript may be made remotely electronically available to the
                                public without redaction after 90 calendar days....(McGuirk, Kelly) (Entered: 05/10/2024)
       06/14/2024           170 OPINION & ORDER: For the foregoing reasons, AMCK breached the Framework
                                Agreement, and Accipiter and Vermillion are proper defendants. Accordingly, judgment
                                will be entered in favor of Frontier and against AMCK, Accipiter, and Vermillion in the
                                amount of $48,660,000, plus interest from the date of breach at a rate of 9%. The Court

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                                    accepts Dr. Neels's damages calculation because, while a pre-tax approach is standard, his
                                    use of a constant tax rate yielded the same result, and his rent computations comported
                                    with Frontier's internal estimates and actual payments. Additionally, AMCK is liable to
                                    Frontier for alllosses, fees, costs, and expenses - including attorneys' fees - under the
                                    Original Leases and the Framework Agreement. JX-2 & 7, § 17.l(a); JX-24, § 7.1. The
                                    Clerk is directed to enter judgment accordingly. (Signed by Judge Louis L. Stanton on
                                    6/14/2024) (ml) Transmission to Orders and Judgments Clerk for processing. (Entered:
                                    06/14/2024)
       06/17/2024           171 CLERK'S JUDGMENT re: 170 Memorandum & Opinion in favor of Frontier Airlines,
                                Inc. against AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4 Limited,
                                Vermillion Aviation (Two) Limited in the amount of $ 66,669,532.60. It is hereby
                                ORDERED, ADJUDGED AND DECREED: That for the reasonsstated in the Court's
                                Opinion & Order dated June 14, 2024, judgment is entered in favor of Frontier and
                                against AMCK, Accipiter, and Vermillion in the amount of $48,660,000, plus interest
                                from (5/8/2020) the date of breach at a rate of 9% for the total interest amount of
                                $18,009,532.60. The Court accepts Dr. Neels's damages calculation because, while a pre-
                                tax approach is standard, his use of a constant tax rate yielded the same result, and his
                                rent computations comported with Frontier's internal estimates and actual payments.
                                Additionally, AMCK is liable to Frontier for all losses, fees, costs, and expenses -
                                including attorneys' fees - under the Original Leases and the Framework Agreement. JX-2
                                & 7, § 17.l(a); JX-24, § 7.1. (Signed by Acting, Clerk of Court Danny Ortiz on
                                6/17/2024) (Attachments: # 1 Appeal Package) (tp) (Entered: 06/17/2024)
       06/25/2024           172 NOTICE OF CHANGE OF ADDRESS by Jeff Edward Butler on behalf of AMCK
                                Aviation Holdings Ireland Limited, Accipiter Investment 4 Limited, UMB Bank, N.A.,
                                Vermillion Aviation (Two) Limited, Wells Fargo Trust Company, N.A.. New Address:
                                Clifford Chance US LLP, 375 9th Avenue, New York, NY, United States 10001,
                                2128788000..(Butler, Jeff) (Entered: 06/25/2024)
       06/25/2024           173 MOTION to Alter Judgment re: 170 Memorandum & Opinion,,, 171 Clerk's Judgment,,,,
                                . Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4
                                Limited, Vermillion Aviation (Two) Limited..(Butler, Jeff) (Entered: 06/25/2024)
       06/25/2024           174 MEMORANDUM OF LAW in Support re: 173 MOTION to Alter Judgment re: 170
                                Memorandum & Opinion,,, 171 Clerk's Judgment,,,, . . Document filed by AMCK
                                Aviation Holdings Ireland Limited, Accipiter Investment 4 Limited, Vermillion Aviation
                                (Two) Limited..(Butler, Jeff) (Entered: 06/25/2024)
       07/01/2024           175 AMENDED OPINION & ORDER: For the foregoing reasons, AMCK breached the
                                FrameworkAgreement, and Accipiter and Vermillion are proper defendants. Accordingly,
                                judgment will be entered in favor of Frontier and against AMCK, Accipiter, and
                                Vermillion in the amount of $48,660,000, plus interest from April 8, 2024 at a rate of 9%.
                                The Court accepts Dr. Neels's damages calculation because, while apre-tax approach is
                                standard, his use of a constant tax rate yielded the same result, and his rent computations
                                comported with Frontier's internal estimates and actual payments. Additionally, AMCK is
                                liable to Frontier for all losses, fees, costs, and expenses including attorneys' fees - under
                                the Original Leases and the Framework Agreement. JX-2 & 7, §17.l(a); JX-24, §7.1. The
                                Clerk is directed to enter judgment accordingly. (Signed by Judge Louis L. Stanton on
                                7/1/2024) (ml) (Entered: 07/01/2024)
       07/01/2024           176 ORDER re: 173 MOTION to Alter Judgment re: 170 Memorandum & Opinion, 171
                                Clerk's Judgment, . : Defendants' June 25, 2024 Motion to Amend the Judgment (Dkt. No.
                                173) is granted. The Clerk is directed to amend the June 17, 2024 Judgment (Dkt. No.
                                171) to award 9% interest from April 8, 2024, instead of May 8, 2020. The Court's June
                                14, 2024 Opinion & Order(Dkt. No. 170) is amended accordingly. (Signed by Judge

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                                    Louis L. Stanton on 7/1/2024) (ml) Transmission to Orders and Judgments Clerk for
                                    processing. (Entered: 07/01/2024)
       07/01/2024           177 MOTION for Attorney Fees , Costs, and Expenses. Document filed by Frontier Airlines,
                                Inc...(Hosenpud, David) (Entered: 07/01/2024)
       07/01/2024           178 MEMORANDUM OF LAW in Support re: 177 MOTION for Attorney Fees , Costs, and
                                Expenses. . Document filed by Frontier Airlines, Inc...(Hosenpud, David) (Entered:
                                07/01/2024)
       07/01/2024           179 DECLARATION of David G. Hosenpud in Support re: 177 MOTION for Attorney Fees ,
                                Costs, and Expenses.. Document filed by Frontier Airlines, Inc.. (Attachments: # 1
                                Exhibit 1 - Lane Powell Atty Resumes, # 2 Exhibit 2 - Lane Powell Invoices, # 3 Exhibit
                                3 - Lane Powell Summary Fees, # 4 Exhibit 4 - Binder Schwartz Resumes, # 5 Exhibit 5 -
                                Binder Schwartz Invoices, # 6 Exhibit 6 - Binder Schwartz Summary of Fees, # 7 Exhibit
                                7 - LP Summary of Costs, # 8 Exhibit 8 - Dep Costs and Invoices, # 9 Exhibit 9 - Trial
                                Transcript Cost and Invoices, # 10 Exhibit 10 - Consilio Summary and Invoices, # 11
                                Exhibit 11 - Dr Neels and Brattle Group Resumes, # 12 Exhibit 12 - Brattle Group
                                Summary, # 13 Exhibit 13 - Brattle Group Invoices, # 14 Exhibit 14 - Real Rate Report
                                by Wolters Kluwer).(Hosenpud, David) (Entered: 07/01/2024)
       07/02/2024           180 AMENDED CLERK'S JUDGMENT amending 171 Clerk's Judgment, in favor of
                                Frontier Airlines, Inc. against AMCK Aviation Holdings Ireland Limited, Accipiter
                                Investment 4 Limited, Vermillion Aviation (Two) Limited in the amount of $
                                49,499,884.93. It is hereby ORDERED, ADJUDGED AND DECREED: That for the
                                reasonsstated in the Court's Amended Opinion & Order dated July 1, 2024 and the Courts
                                Order dated July 1, 2024, Defendants' June 25, 2024 Motion to Amend the Judgment
                                (Dkt. No. 173) is granted. Accordingly, judgment is entered in favor of Frontier and
                                against AMCK, Accipiter, and Vermillion in the amount of $48,660,000, plus interest at
                                9% from April 8, 2024 of $839,884.93 for a total sum of $49,499,884,93. (Signed by
                                Clerk of Court - Acting Daniel Ortiz on 7/2/2024) (Attachments: # 1 Appeal Package) (tp)
                                (Entered: 07/02/2024)
       07/12/2024           181 MOTION for Judgment as a Matter of Law pursuant to Rule 52(b) of the Federal Rules
                                of Civil Procedure. Document filed by AMCK Aviation Holdings Ireland Limited,
                                Accipiter Investment 4 Limited, Vermillion Aviation (Two) Limited..(Butler, Jeff)
                                (Entered: 07/12/2024)
       07/12/2024           182 MEMORANDUM OF LAW in Support re: 181 MOTION for Judgment as a Matter of
                                Law pursuant to Rule 52(b) of the Federal Rules of Civil Procedure. . Document filed by
                                AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4 Limited, Vermillion
                                Aviation (Two) Limited..(Butler, Jeff) (Entered: 07/12/2024)
       07/12/2024           183 NOTICE OF APPEAL from 175 Order,,, 170 Memorandum & Opinion,,, 180 Amended
                                Judgment,,, 171 Clerk's Judgment,,,,. Document filed by AMCK Aviation Holdings
                                Ireland Limited, Accipiter Investment 4 Limited, Vermillion Aviation (Two) Limited.
                                Filing fee $ 605.00, receipt number ANYSDC-29599659. Form C and Form D are due
                                within 14 days to the Court of Appeals, Second Circuit..(Butler, Jeff) Modified on
                                7/15/2024 (nd). (Entered: 07/12/2024)
       07/15/2024                   Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                                    Appeals re: 183 Notice of Appeal..(nd) (Entered: 07/15/2024)
       07/15/2024                   Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                                    Electronic Files for 183 Notice of Appeal, filed by AMCK Aviation Holdings Ireland
                                    Limited, Accipiter Investment 4 Limited, Vermillion Aviation (Two) Limited were
                                    transmitted to the U.S. Court of Appeals..(nd) (Entered: 07/15/2024)

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       07/15/2024           184 MEMORANDUM OF LAW in Opposition re: 177 MOTION for Attorney Fees , Costs,
                                and Expenses. . Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter
                                Investment 4 Limited, Vermillion Aviation (Two) Limited..(Butler, Jeff) (Entered:
                                07/15/2024)
       07/17/2024           185 NOTICE OF REQUIRED CASE STATUS UPDATE re: 183 Notice of Appeal. A notice
                                of appeal was filed in this case on 7/12/2024. Since at least one motion cited inFRAP
                                4(a)4 has been filed in the district court this appeal is stayed pending resolution of the
                                motion(s). Appellant is directed to inform this Court in writing of the status of the
                                motion(s) at 30 day intervals beginning 30 days from the date of this notice, and within
                                14 days after final disposition of the last outstanding motion. Appellant is also directed to
                                provide the Court with a copy of all dispositive orders. (tp) (Entered: 07/17/2024)
       07/22/2024           186 REPLY to Response to Motion re: 177 MOTION for Attorney Fees , Costs, and
                                Expenses. . Document filed by Frontier Airlines, Inc...(Hosenpud, David) (Entered:
                                07/22/2024)
       07/22/2024           187 DECLARATION of David G. Hosenpud (Supplemental) in Support re: 177 MOTION for
                                Attorney Fees , Costs, and Expenses.. Document filed by Frontier Airlines, Inc..
                                (Attachments: # 1 Exhibit 15 - Lane Powell Inv dated 7-22-2024 No. 3936950).
                                (Hosenpud, David) (Entered: 07/22/2024)
       07/23/2024           188 LETTER MOTION for Leave to File Sur-reply in response to Plaintiff's reply in further
                                support of motion for attorney's fees, addressed to Judge Louis L. Stanton from Jeff E.
                                Butler dated July 23, 2024. Document filed by AMCK Aviation Holdings Ireland Limited,
                                Accipiter Investment 4 Limited, Vermillion Aviation (Two) Limited..(Butler, Jeff)
                                (Entered: 07/23/2024)
       07/25/2024           189 ORDER granting 188 Letter Motion for Leave to File Document. Granted.. (Signed by
                                Judge Richard G. Stearns on 7/25/2024) (tg) (Entered: 07/25/2024)
       07/26/2024           190 RESPONSE in Opposition to Motion re: 181 MOTION for Judgment as a Matter of Law
                                pursuant to Rule 52(b) of the Federal Rules of Civil Procedure. . Document filed by
                                Frontier Airlines, Inc...(Hosenpud, David) (Entered: 07/26/2024)
       07/26/2024           191 RESPONSE in Opposition to Motion re: 177 MOTION for Attorney Fees , Costs, and
                                Expenses. *Defendants' Sur-Reply in Opposition to Frontier's Motion for Attorney's Fees,
                                Costs, and Expenses*. Document filed by AMCK Aviation Holdings Ireland Limited,
                                Accipiter Investment 4 Limited, Vermillion Aviation (Two) Limited..(Butler, Jeff)
                                (Entered: 07/26/2024)
       07/29/2024           192 PROPOSED STIPULATION AND ORDER. Document filed by AMCK Aviation
                                Holdings Ireland Limited, Accipiter Investment 4 Limited, Vermillion Aviation (Two)
                                Limited..(Butler, Jeff) (Entered: 07/29/2024)
       07/31/2024           193 STIPULATION AND ORDER ALLOWING CASH DEPOSIT IN LIEU OF
                                SUPERSEDEAS BOND: IT IS HEREBY STIPULATED AND AGREED, by and
                                between Plaintiff Frontier Airlines, Inc. ("Frontier") and Defendants, that: 1. Defendants
                                are authorized to deposit with the Court the sum of $54,944,872.27, representing 111% of
                                the amount of the Amended Judgment, pursuant to Rule 67(a) of the Federal Rules of
                                Civil Procedure; 2. The deposited funds shall be maintained in an interest-bearing account
                                or invested in one or more interest-bearing instruments pursuant to Rule 67(b) of the
                                Federal Rules of Civil Procedure; 3. The Clerk shall deduct from the income on the
                                investment a fee consistent with that authorized by the Judicial Conference of the United
                                States and set by the Director of the Administrative Office pursuant to Local Civil Rule
                                67.1(b)(2); 4. The deposited funds shall serve as "other security" for the Amended
                                Judgment pursuant to Rule 62(b) of the Federal Rules of Civil Procedure; 5. Pursuant to
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                                    28 U.S.C. § 2042, the deposited funds, and any interest earned thereon, shall not be
                                    withdrawn except by order of the Court; and 6. Proceedings to enforce the Amended
                                    Judgment, or to obtain discovery in aid of such enforcement, shall be stayed pending final
                                    disposition of the Appeal. (Signed by Part 1 Judge Lorna G. Schofield on 7/31/2024) (vfr)
                                    Transmission to Finance Unit (Cashiers) for processing. (Entered: 07/31/2024)
       08/02/2024           194 REPLY MEMORANDUM OF LAW in Support re: 181 MOTION for Judgment as a
                                Matter of Law pursuant to Rule 52(b) of the Federal Rules of Civil Procedure. .
                                Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4
                                Limited, Vermillion Aviation (Two) Limited..(Butler, Jeff) (Entered: 08/02/2024)
       08/08/2024                   CASHIERS OFFICE CRIS DEPOSIT as per 193 Stipulation and Order, dated 7/31/2024,
                                    from Judge Lorna G. Schofield, $17,396,189.09 deposited on 7/31/2024, Receipt Number
                                    NYSCA24-00376 and $37,548,683.18 deposited on 8/2/2024, Receipt Number
                                    NYSCA24-00377, and $54,944,872.27 placed into CRIS on 8/8/2024..(bwi) (Entered:
                                    08/08/2024)
       08/14/2024           195 OPINION re: 181 MOTION for Judgment as a Matter of Law pursuant to Rule 52(b) of
                                the Federal Rules of Civil Procedure. filed by AMCK Aviation Holdings Ireland Limited,
                                Accipiter Investment 4 Limited, Vermillion Aviation (Two) Limited. For the reasons
                                stated in the Court's Summary Judgment Opinion (Dkt. No. 123), defendants' Rule 52(b)
                                Motion for Judgment as a Matter of Law (Dkt. No. 181) is denied. So ordered. (Signed by
                                Judge Louis L. Stanton on 8/14/2024) (sgz) (Entered: 08/14/2024)
       08/19/2024           196 MEMO ENDORSED ORDER granting 177 Motion for Attorney Fees.
                                ENDORSEMENT: On June 14, 2024, this Court held that defendants AMCK Aviation
                                Holdings Ireland Limited ("AMCK"), Accipiter Investments 4 Limited ("Accipiter"), and
                                Vermillion Aviation (Two) Limited ( "Vermillion") breached their Framework Agreement
                                with plaintiff Frontier Airlines, Inc. ("Frontier") and were liable for all losses, fees, costs,
                                and expenses, including attorneys' fees (Dkt. No. 170). Plaintiff's attorneys now move for
                                attorneys' fees and costs pursuant to provisions in the parties' contracts (Dkt. No. 177).
                                That motion is granted. Although in this country attorneys' fees are typically not
                                recoverable, "parties may agree by contract to permit recovery of attorneys' fees, and a
                                federal court will enforce contractual rights to attorneys' fees if the contract is valid under
                                applicable state law." U.S. Fid. & Guar. Co. v. Braspetro Oil Servs. Co., 369 F.3d 34, 74
                                (2d Cir. 2004) (internal quotations and citations omitted). "Under New York law, a
                                contract that provides for an award of reasonable attorneys' fees to the prevailing party in
                                an action to enforce the contract is enforceable if the contractual language is sufficiently
                                clear." NetJets Aviation, Inc. v. LHC Commc'ns, LLC, 537 F. 3d 168, 175 (2d Cir. 2008).
                                Though this case involves breach of the Framework Agreement specifically, that
                                termination was predicated on breaches of other interrelated contracts pertaining to the
                                sale and leaseback of numerous aircraft. For each aircraft, the partiesexecuted lease
                                agreements, trust agreements, and guaranty agreements. The aircraft at issue were
                                guaranteed by Vermillion (MSN 10038 Lease), Accipiter (Original Leases), or Accipiter
                                Holdings, DAC (Original Leases), which is the parent company of Accipiter. The
                                guaranty agreements required those parties to ensure unconditional performance of the
                                leases, and each guaranty agreement included the following provision: 2.2 Expenses.
                                Guarantor agrees to be liable for the payment of all reasonable fees and expenses,
                                including attorney's fees, incurred by Lessee in connection with the enforcement of this
                                Guaranty. See, e.g., MSN 10038 Guaranty Agreement (Dkt. No.116, Ex.12 ) This clearly
                                contemplates the payment of attorneys' fees and costs. Frontier's requested attorneys' fees
                                are reasonable,and, notably, defendants do not challenge the amount in question. Frontier
                                seeks $1, 997,575. 10 in fees for 3, 949.1 hours of work by Lane Powell PC and
                                $36,249.50 in fees for 58.6 hours of work by Binder & Schwartz LLP. Those rates reflect
                                the actual costs incurred by Frontier over the course of nearly four years of litigation and
                                are reasonable. Danaher Corp. v. Travelers Indem. Co., 2014 WL 4898754, at *2 (S. D.
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                                    N.Y. Sept. 30, 2014) ("[T]he amount actually paid to counsel by paying clients is
                                    compelling evidence of a reasonable market rate." ). They also comport with prevailing
                                    market rates in the Southern District of New York and are appropriate given the time and
                                    experience required to handle a multi - year matter concerning millions of dollars,
                                    valuable business relationships, a complex structure of contracts, a global pandemic, and
                                    a nearly two - week bench trial. Frontier's costs and expenses are also reasonable, and the
                                    amount is similarly uncontested by the defendants. Frontier seeks $240, 300. 49 for costs
                                    and expenses related to travel,depositions, and trial transcripts, as well as $307,602. 41
                                    forexpert witness costs and expenses. Those comport with amountstypically awarded in
                                    this district. See, e.g., Austrian Airlines Oesterreichische Luftverkehrs AG v. UT Fin.
                                    Corp., 2008 WL 4833025, at *1, 9 (S.D. N.Y. No v. 3, 2008) (approving $568,148
                                    inexpert and consultant fees in a case involving more than $47.9million in alleged
                                    damages).Frontier's request for an additional $10,102.35 in fees andexpenses related to
                                    the instant motion is denied. In the Second Circuit, parties are typically not entitled to
                                    recover fees incurred in connection with seeking fees - even where a contractexpressly
                                    allows for the recovery of legal fees - unless thecontract specifically allows for it. See
                                    F.H. Krear & Co. v.Nineteen Named Trustees, 810 F. 2d 1250, 1266 (2d Cir. 1987)("[A]
                                    general contract provision for the shifting of attorneys 'fees does not authorize an award
                                    of fees for time spent inseeking the fees themselves."); Thor 725 8th Ave. LLC
                                    v.Goonetilleke, 675 F. App'x 31, 35 (2d Cir.2017) (holding that" there is no basis for
                                    disturbing F. H. Krear" and "[t]hedistrict court correctly denied [plaintiff's] request for
                                    'feeson fees'") ; Flatiron Acquisition Vehicle, LLC v. CSE Mortg. LLC,2022 WL 413229,
                                    at *11 (S.D.N.Y. Feb. 9, 2022) (rejectingapplication for the " cost of litigating amount of
                                    fees " absent"specific language" in the contract).Frontier is entitled to $2,581,727.50 in
                                    attorneys' fees and costs. The Clerk is directed to issue a supplemental judgment and
                                    close the case. So Ordered. (Signed by Judge Louis L. Stanton on 8/19/2024) (vfr)
                                    Transmission to Orders and Judgments Clerk for processing. (Entered: 08/19/2024)
       08/20/2024           197 ORDER of USCA (Certified Copy) as to 183 Notice of Appeal, filed by AMCK Aviation
                                Holdings Ireland Limited, Accipiter Investment 4 Limited, Vermillion Aviation (Two)
                                Limited USCA Case Number 24-1916. IT IS ORDERED that the stay of this appeal is
                                hereby lifted. Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit. Certified:
                                8/19/2024. (tp) (Entered: 08/20/2024)
       08/20/2024           198 CLERK'S SUPPLEMENTAL JUDGMENT on Attorney Fees. Fees in favor of Frontier
                                Airlines, Inc. against AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4
                                Limited, UMB Bank, N.A., Vermillion Aviation (Two) Limited, Wells Fargo Trust
                                Company, N.A. It is hereby ORDERED, ADJUDGED AND DECREED: That for the
                                reasons stated in the Court's Memo Endorsed Order dated August 19, 2024, that Frontier
                                is entitled to $2,581,727.50 in attorneys' fees and costs. Accordingly, the case is closed.
                                (Signed by Clerk of Court - Acting Daniel Ortiz on 8/20/2024) (tp) (Entered: 08/20/2024)
       08/26/2024           199 AMENDED NOTICE OF APPEAL re: 183 Notice of Appeal, 175 Order,,, 170
                                Memorandum & Opinion,,, 198 Judgment on Attorney Fees,, 196 Order on Motion for
                                Attorney Fees, 195 Memorandum & Opinion,, 180 Amended Judgment,,, 171 Clerk's
                                Judgment,,,,. Document filed by AMCK Aviation Holdings Ireland Limited, Accipiter
                                Investment 4 Limited, Vermillion Aviation (Two) Limited..(Butler, Jeff) Modified on
                                8/27/2024 (nd). (Entered: 08/26/2024)
       08/27/2024                   Transmission of Amended Notice of Appeal and Certified Copy of Docket Sheet to US
                                    Court of Appeals re: 199 Amended Notice of Appeal,..(nd) (Entered: 08/27/2024)
       08/27/2024                   First Supplemental ROA Sent to USCA (Electronic File). Certified Supplemental Indexed
                                    record on Appeal Electronic Files for 187 Declaration in Support of Motion, filed by
                                    Frontier Airlines, Inc., 196 Order on Motion for Attorney Fees,,,,,,,,,,,,,,,,,,,,, 184
                                    Memorandum of Law in Opposition to Motion, filed by AMCK Aviation Holdings
    https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?136494746732414-L_1_0-1                                                  29/30
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                                    Reply Memorandum of Law in Support of Motion, filed by AMCK Aviation Holdings
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                                    Amended Notice of Appeal, filed by AMCK Aviation Holdings Ireland Limited, Accipiter
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                                    195 Memorandum & Opinion,, 192 Proposed Stipulation and Order filed by AMCK
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                                    (Two) Limited, 189 Order on Motion for Leave to File Document, 190 Response in
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                                    Leave to File Sur-reply in response to Plaintiff's reply in further support of motion for
                                    attorney's fees, addressed to Judge Louis L. Stanton from Jeff E. Butler dated July 23,
                                    2024. filed by AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4 Limited,
                                    Vermillion Aviation (Two) Limited, 191 Response in Opposition to Motion, filed by
                                    AMCK Aviation Holdings Ireland Limited, Accipiter Investment 4 Limited, Vermillion
                                    Aviation (Two) Limited, 198 Judgment on Attorney Fees,, 197 USCA Order - Other, were
                                    transmitted to the U.S. Court of Appeals..(nd) (Entered: 08/27/2024)



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                                                Addendum B

             Issues Proposed to be Raised on Appeal

                   1.     Did the district court err in finding on summary judgment that the

             Framework Agreement unambiguously provides that a waiver need not be in

             writing?

                   Standard of review: De novo

                   2.     Did the district court err by interpreting the agreement on the April 7th

             phone call as a unilateral waiver rather than as a tentative agreement that needed to

             be committed to writing?

                   Standard of review: De novo

                   3.     Did the district court err in considering course of conduct evidence as

             part of finding a waiver?

                   Standard of review: De novo

                   4.     Did the district court err by not finding that the April 9th draft

             agreement was a withdrawal of any waiver on April 7, because it indicated AMCK

             expected an agreement to be documented in writing?

                   Standard of review: De novo

                   5.     Did the district court err in denying Defendants’ Daubert motion?

                   Standard of review: Abuse of discretion




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                   6.     Did the district court err in finding that Accipiter Investments Aircraft

             4 Limited and Vermillion Aviation (Two) Limited were proper defendants and were

             liable for breach of the Framework Agreement, based on its ruling that Accipiter and

             Vermillion’s contracts should be read as one with the Framework Agreement?

                   Standard of review: De novo

                7. Did the district court err in awarding attorneys’ fees and costs to Frontier?

                   Standard of review: De novo




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